                                                                                    Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 1 of 94 Page ID #:134



                                                                                              1   VENABLE LLP
                                                                                                  Douglas C. Emhoff (SBN 151049)
                                                                                              2   demhoff@venable.com
                                                                                                  Tamany Vinson Bentz (SBN 258600)
                                                                                              3   tjbentz@venable.com
                                                                                                  Matthew J. Busch (SBN 307396)
                                                                                              4   mjbusch@venable.com
                                                                                                  2049 Century Park East, Suite 2300
                                                                                              5   Los Angeles, CA 90067
                                                                                                  Telephone: (310) 229-9900
                                                                                              6   Facsimile: (310) 229-9901
                                                                                              7   Attorneys for Plaintiff Jukin Media, Inc.
                                                                                              8
                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                              9
                                                                                                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                             10

                                                                                             11   JUKIN MEDIA, INC., a California             CASE NO. 2:16-cv-6800-JFW
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                  corporation,                                (SSx)
                                                                                             12
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                                                            Plaintiff,
                                                                                             13                                               AMENDED COMPLAINT FOR:
                                                                              310-229-9900




                                                                                                                       v.
                                                                                             14                                               1) COPYRIGHT
                                                                                                  QWORLDSTAR, INC., a California              INFRINGEMENT; AND
                                                                                             15   corporation, d/b/a Worldstar, Worldstar
                                                                                                  Hip Hop, Worldstar Candy, and/or            2) FEDERAL TRADEMARK
                                                                                             16   Worldstar Agency; WORLDSTAR                 INFRINGEMENT
                                                                                                  MANAGEMENT, LLC a California
                                                                                             17   limited liability company; and DOES 1
                                                                                                  through 10,                                 DEMAND FOR JURY TRIAL
                                                                                             18
                                                                                                                            Defendants.       Action Filed: September 12, 2016
                                                                                             19                                               Trial Date:   None set
                                                                                             20

                                                                                             21

                                                                                             22

                                                                                             23

                                                                                             24

                                                                                             25

                                                                                             26
                                                                                             27

                                                                                             28

                                                                                              1
                                                                                                                                                         AMENDED COMPLAINT
                                                                                              2
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 2 of 94 Page ID #:135



                                                                                             1         Plaintiff Jukin Media, Inc., for its complaint, alleges the following:
                                                                                             2                                    INTRODUCTION
                                                                                             3         1.     Jukin Media, Inc. (“Jukin”) is a digital media company headquartered
                                                                                             4   in Los Angeles, California. Jukin provides content and licensing resources for
                                                                                             5   internet video content and has a library of over 30,000 pieces of original user-
                                                                                             6   generated content. To build this library, Jukin employs fifteen people full time to
                                                                                             7   discover trending and valuable content. These employees devote their time to
                                                                                             8   identifying content that will be popular and valuable – determinations that depend
                                                                                             9   on their data analysis and experience in the digital media industry. Jukin then
                                                                                            10   commits its resources to finding the correct owner of the content and acquiring or
                                                                                            11   licensing it. Once Jukin and the owner enter into a deal, Jukin actively markets the
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   video to increase its value to the benefit of the creator and Jukin.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         2.     Jukin provides private individuals a way to monetize their videos by
                                                                             310-229-9900




                                                                                            14   accessing a historically difficult-to-enter market for media content, and has become
                                                                                            15   a market leader in the discovery, acquisition, monetization, licensing, and
                                                                                            16   distribution of short-form viral video content. In fact, Jukin is consistently ranked
                                                                                            17   among the top watched media properties. Jukin offers a proprietary platform that
                                                                                            18   allows its partners access to its library for use in various commercial applications.
                                                                                            19   Jukin also offers curated video collections via its themed YouTube channels and
                                                                                            20   content-focused websites, and independently produces or co-produces content
                                                                                            21   displayed on broadcast television and other traditional means of media distribution.
                                                                                            22         3.     Jukin also employs a rights management team to actively mitigate the
                                                                                            23   effects of lost revenue to its video owners by seeking licenses or advertising
                                                                                            24   revenue monetization from infringing parties.
                                                                                            25         4.     Despite notice of Jukin’s proprietary rights, Defendants QWorldstar,
                                                                                            26   Inc. and Worldstar Management, LLC (“Defendants” or “Worldstar”) have and
                                                                                            27   continue to willfully infringe Jukin’s rights by copying Jukin’s videos without
                                                                                            28   permission or a license to do so.
                                                                                             1                                              1
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 3 of 94 Page ID #:136



                                                                                             1                                     THE PARTIES
                                                                                             2         5.     Plaintiff Jukin Media, Inc. is a California corporation with its
                                                                                             3   principal place of business in Los Angeles, California.
                                                                                             4         6.     On information and belief, Defendant QWorldstar, Inc. is a California
                                                                                             5   corporation with its principal place of business at 1880 Century Park East, Suite
                                                                                             6   200, Los Angeles, CA 90067.
                                                                                             7         7.     On information and belief, Defendant Worldstar Management, LLC is
                                                                                             8   a California corporation with its principal place of business at 1880 Century Park
                                                                                             9   East, Suite 200, Los Angeles, CA 90067.
                                                                                            10         8.     Defendants operate websites at www.worldstarhiphop.com,
                                                                                            11   www.worldstaruncut.com, and www.worldstarcandy.com that display articles,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   photographs, and videos uploaded by Defendants’ staff. Defendants also display
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   videos from their Facebook, Instagram and Twitter accounts (collectively referred
                                                                             310-229-9900




                                                                                            14   to herein as the “Worldstar Social Media Accounts”).
                                                                                            15         9.     Jukin is currently unaware of the identities of Defendants Does 1–10,
                                                                                            16   and therefore, sues such Defendants by such pseudonyms. Upon information and
                                                                                            17   belief, discovery will reveal the true identities of those Defendants and Jukin will
                                                                                            18   then amend this Complaint to identify those Defendants by name.
                                                                                            19         10.    Upon information and belief, there now exists, and at all relevant
                                                                                            20   times herein there existed, a unity of interest and ownership between and among
                                                                                            21   Defendants, such that any individuality and separateness between and among them
                                                                                            22   has ceased to exist, and Defendants, and each of them, are the alter egos of each
                                                                                            23   other. Upon information and belief, at all material times herein, each Defendant
                                                                                            24   was the agent, employee, partner, or representative of every other Defendant, and
                                                                                            25   each has the authority to bind the others in transactions with third parties. Upon
                                                                                            26   information and belief, each Defendant named herein committed acts and
                                                                                            27   omissions leading to Jukin’s damages, were acting in concert and active
                                                                                            28   participation with each other in committing the wrongful acts alleged herein, and in
                                                                                             1                                             2
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 4 of 94 Page ID #:137



                                                                                             1   so doing acted within the scope and course of their agency with every other
                                                                                             2   Defendant named herein and each of them authorized, directed, accepted, ratified,
                                                                                             3   and approved of such actions.
                                                                                             4                             JURISDICTION AND VENUE
                                                                                             5         11.     This Complaint arises under the Copyright Act, 17 U.S.C. § 101 et
                                                                                             6   seq. and the Lanham Act, 15 U.S.C. §§ 1051 et seq. Accordingly, this Court has
                                                                                             7   subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.
                                                                                             8         12.     Worldstar is subject to the personal jurisdiction of this Court because,
                                                                                             9   among other things, Worldstar is doing business in the state of California, and the
                                                                                            10   acts of infringement complained of in this Complaint took place in the state of
                                                                                            11   California.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         13.     Venue is proper in this judicial district pursuant to 28 U.S.C. §
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   1391(b)(2) because a substantial part of the events that give rise to this Complaint
                                                                             310-229-9900




                                                                                            14   occurred in this judicial district and Worldstar resides in this judicial district.
                                                                                            15                               FACTUAL ALLEGATIONS
                                                                                            16         14.     Jukin invests in substantial research and analytical efforts to discover
                                                                                            17   short-form viral videos that it believes may be interesting to the public. Jukin’s
                                                                                            18   fifteen full time employees research and evaluate videos, on a case-by-case basis,
                                                                                            19   that are likely to be popular and valuable, i.e., have the potential to go viral. For
                                                                                            20   every 400 videos it reviews, only about 20 are considered for acquisition. Jukin
                                                                                            21   then either licenses or acquires the right to use the videos, or portions thereof, in
                                                                                            22   various commercial applications. Jukin often acquires these rights on an exclusive
                                                                                            23   basis. Jukin monetizes these videos through advertising revenue and by licensing
                                                                                            24   to various distribution channels for use in advertisements, entertainment
                                                                                            25   productions, news programs, and other productions desirous of short-form content.
                                                                                            26   For purposes of this Complaint, videos acquired or licensed by Jukin will be
                                                                                            27   referred to as the “Jukin Original Videos” or simply the “Original Videos.”
                                                                                            28         15.     Jukin also monetizes the Original Videos via broadcast on Jukin’s
                                                                                             1                                               3
                                                                                             2                                                                   AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 5 of 94 Page ID #:138



                                                                                             1   own branded YouTube channels, on several of its websites including
                                                                                             2   www.JukinVideo.com, and through other partners such as Verizon’s Go90
                                                                                             3   platform and The Huffington Post. Jukin may also re-publish certain videos in
                                                                                             4   order to increase their distribution. When Jukin republishes the Original Videos, it
                                                                                             5   typically does so almost immediately after acquiring the rights to these videos so
                                                                                             6   that it can expand the virality of the videos and increase its revenue generated
                                                                                             7   therefrom.
                                                                                             8         16.    Jukin’s in-house rights management team spends significant time
                                                                                             9   searching the internet for infringing copies of its Original Videos and identifying
                                                                                            10   persistent infringers. Once infringing content has been identified, the rights
                                                                                            11   management team contacts the infringer and works diligently to try resolving the
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   infringement through a licensing agreement.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         17.    By acquiring the rights to these Original Videos in exchange for a
                                                                             310-229-9900




                                                                                            14   license fee or a share of net proceeds earned from the videos, Jukin provides a way
                                                                                            15   for individuals to maximize the potential of their videos in a manner that they
                                                                                            16   would not be able to otherwise do on their own. Individual video owners are
                                                                                            17   unlikely to have the full resources, knowledge, or contacts to fully monetize their
                                                                                            18   videos, increase views of their videos (from which increased revenue may be
                                                                                            19   derived), or enforce their rights against infringers like Defendants.
                                                                                            20                                        Worldstar
                                                                                            21         18.    Defendants operate a website known as Worldstarhiphop.com and
                                                                                            22   Worldstar Social Media Accounts.
                                                                                            23         19.    Worldstarhiphop.com operates as a content aggregation site, where its
                                                                                            24   editors upload videos, images, and news content. The bulk of the content featured
                                                                                            25   on Worldstarhiphop.com, and the Worldstar Social Media Accounts, consists of
                                                                                            26   video. The Worldstarhiphop.com site is accessible via the web, including
                                                                                            27   Facebook, Instagram, and Twitter, and other similar methods of distribution. With
                                                                                            28   respect to the infringing videos on Worldstarhiphop.com, and the Worldstar Social
                                                                                             1                                             4
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 6 of 94 Page ID #:139



                                                                                             1   Media Accounts, each method of distribution constitutes a new and different
                                                                                             2   infringement of the same Jukin Original Video.
                                                                                             3         20.    Many of Worldstarhiphop.com’s videos, including its videos posted to
                                                                                             4   the Worldstar Social Media Accounts, are Jukin Original Videos.
                                                                                             5         21.    Defendants are solely responsible for selecting the videos to be posted
                                                                                             6   on Worldstarhiphop.com and the Worldstar Social Media Accounts. While
                                                                                             7   Defendants accept user generated video submissions, users cannot post videos to
                                                                                             8   Worldstarhiphop.com, and the Worldstar Social Media Accounts. See
                                                                                             9   http://www.worldstarhiphop.com/videos/vsubmit.php.
                                                                                            10         22.    Additionally, Defendants’ infringing videos sometimes contain the
                                                                                            11   Jukin trademarks, watermarks and/or Jukin end credits. This is of significance for
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   two reasons: (1) Defendants knew they were copying videos owned by Jukin; and
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   (2) Defendants were misleading viewers to believe there is an affiliation,
                                                                             310-229-9900




                                                                                            14   connection, or association or Defendants with Jukin, or as to the origin
                                                                                            15   sponsorship, or approval of Defendants’ websites and or videos by Jukin.
                                                                                            16         23.    Defendants have a pattern and practice of infringing Jukin’s videos.
                                                                                            17   Defendants’ pattern and practice is timed in many cases to capture the most value
                                                                                            18   from Jukin Original Videos due to the timely nature of the videos, and because the
                                                                                            19   most of the value generated from Jukin Original Videos occurs in the initial days
                                                                                            20   and weeks of the content’s virality when the videos are their most popular and
                                                                                            21   most in-demand by third parties.
                                                                                            22         24.    Beginning in January 2015, Jukin began to send take-down requests to
                                                                                            23   Defendants, which put Defendants on further notice of their infringing activity, and
                                                                                            24   requested Defendants remove the infringing videos from Worldstarhiphop.com.
                                                                                            25         25.    In October 2015, however, the volume of Defendants’ infringing
                                                                                            26   videos needing to be reported via the DMCA process became overwhelming, and
                                                                                            27   DMCA notices did not appear to hamper Defendants’ infringing activities.
                                                                                            28   Furthermore, Defendants were still able to take advantage of and profit from its
                                                                                             1                                            5
                                                                                             2                                                               AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 7 of 94 Page ID #:140



                                                                                             1   infringement of a Jukin Original Video for the several days preceding their
                                                                                             2   processing of a DMCA take-down request. In many instances, Defendants were
                                                                                             3   taking advantage of the most valuable period of time since the first days and weeks
                                                                                             4   of a video’s posting is typically when it is most viewed.
                                                                                             5         26.    Sometime after Jukin notified Defendants of their infringements in
                                                                                             6   and August 18, 2016 letter, Defendants removed many of the infringing videos.
                                                                                             7   This removal does not compensate Jukin for the harm caused by past infringements
                                                                                             8   of the Jukin Original Videos, nor does it safeguard against new infringements. To
                                                                                             9   date, Defendants have continually uploaded new infringing videos to
                                                                                            10   Worldstarhiphop.com and the Worldstar Social Media Accounts despite Jukin’s
                                                                                            11   frequent objections and notices of infringement.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         27.    Defendants infringed upon over 300 Original Videos.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         28.    Defendants’ actions with respect to their infringements on
                                                                             310-229-9900




                                                                                            14   Worldstarhiphop.com and the Worldstar Social Media Accounts are not good-faith
                                                                                            15   misunderstandings of the source of the infringed content. The Jukin Original
                                                                                            16   Videos often include licensing information in the description of the video on
                                                                                            17   YouTube, e.g. “Jukin Media Verified (Original) *For licensing/ permission to use:
                                                                                            18   Contact: licensing@jukinmedia.com.” Jukin Original Videos often also contain a
                                                                                            19   Jukin trademark, Jukin watermark, and/or Jukin end credits.
                                                                                            20                                Jukin’s Infringed Videos
                                                                                            21         29.    Defendants have a clear pattern and practice of copying Jukin’s
                                                                                            22   Original Videos, as detailed below. The videos listed below will collectively be
                                                                                            23   referred to herein as the “Infringing Videos”. As evidenced below, Defendants
                                                                                            24   often publish the Infringing Videos within days of Jukin’s publication of the Jukin
                                                                                            25   Original Videos.
                                                                                            26         30.    INFRINGEMENT #1: Jukin acquired the rights to “Amazing
                                                                                            27   octopus camoflage” on February 3, 2015, available at
                                                                                            28   https://www.youtube.com/watch?v=l2UeR2pvoMA, and incorporated by reference
                                                                                             1                                             6
                                                                                             2                                                               AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 8 of 94 Page ID #:141



                                                                                             1   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             2   obtained copyright registration number PA0001941541 for this video.
                                                                                             3            31.   On February 8, 2015, Defendants posted the video entitled “Scary
                                                                                             4   Surprise: Incredible Octopus Camouflage!” at
                                                                                             5   http://www.worldstarhiphop.com/videos/video.php?v=wshhPap3cPjMrg9jJLKJ
                                                                                             6   and incorporated by reference herein. “Scary Surprise: Incredible Octopus
                                                                                             7   Camouflage!” copies significant portions of the “Amazing octopus camoflage”
                                                                                             8   video.
                                                                                             9            32.   INFRINGEMENT #2: Jukin acquired the rights to “My truck has no
                                                                                            10   reverse. This is what I built so that I can back up if I have to” on February 6, 2015,
                                                                                            11   available at https://www.youtube.com/watch?v=SjV0iO-6vK8, and incorporated
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   by reference herein. Jukin subsequently republished this video on its own channel.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Jukin also obtained copyright registration number PA 1-941-438 for this video.
                                                                             310-229-9900




                                                                                            14            33.   On February 6, 2015, Defendants posted the video entitled “Struggle
                                                                                            15   Life Hack: Quick Fix For An SUV With No Reverse!” at
                                                                                            16   http://www.worldstarhiphop.com/videos/video.php?v=wshhPap3cPjMrg9jJLKJ
                                                                                            17   and incorporated by reference herein. “Struggle Life Hack: Quick Fix For An SUV
                                                                                            18   With No Reverse!” copies significant portions of the “My truck has no reverse.
                                                                                            19   This is what I built so that I can back up if I have to” video. Upon information and
                                                                                            20   belief, Defendants did not obtain permission from the video creator to post the
                                                                                            21   video. Defendants never obtained permission from Jukin to post the video.
                                                                                            22            34.   INFRINGEMENT #3: Jukin acquired the rights to “Fat Lady Gets
                                                                                            23   Out of BMW” on February 9, 2015, available at
                                                                                            24   https://www.youtube.com/watch?v=GBoJlIYF2Z4, and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            26   obtained copyright registration number PA 1-941-434 for this video.
                                                                                            27            35.   On November 22, 2015, Defendants posted a video at the following
                                                                                            28   link, incorporated by reference herein: https://www.instagram.com/p/-
                                                                                             1                                             7
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                                   Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 9 of 94 Page ID #:142



                                                                                             1   Zi6KXhZp7/?taken-by=realwshh.
                                                                                             2            36.   On November 27, 2015, Defendants posted a video under the
                                                                                             3   following title and at the following link, incorporated by reference herein: “Vine
                                                                                             4   Comp Of The Week Part 141! ” at
                                                                                             5   http://www.worldstarhiphop.com/videos/video.php?v=wshhw42vY65H69PXr419.
                                                                                             6            37.   Defendants’ video, at both links, copies significant portions of the
                                                                                             7   “Fat Lady Gets Out of BMW” video.
                                                                                             8            38.   INFRINGEMENT #4: Jukin acquired the rights to “Physics Teacher
                                                                                             9   gets hit in the nuts” on April 3, 2015, available at
                                                                                            10   https://www.youtube.com/watch?v=FyDiH_JC68w, and incorporated by reference
                                                                                            11   herein. Jukin subsequently republished this video on its own channel. Jukin also
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   obtained copyright registration number PA0001967924 for this video.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13            39.   On April 1, 2015, Defendants posted the video entitled “All Bad:
                                                                             310-229-9900




                                                                                            14   Physics Teacher’s Demonstration Ends In The Worst Possible Way!” at
                                                                                            15   http://www.worldstarhiphop.com/videos/video.php?v=wshhC33JdB0EZEc3P0D0
                                                                                            16   and incorporated by reference herein. “All Bad: Physics Teacher’s Demonstration
                                                                                            17   Ends In The Worst Possible Way!” copies significant portions of the “Physics
                                                                                            18   Teacher gets hit in the nuts” video. Upon information and belief, Defendants did
                                                                                            19   not obtain permission from the video creator to post the video prior to its
                                                                                            20   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                            21   video.
                                                                                            22            40.   INFRINGEMENT #5: Jukin acquired the rights to “When a
                                                                                            23   Silverback attacks” on April 16, 2015, available at
                                                                                            24   https://www.youtube.com/watch?v=KK67kaMWN-8, and incorporated by
                                                                                            25   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            26   Jukin also obtained copyright registration number PA0001967921 for this video.
                                                                                            27            41.   On April 17, 2015, Defendants posted a video under the following
                                                                                            28   title and at the following link, incorporated by reference herein: “When Silverback
                                                                                             1                                               8
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 10 of 94 Page ID #:143



                                                                                             1   Gorillas Goes Apeshit!” at
                                                                                             2   http://www.worldstarhiphop.com/videos/video.php?v=wshh93KAyk000Z13392R.
                                                                                             3         42.    On April 24, 2015, Defendants posted a video at the following link,
                                                                                             4   incorporated by reference herein: “https://instagram.com/p/13lgjCBZtt/?taken-
                                                                                             5   by=realwshh.
                                                                                             6         43.    Defendants’ video, at both links, copies significant portions of the
                                                                                             7   “When a Silverback attacks” video.
                                                                                             8         44.    INFRINGEMENT #6: Jukin acquired the rights to “Homeless Guy
                                                                                             9   Spits Some Truth” on June 2, 2015, available at
                                                                                            10   https://www.youtube.com/watch?v=RfU8TUZRtZg, and incorporated by reference
                                                                                            11   herein. Jukin subsequently republished this video on its own channel. Jukin also
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   obtained copyright registration number PA0001956219 for this video.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         45.    On June 1, 2015, Defendants posted the video entitled “Homeless
                                                                             310-229-9900




                                                                                            14   Man Spits Nothing But The Truth!” at
                                                                                            15   http://www.worldstarhiphop.com/videos/video.php?v=wshh2KoazvvLA3SwD3U9
                                                                                            16   and incorporated by reference herein. “Homeless Man Spits Nothing But The
                                                                                            17   Truth!” copies significant portions of the “Homeless Guy Spits Some Truth” video.
                                                                                            18   Upon information and belief, Defendants did not obtain permission from the video
                                                                                            19   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                            20   obtained permission from Jukin to post the video.
                                                                                            21         46.    INFRINGEMENT #7: Jukin acquired the rights to “Boat toss fail”
                                                                                            22   on July 7, 2015, available at https://www.youtube.com/watch?v=bvhaerEsAd8,
                                                                                            23   and incorporated by reference herein. Jukin subsequently republished this video
                                                                                            24   on its own channel. Jukin also obtained copyright registration number
                                                                                            25   PA0001967902 for this video.
                                                                                            26         47.    On July 30, 2015, Defendants posted a video under the following title
                                                                                            27   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                            28   Week Part 125!” at
                                                                                             1                                             9
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 11 of 94 Page ID #:144



                                                                                             1   http://www.worldstarhiphop.com/videos/video.php?v=wshhj0aaiPDUjUw9Lc5I.
                                                                                             2         48.    On August 6, 2015, Defendants posted a video under the following
                                                                                             3   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                             4   The Week Part 125!” at
                                                                                             5   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/8998825
                                                                                             6   16745171/?type=2&theater.
                                                                                             7         49.    Defendants’ video, at both links, copies significant portions of the
                                                                                             8   “Boat toss fail” video.
                                                                                             9         50.    INFRINGEMENT #8: Jukin acquired the rights to “Groomsman
                                                                                            10   Backflips Into Bridesmaid at Wedding” on July 21, 2015, available at
                                                                                            11   https://www.youtube.com/watch?v=fZShaaPRUNg, and incorporated by reference
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   obtained copyright registration number PA0001967901 for this video.
                                                                             310-229-9900




                                                                                            14         51.    On July 16, 2015, Defendants posted the video entitled “Too Turnt
                                                                                            15   Up: Groomsman Backflips And Knocks Out Bridesmaid!” at
                                                                                            16   http://www.worldstarhiphop.com/videos/video.php?v=wshh1k1H866Z2q6WF8DX
                                                                                            17   and incorporated by reference herein. “Too Turnt Up: Groomsman Backflips And
                                                                                            18   Knocks Out Bridesmaid!” copies significant portions of the “Groomsman
                                                                                            19   Backflips Into Bridesmaid at Wedding” video. Upon information and belief,
                                                                                            20   Defendants did not obtain permission from the video creator to post the video prior
                                                                                            21   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                            22   post the video.
                                                                                            23         52.    INFRINGEMENT #9: Jukin acquired the rights to “Truck Destroys
                                                                                            24   Highway Sign” on August 18, 2015, available at
                                                                                            25   https://www.youtube.com/watch?v=mmTMmuT7fdI, and incorporated by
                                                                                            26   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            27   Jukin also obtained copyright registration number PA0001967897 for this video.
                                                                                            28         53.    On August 19, 2015, Defendants posted a video under the following
                                                                                             1                                            10
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 12 of 94 Page ID #:145



                                                                                             1   title and at the following link, incorporated by reference herein: “Next Time
                                                                                             2   You’re Having A Bad Day, Just Remember It Could Be Worse!” at
                                                                                             3   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/9124473
                                                                                             4   55488687/?type=2&theater.
                                                                                             5         54.    On August 20, 2015, Defendants posted a video under the following
                                                                                             6   title and at the following link, incorporated by reference herein: “When your day
                                                                                             7   goes from bad to worse” at https://instagram.com/p/6n1YrDhZsc/?taken-
                                                                                             8   by=realwshh.
                                                                                             9         55.    On August 21, 2015, Defendants posted a video under the following
                                                                                            10   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                            11   The Week Part 128!” at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   http://www.worldstarhiphop.com/videos/video.php?v=wshh1OXeP2Yg15W9mpG
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   v.
                                                                             310-229-9900




                                                                                            14         56.    On August 24, 2015, Defendants posted a video under the following
                                                                                            15   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                            16   The Week Part 128!” on Facebook at
                                                                                            17   https://www.facebook.com/worldstarhiphop/videos/vb.253968658003230/9165131
                                                                                            18   41748775/?type=2&theater.
                                                                                            19         57.    Defendants’ video, at all four links, copy significant portions of the
                                                                                            20   “Truck Destroys Highway Sign” video.
                                                                                            21         58.    INFRINGEMENT #10: Jukin acquired the rights to “Shopper Shows
                                                                                            22   Security Guard Racially Profiling in Store” on February 1, 2015, available at
                                                                                            23   https://www.jukinmedia.com/licensing/view/16032, and incorporated by reference
                                                                                            24   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            25   obtained copyright registration number PA0001941518 for this video.
                                                                                            26         59.    On February 1, 2015, Defendants posted the video entitled “No Shop
                                                                                            27   Lifting On His Watch: Store Security Follows This Guy Into Every Single Isle!” at
                                                                                            28   http://www.worldstarhiphop.com/videos/video.php?v=wshhA4fFlPMF8x0kk97p
                                                                                             1                                            11
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 13 of 94 Page ID #:146



                                                                                             1   and incorporated by reference herein. “No Shop Lifting On His Watch: Store
                                                                                             2   Security Follows This Guy Into Every Single Isle!” copies significant portions of
                                                                                             3   the “Shopper Shows Security Guard Racially Profiling in Store” video. Upon
                                                                                             4   information and belief, Defendants did not obtain permission from the video
                                                                                             5   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                             6   obtained permission from Jukin to post the video.
                                                                                             7         60.    INFRINGEMENT #11: Jukin acquired the rights to “Man and
                                                                                             8   Young Boy Sucked into Drain” on February 5, 2015, available at
                                                                                             9   https://www.youtube.com/watch?v=nTO5gD5th-0, and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA0001967929 for this video.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         61.    On February 6, 2015, Defendants posted the video entitled “Crazy:
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Group of People Hanging Out In Shallow Water All Of A Sudden Get Sucked
                                                                             310-229-9900




                                                                                            14   Underground!” at
                                                                                            15   http://www.worldstarhiphop.com/videos/video.php?v=wshhoSb5GFVXx5fPFgh0
                                                                                            16   and incorporated by reference herein. “Crazy: Group of People Hanging Out In
                                                                                            17   Shallow Water All Of A Sudden Get Sucked Underground!” copies significant
                                                                                            18   portions of the “Man and Young Boy Sucked into Drain” video.
                                                                                            19         62.    INFRINGEMENT #12: Jukin acquired the rights to “Guy Gets Rear-
                                                                                            20   Ended into Oncoming Truck” on April 11, 2015, available at
                                                                                            21   https://www.youtube.com/watch?v=tADvFcj7Cm4, and incorporated by reference
                                                                                            22   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            23   obtained copyright registration number PA0001966012 for this video.
                                                                                            24         63.    On April 13, 2015, Defendants posted the video entitled “Lucky To
                                                                                            25   Be Alive: Dash Cam Captures Scary Truck Accident!” at
                                                                                            26   http://www.worldstarhiphop.com/videos/video.php?v=wshhyL9teAww16K3rKI2
                                                                                            27   and incorporated by reference herein. “Lucky To Be Alive: Dash Cam Captures
                                                                                            28   Scary Truck Accident!” copies significant portions of the “Guy Gets Rear-Ended
                                                                                             1                                            12
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 14 of 94 Page ID #:147



                                                                                             1   into Oncoming Truck” video.
                                                                                             2         64.    INFRINGEMENT #13: Jukin acquired the rights to “Stranger
                                                                                             3   Surprises NYC Subway Vendor with $140” on April 20, 2015, available at
                                                                                             4   https://www.youtube.com/watch?v=yVzAC7mLxJw, and incorporated by
                                                                                             5   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             6   Jukin also obtained copyright registration number PA0001966015 for this video.
                                                                                             7         65.    On April 20, 2015, Defendants posted the video entitled “Amazing
                                                                                             8   Moment of Kindness On A NYC Train!” at
                                                                                             9   http://www.worldstarhiphop.com/videos/video.php?v=wshh2veYTm8Nm5OledyU
                                                                                            10   and incorporated by reference herein. “Amazing Moment of Kindness On A NYC
                                                                                            11   Train!” copies significant portions of the “Stranger Surprises NYC Subway
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Vendor with $140” video. Upon information and belief, Defendants did not obtain
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   permission from the video creator to post the video prior to its acquisition by Jukin.
                                                                             310-229-9900




                                                                                            14   Defendants never obtained permission from Jukin to post the video.
                                                                                            15         66.    INFRINGEMENT #14: Jukin acquired the rights to “Pit Bull Jumps
                                                                                            16   up Record-Breaking 14 Feet” on June 12, 2015, available at
                                                                                            17   https://www.youtube.com/watch?v=1u5FJ5caKAU, and incorporated by reference
                                                                                            18   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            19   obtained copyright registration number PA0001956216 for this video.
                                                                                            20         67.    On June 6, 2015, Defendants posted a video under the following title
                                                                                            21   and at the following link, incorporated by reference herein: “Beast: This Pit Bull
                                                                                            22   Got Serious Hops!” at
                                                                                            23   http://www.worldstarhiphop.com/videos/video.php?v=wshhfZLvZKQxzo54IvVK.
                                                                                            24         68.    On June 11, 2015, Defendants posted a video at the following link,
                                                                                            25   incorporated by reference herein: https://instagram.com/p/3zPBd_BZvF/?taken-
                                                                                            26   by=realwshh.
                                                                                            27         69.    Defendants’ video, at both links, copies significant portions of the “Pit
                                                                                            28   Bull Jumps up Record-Breaking 14 Feet” video. Upon information and belief,
                                                                                             1                                            13
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 15 of 94 Page ID #:148



                                                                                             1   Defendants did not obtain permission from the video creator to post the video prior
                                                                                             2   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                             3   post the video.
                                                                                             4         70.    INFRINGEMENT #15: Jukin acquired the rights to “Bikers Crash
                                                                                             5   into Support Vehicles during Race” on August 9, 2015, available at
                                                                                             6   https://www.youtube.com/watch?v=hRM3bFXlyNk, and incorporated by reference
                                                                                             7   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             8   obtained copyright registration number PA0001967899 for this video.
                                                                                             9         71.    On August 10, 2015, Defendants posted a video under the following
                                                                                            10   title and at the following link, incorporated by reference herein: “Ouch: Cyclist
                                                                                            11   Crashes Into A Porsche At Full Speed!” at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   http://www.worldstarhiphop.com/videos/video.php?v=wshh5zsYVk9c6ElSE5pe.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         72.    On September 5, 2015, Defendants posted a video at the following
                                                                             310-229-9900




                                                                                            14   link, incorporated by reference herein:
                                                                                            15   https://instagram.com/p/7Qcs4xhZoH/?taken-by=realwshh4.
                                                                                            16         73.     On September 10, 2015, Defendants posted a video under the
                                                                                            17   following title and at the following links, incorporated by reference herein:
                                                                                            18                     a. “Vine Comp Of The Week Part 130!” at
                                                                                            19                       http://www.worldstarhiphop.com/videos/video.php?v=wshh1x
                                                                                            20                       n2gw1WyX5904C4;
                                                                                            21                     b. https://instagram.com/p/7dxrDhhZmg/?taken-by=realwshh.
                                                                                            22         74.    Defendants’ video, at all four links, copies significant portions of the
                                                                                            23   “Pit Bull Jumps up Record-Breaking 14 Feet” video.
                                                                                            24         75.    INFRINGEMENT #16: Jukin acquired the rights to “Motorcyclist
                                                                                            25   Grabs Feet” on the Freeway on November 16, 2015, available at
                                                                                            26   https://www.youtube.com/watch?v=bNKHcJocvSQ, and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
                                                                                             1                                             14
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 16 of 94 Page ID #:149



                                                                                             1   Office for this video, application case number 1-3916922464, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3         76.    On November 20, 2015, Defendants posted a video entitled “Vine
                                                                                             4   Comp Of The Week Part 140!” at
                                                                                             5   http://www.worldstarhiphop.com/videos/video.php?v=wshhzLl73cSUrNBEjCRS
                                                                                             6   and incorporated by reference herein. “Vine Comp Of The Week Part 140!”
                                                                                             7   copies significant portions of the “Motorcyclist Grabs Feet on the Freeway” video.
                                                                                             8         77.    INFRINGEMENT #17: Jukin acquired the rights to “A Gorilla
                                                                                             9   Taught My Toddler How To Use Her Middle Finger – Adventure’s of Riley
                                                                                            10   Madison” on November 22, 2015, available at
                                                                                            11   https://www.youtube.com/watch?v=AW-C9XsAFUE and incorporated by
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   reference herein. Jukin subsequently republished this video on its own channel.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Jukin has also filed an application for copyright registration with the United States
                                                                             310-229-9900




                                                                                            14   Copyright Office for this video, application case number 1-4015462131, and is
                                                                                            15   awaiting issuance of the registration.
                                                                                            16         78.    On November 26, 2015, Defendants posted a video entitled “Lol:
                                                                                            17   Gorilla Teaches a Little Girl How To Swear!” at
                                                                                            18   http://www.worldstarhiphop.com/videos/video.php?v=wshh2EpD3kih95c2y0NP
                                                                                            19   and incorporated by reference herein. “Lol: Gorilla Teaches a Little Girl How To
                                                                                            20   Swear!” copies significant portions of the “A Gorilla Taught My Toddler How To
                                                                                            21   Use Her Middle Finger – Adventure’s of Riley Madison” video.
                                                                                            22         79.    INFRINGEMENT #18: Jukin acquired the rights to “How to
                                                                                            23   Properly Insert a Card into an ATM” on December 11, 2015, available at
                                                                                            24   https://www.youtube.com/watch?v=Mg_6rlje6Ao and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            26   also filed an application for copyright registration with the United States Copyright
                                                                                            27   Office for this video, application case number 1-3916922224, and is awaiting
                                                                                            28   issuance of the registration.
                                                                                             1                                            15
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 17 of 94 Page ID #:150



                                                                                             1         80.    On December 18, 2015, Defendants posted a video under the
                                                                                             2   following title and at the following link, incorporated by reference herein: “Vine
                                                                                             3   Comp Of The Week Part 144!” at
                                                                                             4   http://www.worldstarhiphop.com/videos/video.php?v=wshhVIRIZHw2XpQJzs77.
                                                                                             5         81.    On December 20, 2015, Defendants posted a video under the
                                                                                             6   following title and at the following link, incorporated by reference herein: “Vine
                                                                                             7   Comp Of The Week Part 144!” at
                                                                                             8   https://www.facebook.com/worldstarhiphop/videos/978692075530881.
                                                                                             9         82.    Defendants’ video, at both links, copies significant portions of the
                                                                                            10   “How to Properly Insert a Card into an ATM” video.
                                                                                            11         83.    INFRINGEMENT #19: Jukin acquired the rights to “Broken Urinal
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Shoots out Water” on December 14, 2015, available at
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   https://www.youtube.com/watch?v=YzZS8CH2jYI and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            15   also filed an application for copyright registration with the United States Copyright
                                                                                            16   Office for this video, application case number 1-3916904149, and is awaiting
                                                                                            17   issuance of the registration.
                                                                                            18         84.    On December 18, 2015, Defendants posted a video under the
                                                                                            19   following title and at the following link, incorporated by reference herein: “Vine
                                                                                            20   Comp Of The Week Part 144!” at
                                                                                            21   http://www.worldstarhiphop.com/videos/video.php?v=wshhVIRIZHw2XpQJzs77.
                                                                                            22         85.    On December 20, 2015, Defendants posted a video under the
                                                                                            23   following title and at the following link, incorporated by reference herein: “Vine
                                                                                            24   Comp Of The Week Part 144!” at
                                                                                            25   https://www.facebook.com/worldstarhiphop/videos/978692075530881.
                                                                                            26         86.    Defendants’ video, at both links, copies significant portions of the
                                                                                            27   “Broken Urinal Shoots out Water” video.
                                                                                            28         87.    INFRINGEMENT #20: Jukin acquired the rights to “Lamborghini
                                                                                             1                                            16
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 18 of 94 Page ID #:151



                                                                                             1   Drives Through Flood” on January 14, 2016, available at
                                                                                             2   https://www.youtube.com/watch?v=DJM7AEUBmkk and incorporated by
                                                                                             3   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             4   Jukin has also filed an application for copyright registration with the United States
                                                                                             5   Copyright Office for this video, application case number 1-3916904014, and is
                                                                                             6   awaiting issuance of the registration.
                                                                                             7         88.    On January 7, 2016, Defendants posted a video under the following
                                                                                             8   title and at the following link, incorporated by reference herein: “Live
                                                                                             9   Dangerously: Guy Drives His Lambo Through Flooded Streets in San Diego!” at
                                                                                            10   http://www.worldstarhiphop.com/videos/video.php?v=wshh3IO2cr412h5ptIT6.
                                                                                            11         89.    On July 19, 2016, Defendants posted a video at the following link,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   incorporated by reference herein: https://www.instagram.com/p/BIEMAYkAaKI.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         90.    On July 22, 2016, Defendants posted a video under the following title
                                                                             310-229-9900




                                                                                            14   and at the following link, incorporated by reference herein: “v Of The Week Part
                                                                                            15   175!” at
                                                                                            16   http://www.worldstarhiphop.com/videos/video.php?v=wshhS4S605zGebgT6894.
                                                                                            17         91.    Defendants’ video, at all three links, copies significant portions of the
                                                                                            18   “Lamborghini Drives Through Flood” video. Upon information and belief,
                                                                                            19   Defendants did not obtain permission from the video creator to post the video prior
                                                                                            20   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                            21   post the video.
                                                                                            22         92.    INFRINGEMENT #21: Jukin acquired the rights to “Ex-Girlfriend
                                                                                            23   Nearly Runs over Man with Car” on January 13, 2016, available at
                                                                                            24   https://www.youtube.com/watch?v=XqxZldc-dSk, and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            26   also filed an application for copyright registration with the United States Copyright
                                                                                            27   Office for this video, application case number 1-3916903819, and is awaiting
                                                                                            28   issuance of the registration.
                                                                                             1                                             17
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 19 of 94 Page ID #:152



                                                                                             1         93.    On January 15, 2016, Defendants posted a video under the following
                                                                                             2   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                             3   The Week Part 148!” at
                                                                                             4   http://www.worldstarhiphop.com/videos/video.php?v=wshhfQ9gWHVBt27h5Rs
                                                                                             5   W.
                                                                                             6         94.    On January 16, 2016, Defendants posted a video under the following
                                                                                             7   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                             8   The Week Part 148!” at
                                                                                             9   https://www.facebook.com/worldstarhiphop/videos/993274664072622.
                                                                                            10         95.    Defendants’ video, at both links, copies significant portions of the
                                                                                            11   “Ex-Girlfriend Nearly Runs over Man with Car” video.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         96.    INFRINGEMENT #22: Jukin acquired the rights to “Kid Goes into
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Statue Mode when in Trouble” on February 6, 2016, available at
                                                                             310-229-9900




                                                                                            14   https://www.youtube.com/watch?v=3StVVvBajRg, and incorporated by reference
                                                                                            15   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            16   also filed an application for copyright registration with the United States Copyright
                                                                                            17   Office for this video, application case number 1-3916872969, and is awaiting
                                                                                            18   issuance of the registration.
                                                                                            19         97.    On February 7, 2016, Defendants posted a video entitled “Lol: Kid
                                                                                            20   Goes Into ‘Statue Mode’ After Getting in Trouble!” at
                                                                                            21   http://www.worldstarhiphop.com/videos/video.php?v=wshhQ7CjaTg197AEYK3V
                                                                                            22   and incorporated by reference herein. “Lol: Kid Goes Into ‘Statue Mode’ After
                                                                                            23   Getting in Trouble!” copies significant portions of the “Kid Goes into Statue Mode
                                                                                            24   when in Trouble” video.
                                                                                            25         98.    INFRINGEMENT #23: Jukin acquired the rights to “Woman Pole
                                                                                            26   Dances with Baby” on January 20, 2016, available at
                                                                                            27   https://www.youtube.com/watch?v=snBYPuajEdE&feature=youtu.be, and
                                                                                            28   incorporated by reference herein. Jukin subsequently republished this video on its
                                                                                             1                                            18
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 20 of 94 Page ID #:153



                                                                                             1   own channel. Jukin has also filed an application for copyright registration with the
                                                                                             2   United States Copyright Office for this video, application case number 1-
                                                                                             3   3916872874, and is awaiting issuance of the registration.
                                                                                             4            99.   On January 11, 2016, Defendants posted a video at the following link,
                                                                                             5   incorporated by reference herein: https://www.instagram.com/p/BAa7csVBZsc.
                                                                                             6            100. On January 15, 2016, Defendants posted a video under the following
                                                                                             7   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                                                             8   The Week Part 148!” at
                                                                                             9   http://www.worldstarhiphop.com/videos/video.php?v=wshhfQ9gWHVBt27h5Rs
                                                                                            10   W.
                                                                                            11            101. On January 16, 2016, Defendants posted a video under the following
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   title and at the following link, incorporated by reference herein: “Vine Comp Of
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   The Week Part 148!” at
                                                                             310-229-9900




                                                                                            14   https://www.facebook.com/worldstarhiphop/videos/993274664072622.
                                                                                            15            102. Defendants’ video, at all three links, copies significant portions of the
                                                                                            16   “Woman Pole Dances with Baby” video. Upon information and belief, Defendants
                                                                                            17   did not obtain permission from the video creator to post the video prior to its
                                                                                            18   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                            19   video.
                                                                                            20            103. INFRINGEMENT #24: Jukin acquired the rights to “Girlfriend Gets
                                                                                            21   a Math Lesson” on March 27, 2016, available at
                                                                                            22   https://www.youtube.com/watch?v=4D1d8ipjblE, and incorporated by reference
                                                                                            23   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            24   also filed an application for copyright registration with the United States Copyright
                                                                                            25   Office for this video, application case number 1-3916872839, and is awaiting
                                                                                            26   issuance of the registration.
                                                                                            27            104. On March 27, 2016, Defendants posted a video entitled “Lol: Dude
                                                                                            28   Stumps His Girlfriend With A Simple Math Question!” at
                                                                                             1                                               19
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 21 of 94 Page ID #:154



                                                                                             1   http://www.worldstarhiphop.com/videos/video.php?v=wshhuozyjgP4IL4qqvGd
                                                                                             2   and incorporated by reference herein. “Lol: Dude Stumps His Girlfriend With A
                                                                                             3   Simple Math Question!” copies significant portions of the “Girlfriend Gets a Math
                                                                                             4   Lesson” video. Upon information and belief, Defendants did not obtain permission
                                                                                             5   from the video creator to post the video prior to its acquisition by Jukin.
                                                                                             6   Defendants never obtained permission from Jukin to post the video.
                                                                                             7         105. INFRINGEMENT #25: Jukin acquired the rights to “Bird Pops Out
                                                                                             8   and Scares Friends” on March 28, 2016, available at
                                                                                             9   https://www.youtube.com/watch?v=YW_ukPH3juw, and incorporated by
                                                                                            10   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            11   Jukin has also filed an application for copyright registration with the United States
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Copyright Office for this video, application case number 1-3916872784, and is
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   awaiting issuance of the registration.
                                                                             310-229-9900




                                                                                            14         106. On March 27, 2016, Defendants posted a video at the following link,
                                                                                            15   incorporated by reference herein:
                                                                                            16   https://www.facebook.com/worldstarhiphop/videos/1039624559437632.
                                                                                            17         107. On April 1, 2016, Defendants posted a video under the following title
                                                                                            18   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                            19   Week Part 159!” at
                                                                                            20   http://www.worldstarhiphop.com/videos/video.php?v=wshh0AW5WLxl9I8g9tI7.
                                                                                            21         108. Defendants’ video, at both links, copies significant portions of the
                                                                                            22   “Bird Pops Out and Scares Friends” video. Upon information and belief,
                                                                                            23   Defendants did not obtain permission from the video creator to post the video prior
                                                                                            24   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                            25   post the video.
                                                                                            26         109. INFRINGEMENT #26: Jukin acquired the rights to “Dropped
                                                                                            27   Barbell Rolls into and Shatters Window” on April 2, 2016, available at
                                                                                            28   https://www.youtube.com/watch?v=-98JPz5JReE, and incorporated by reference
                                                                                             1                                             20
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 22 of 94 Page ID #:155



                                                                                             1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             2   also filed an application for copyright registration with the United States Copyright
                                                                                             3   Office for this video, application case number 1-3916872739, and is awaiting
                                                                                             4   issuance of the registration.
                                                                                             5            110. On April 7, 2016, Defendants posted a video at the following link,
                                                                                             6   incorporated by reference herein: https://www.instagram.com/p/BD5_TcxhZia.
                                                                                             7            111. On April 8, 2016, Defendants posted a video under the following title
                                                                                             8   and at the following link, incorporated by reference herein: “Vine Comp Of The
                                                                                             9   Week Part 160!” at
                                                                                            10   http://www.worldstarhiphop.com/videos/video.php?v=wshhH545B2C2e6UOZD1
                                                                                            11   c.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12            112. Defendants’ video, at both links, copies significant portions of the
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   “Dropped Barbell Rolls into and Shatters Window” video.
                                                                             310-229-9900




                                                                                            14            113. INFRINGEMENT #27: Jukin acquired the rights to “Brothers
                                                                                            15   Convince Little Sister of Zombie Apocalypse” on April 11, 2016, available at
                                                                                            16   https://www.youtube.com/watch?v=-hVWEefD5ag and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            18   also filed an application for copyright registration with the United States Copyright
                                                                                            19   Office for this video, application case number 1-3916872644, and is awaiting
                                                                                            20   issuance of the registration.
                                                                                            21            114. On April 12, 2016, Defendants posted a video entitled “Lol: Brothers
                                                                                            22   Convinced Their Sister That There Was A Zombie Apocalypse After She Had
                                                                                            23   Wisdom Teeth Surgery!” at
                                                                                            24   http://www.worldstarhiphop.com/videos/video.php?v=wshhN6Dx6ZnKMjTlxb8w
                                                                                            25   and incorporated by reference herein. “Lol: Brothers Convinced Their Sister That
                                                                                            26   There Was A Zombie Apocalypse After She Had Wisdom Teeth Surgery!” copies
                                                                                            27   significant portions of the “Brothers Convince Little Sister of Zombie Apocalypse”
                                                                                            28   video.
                                                                                             1                                              21
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 23 of 94 Page ID #:156



                                                                                             1         115. INFRINGEMENT #28: Jukin acquired the rights to “Son Likes to
                                                                                             2   Scare Dad” on April 21, 2016, available at
                                                                                             3   https://www.youtube.com/watch?v=wCgGX6z_2yM and incorporated by
                                                                                             4   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             5   Jukin has also filed an application for copyright registration with the United States
                                                                                             6   Copyright Office for this video, application case number 1-3916872439, and is
                                                                                             7   awaiting issuance of the registration.
                                                                                             8         116. On April 21, 2016, Defendants posted a video entitled “Son Scares
                                                                                             9   His Father Over & Over Again!” at
                                                                                            10   http://www.worldstarhiphop.com/videos/video.php?v=wshh9fli6s16uDs2fTv3 and
                                                                                            11   incorporated by reference herein. “Son Scares His Father Over & Over Again!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   copies significant portions of the “Son Likes to Scare Dad” video. Upon
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   information and belief, Defendants did not obtain permission from the video
                                                                             310-229-9900




                                                                                            14   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                            15   obtained permission from Jukin to post the video.
                                                                                            16         117. INFRINGEMENT #29: Jukin acquired the rights to “Little Girl
                                                                                            17   Argues with Dad over Future Boyfriend” on April 26, 2016, available at
                                                                                            18   https://www.youtube.com/watch?v=EkmGLBQX6Cg and incorporated by
                                                                                            19   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            20   Jukin has also filed an application for copyright registration with the United States
                                                                                            21   Copyright Office for this video, application case number 1-3916872404, and is
                                                                                            22   awaiting issuance of the registration.
                                                                                            23         118. On April 29, 2016, Defendants posted a video entitled “Dad Gives
                                                                                            24   Hilarious Reasons Why His Daughter Can’t Have A Boyfriend!” at
                                                                                            25   http://www.worldstarhiphop.com/videos/video.php?v=wshhSfn3r4x4Ojy1ZeV7
                                                                                            26   and incorporated by reference herein. “Dad Gives Hilarious Reasons Why His
                                                                                            27   Daughter Can’t Have A Boyfriend!” copies significant portions of the “Little Girl
                                                                                            28   Argues with Dad over Future Boyfriend” video.
                                                                                             1                                            22
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 24 of 94 Page ID #:157



                                                                                             1         119. INFRINGEMENT #30: Jukin acquired the rights to “Raccoon Snaps
                                                                                             2   at Man” on April 26, 2016, available at
                                                                                             3   https://www.youtube.com/watch?v=Yl8CpkxyBmM and incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             5   also filed an application for copyright registration with the United States Copyright
                                                                                             6   Office for this video, application case number 1-3916872359, and is awaiting
                                                                                             7   issuance of the registration.
                                                                                             8         120. On April 29, 2016, Defendants posted a video entitled “Ouch: Man
                                                                                             9   Gets Bit By A Raccoon While Feeding It!” at
                                                                                            10   http://www.worldstarhiphop.com/videos/video.php?v=wshhtD5v7LV2f6Nbbdei
                                                                                            11   and incorporated by reference herein. “Ouch: Man Gets Bit By A Raccoon While
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Feeding It!” copies significant portions of the “Raccoon Snaps at Man” video.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         121. INFRINGEMENT #31: Jukin acquired the rights to “Guy Tries to
                                                                             310-229-9900




                                                                                            14   Front Flip off Swegway” on May 3, 2016, available at
                                                                                            15   https://www.youtube.com/watch?v=NmnB_llbbaY and incorporated by reference
                                                                                            16   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            17   also filed an application for copyright registration with the United States Copyright
                                                                                            18   Office for this video, application case number 1-3916872244, and is awaiting
                                                                                            19   issuance of the registration.
                                                                                            20         122. On May 6, 2016, Defendants posted a video entitled “Vine Comp Of
                                                                                            21   The Week Part 164!” at
                                                                                            22   http://www.worldstarhiphop.com/videos/video.php?v=wshhh09rs1jCoRL8bjEN
                                                                                            23   and incorporated by reference herein. “Vine Comp Of The Week Part 164!”
                                                                                            24   copies significant portions of the “Guy Tries to Front Flip off Swegway” video.
                                                                                            25         123. INFRINGEMENT #32: Jukin acquired the rights to “Pole Fitness
                                                                                            26   Dancer Falls on Head” on May 5, 2016, available at
                                                                                            27   https://www.youtube.com/watch?v=fydguquSIWg and incorporated by reference
                                                                                            28   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             1                                             23
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 25 of 94 Page ID #:158



                                                                                             1   also filed an application for copyright registration with the United States Copyright
                                                                                             2   Office for this video, application case number 1-3913838991, and is awaiting
                                                                                             3   issuance of the registration.
                                                                                             4         124. On June 3, 2016, Defendants posted a video entitled “Vine Comp Of
                                                                                             5   The Week Part 168!” at
                                                                                             6   http://www.worldstarhiphop.com/videos/video.php?v=wshh6jT0kXWVsR1KSptM
                                                                                             7   and incorporated by reference herein. “Vine Comp Of The Week Part 168!”
                                                                                             8   copies significant portions of the “Pole Fitness Dancer Falls on Head” video.
                                                                                             9         125. INFRINGEMENT #33: Jukin acquired the rights to “Vape Tricks at
                                                                                            10   Work” on May 12, 2016, available at
                                                                                            11   https://www.youtube.com/watch?v=JBYpKbTDQ8M and incorporated by
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   reference herein. Jukin subsequently republished this video on its own channel.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Jukin has also filed an application for copyright registration with the United States
                                                                             310-229-9900




                                                                                            14   Copyright Office for this video, application case number 1-3913838666, and is
                                                                                            15   awaiting issuance of the registration.
                                                                                            16         126. On May 11, 2016, Defendants posted a video entitled “They Call This
                                                                                            17   Guy The Vape Wizard!” at
                                                                                            18   http://www.worldstarhiphop.com/videos/video.php?v=wshhaw8XS8ZJuKleo90r
                                                                                            19   and incorporated by reference herein. “They Call This Guy The Vape Wizard!”
                                                                                            20   copies significant portions of the “Vape Tricks at Work” video. Upon information
                                                                                            21   and belief, Defendants did not obtain permission from the video creator to post the
                                                                                            22   video prior to its acquisition by Jukin. Defendants never obtained permission from
                                                                                            23   Jukin to post the video.
                                                                                            24         127. INFRINGEMENT #34: Jukin acquired the rights to “Drunk Guy
                                                                                            25   Drives onto Beach” on May 12, 2016, available at
                                                                                            26   https://www.youtube.com/watch?v=T2L08dzkg_g and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
                                                                                             1                                            24
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 26 of 94 Page ID #:159



                                                                                             1   Office for this video, application case number 1-3916922995, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3            128. On May 12, 2016, Defendants posted a video under the following title
                                                                                             4   and at the following link, incorporated by reference herein: “Fail: Guy Tries To
                                                                                             5   Show Off Trying To Off-road On Water & Ruins His Jeep!” at
                                                                                             6   http://www.worldstarhiphop.com/videos/video.php?v=wshhno9A7C5aPfd6pr66.
                                                                                             7            129. On May 13, 2016, Defendants posted a video at the following link,
                                                                                             8   incorporated by reference herein: https://www.instagram.com/p/BFVokLgBZtH.
                                                                                             9            130. Defendants’ video, at both links, copies significant portions of the
                                                                                            10   “Drunk Guy Drives onto Beach” video. Upon information and belief, Defendants
                                                                                            11   did not obtain permission from the video creator to post the video prior to its
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   video.
                                                                             310-229-9900




                                                                                            14            131. INFRINGEMENT #35: Jukin acquired the rights to “Snakes Eats
                                                                                            15   Eggs in Nest” on May 14, 2016, available at
                                                                                            16   https://www.youtube.com/watch?v=uzHwsW5EVvw and incorporated by
                                                                                            17   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            18   Jukin has also filed an application for copyright registration with the United States
                                                                                            19   Copyright Office for this video, application case number 1-3913838375, and is
                                                                                            20   awaiting issuance of the registration.
                                                                                            21            132. On May 14, 2016, Defendants posted a video entitled “Damn, Nature:
                                                                                            22   Guy Puts A GoPro In A Bird Nest & Captures Some Crazy Footage!” at
                                                                                            23   http://www.worldstarhiphop.com/videos/video.php?v=wshh6BgM934QNXPoC6Z
                                                                                            24   0 and incorporated by reference herein. “Damn, Nature: Guy Puts A GoPro In A
                                                                                            25   Bird Nest & Captures Some Crazy Footage!” copies significant portions of the
                                                                                            26   “Snakes Eats Eggs in Nest” video. Upon information and belief, Defendants did
                                                                                            27   not obtain permission from the video creator to post the video prior to its
                                                                                            28   acquisition by Jukin. Defendants never obtained permission from Jukin to post the
                                                                                             1                                              25
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 27 of 94 Page ID #:160



                                                                                             1   video.
                                                                                             2            133. INFRINGEMENT #36: Jukin acquired the rights to “Woman Happy
                                                                                             3   to Wear Hairy Character Mask” on May 20, 2016, available at
                                                                                             4   https://www.youtube.com/watch?v=MQFbTQzGnq4 and incorporated by
                                                                                             5   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             6   Jukin has also filed an application for copyright registration with the United States
                                                                                             7   Copyright Office for this video, application case number 1-3913838300, and is
                                                                                             8   awaiting issuance of the registration.
                                                                                             9            134. On May 20, 2016, Defendants posted a video entitled “Woman
                                                                                            10   Laughs Uncontrollably After She Puts On A Talking Chewbacca Mask!” at
                                                                                            11   http://www.worldstarhiphop.com/videos/video.php?v=wshhGE4zp5RDXE0lfyP5
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   and incorporated by reference herein. “Woman Laughs Uncontrollably After She
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Puts On A Talking Chewbacca Mask!” copies significant portions of the “Woman
                                                                             310-229-9900




                                                                                            14   Happy to Wear Hairy Character Mask” video. Upon information and belief,
                                                                                            15   Defendants did not obtain permission from the video creator to post the video prior
                                                                                            16   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                            17   post the video.
                                                                                            18            135. INFRINGEMENT #37: Jukin acquired the rights to “Guy Eats Shirt
                                                                                            19   after Losing Bet” on May 31, 2016, available at
                                                                                            20   https://www.youtube.com/watch?v=uErlwXY25Ms incorporated by reference
                                                                                            21   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            22   also filed an application for copyright registration with the United States Copyright
                                                                                            23   Office for this video, application case number 1-3913754135, and is awaiting
                                                                                            24   issuance of the registration.
                                                                                            25            136. On May 31, 2016, Defendants posted a video entitled “Kept His
                                                                                            26   Word: Cavs Fan Said He’d Eat His Shirt If The Warriors Won The Thunder
                                                                                            27   Series!” at
                                                                                            28   http://www.worldstarhiphop.com/videos/video.php?v=wshhKp6n4JFJrFx5G2Dy
                                                                                             1                                            26
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 28 of 94 Page ID #:161



                                                                                             1   and incorporated by reference herein. “Kept His Word: Cavs Fan Said He’d Eat
                                                                                             2   His Shirt If The Warriors Won The Thunder Series!” copies significant portions of
                                                                                             3   the “Guy Eats Shirt after Losing Bet” video. Upon information and belief,
                                                                                             4   Defendants did not obtain permission from the video creator to post the video prior
                                                                                             5   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                             6   post the video.
                                                                                             7         137. INFRINGEMENT #38: Jukin acquired the rights to “Girl Flips Off
                                                                                             8   Camera and Mom Gets Mad” on June 28, 2016, available at
                                                                                             9   https://www.youtube.com/watch?v=aGv3Y7nNwZE incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            11   also filed an application for copyright registration with the United States Copyright
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Office for this video, application case number 1-3913754067, and is awaiting
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   issuance of the registration.
                                                                             310-229-9900




                                                                                            14         138. On June 24, 2016, Defendants posted a video entitled “Vine Comp Of
                                                                                            15   The Week Part 171!” at
                                                                                            16   http://www.worldstarhiphop.com/videos/video.php?v=wshho1oEeW6r116C28X1
                                                                                            17   and incorporated by reference herein. “Vine Comp Of The Week Part 171!”
                                                                                            18   copies significant portions of the “Girl Flips Off Camera and Mom Gets Mad”
                                                                                            19   video. Upon information and belief, Defendants did not obtain permission from
                                                                                            20   the video creator to post the video prior to its acquisition by Jukin. Defendants
                                                                                            21   never obtained permission from Jukin to post the video.
                                                                                            22         139. INFRINGEMENT #39: Jukin acquired the rights to “Mother Rat
                                                                                            23   Saves Baby from Snake” on July 3, 2016, available at
                                                                                            24   https://www.youtube.com/watch?v=pG24RyFd2BI incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            26   also filed an application for copyright registration with the United States Copyright
                                                                                            27   Office for this video, application case number 1-3913754002, and is awaiting
                                                                                            28   issuance of the registration.
                                                                                             1                                            27
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 29 of 94 Page ID #:162



                                                                                             1         140. On July 2, 2016, Defendants posted a video entitled “Rat Mom Saves
                                                                                             2   Baby Rat From Snake!” at
                                                                                             3   http://www.worldstarhiphop.com/videos/video.php?v=wshh0JQYfRtJ3n4b3dXv
                                                                                             4   and incorporated by reference herein. “Rat Mom Saves Baby Rat From Snake!”
                                                                                             5   copies significant portions of the “Mother Rat Saves Baby from Snake” video.
                                                                                             6   Upon information and belief, Defendants did not obtain permission from the video
                                                                                             7   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                             8   obtained permission from Jukin to post the video.
                                                                                             9         141. INFRINGEMENT #40: Jukin acquired the rights to “People
                                                                                            10   Stampede to Catch Pokemon in Central Park” on July 16, 2016, available at
                                                                                            11   https://www.youtube.com/watch?v=MLdWbwQJWI0 incorporated by reference
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   also filed an application for copyright registration with the United States Copyright
                                                                             310-229-9900




                                                                                            14   Office for this video, application case number 1-3913753867, and is awaiting
                                                                                            15   issuance of the registration.
                                                                                            16         142. On July 16, 2016, Defendants posted a video at the following links,
                                                                                            17   incorporated by reference herein:
                                                                                            18                   a. https://twitter.com/WORLDSTAR/status/75440008626884608
                                                                                            19                       0;
                                                                                            20                   b. https://www.instagram.com/p/BH7008agzYP.
                                                                                            21         143. Defendants’ video, at both links, copies significant portions of the
                                                                                            22   “People Stampede to Catch Pokemon in Central Park” video. Upon information
                                                                                            23   and belief, Defendants did not obtain permission from the video creator to post the
                                                                                            24   video prior to its acquisition by Jukin. Defendants never obtained permission from
                                                                                            25   Jukin to post the video.
                                                                                            26         144. INFRINGEMENT #41: Jukin acquired the rights to “Man Dances in
                                                                                            27   Alley for No Audience” on July 18, 2016, available at
                                                                                            28   https://www.youtube.com/watch?v=fJbomUpLia4 incorporated by reference
                                                                                             1                                            28
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 30 of 94 Page ID #:163



                                                                                             1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             2   also filed an application for copyright registration with the United States Copyright
                                                                                             3   Office for this video, application case number 1-3899602109, and is awaiting
                                                                                             4   issuance of the registration.
                                                                                             5         145. On July 18, 2016, Defendants posted a video entitled “Man Comes
                                                                                             6   Home To Find A Guy Jamming Out In His Driveway!” at
                                                                                             7   http://www.worldstarhiphop.com/videos/video.php?v=wshh543o1Ij11Qdd93p and
                                                                                             8   incorporated by reference herein. “Man Comes Home To Find A Guy Jamming
                                                                                             9   Out In His Driveway!” copies significant portions of the “Man Dances in Alley for
                                                                                            10   No Audience” video. Upon information and belief, Defendants did not obtain
                                                                                            11   permission from the video creator to post the video prior to its acquisition by Jukin.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Defendants never obtained permission from Jukin to post the video.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         146. INFRINGEMENT #42: Jukin acquired the rights to “Skateboarder
                                                                             310-229-9900




                                                                                            14   Smashes Window of Expensive Car” on July 20, 2016, available at
                                                                                            15   https://www.youtube.com/watch?v=l7yt-VPYtOA incorporated by reference
                                                                                            16   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            17   also filed an application for copyright registration with the United States Copyright
                                                                                            18   Office for this video, application case number 1-3913626969, and is awaiting
                                                                                            19   issuance of the registration.
                                                                                            20         147. On July 20, 2016, Defendants posted a video entitled “Kid Smashes
                                                                                            21   The Windshield Of A $250K McLaren With His Skateboard!” at
                                                                                            22   http://www.worldstarhiphop.com/videos/video.php?v=wshh22vBdoGko45ykq52
                                                                                            23   and incorporated by reference herein. “Kid Smashes The Windshield Of A $250K
                                                                                            24   McLaren With His Skateboard!” copies significant portions of the “Skateboarder
                                                                                            25   Smashes Window of Expensive Car” video. Upon information and belief,
                                                                                            26   Defendants did not obtain permission from the video creator to post the video prior
                                                                                            27   to its acquisition by Jukin. Defendants never obtained permission from Jukin to
                                                                                            28   post the video.
                                                                                             1                                            29
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 31 of 94 Page ID #:164



                                                                                             1            148. INFRINGEMENT #43: Jukin acquired the rights to “Bears Breaks
                                                                                             2   into House” on July 31, 2016, available at
                                                                                             3   https://www.youtube.com/watch?v=_aFOt4I7SP8 incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             5   also filed an application for copyright registration with the United States Copyright
                                                                                             6   Office for this video, application case number 1-3956484032, and is awaiting
                                                                                             7   issuance of the registration.
                                                                                             8            149. On August 1, 2016, Defendants posted a video entitled “Scary Ish:
                                                                                             9   Man Wakes Up To Find A Bear Inside His House!” at
                                                                                            10   http://www.worldstarhiphop.com/videos/video.php?v=wshhgKsCxz7S8h7W4Z7R
                                                                                            11   and incorporated by reference herein. “Scary Ish: Man Wakes Up To Find A Bear
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Inside His House!” copies significant portions of the “Bears Breaks into House”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   video.
                                                                             310-229-9900




                                                                                            14            150. INFRINGEMENT #44: Jukin acquired the rights to “Teacher Dives
                                                                                            15   out of Window” on August 9, 2016, available at
                                                                                            16   https://www.youtube.com/watch?v=AbISpRkMayw incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            18   also filed an application for copyright registration with the United States Copyright
                                                                                            19   Office for this video, application case number 1-3916922659, and is awaiting
                                                                                            20   issuance of the registration.
                                                                                            21            151. On August 9, 2016, Defendants posted a video entitled “Teacher
                                                                                            22   Jumps Out Of A Window During Class!” at
                                                                                            23   http://www.worldstarhiphop.com/videos/video.php?v=wshh6hzmmeBQO79MJPt8
                                                                                            24   and incorporated by reference herein. “Teacher Jumps Out Of A Window During
                                                                                            25   Class!” copies significant portions of the “Teacher Dives out of Window” video.
                                                                                            26   Upon information and belief, Defendants did not obtain permission from the video
                                                                                            27   creator to post the video prior to its acquisition by Jukin. Defendants never
                                                                                            28   obtained permission from Jukin to post the video.
                                                                                             1                                            30
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 32 of 94 Page ID #:165



                                                                                             1         152. INFRINGEMENT #45: On February 24, 2015, Jukin published a
                                                                                             2   compilation on its own channel entitled “Ultimate Parkour Fails Compilation ||
                                                                                             3   FailArmy” available at https://www.youtube.com/watch?v=ZEs9zmF-Fwk and
                                                                                             4   incorporated by reference herein. Jukin has also filed an application for copyright
                                                                                             5   registration with the United States Copyright Office for this video, application case
                                                                                             6   number 1-3972534172, and is awaiting issuance of the registration.
                                                                                             7         153. Jukin also owns U.S. Trademark Registration No. 4,604,845, a valid
                                                                                             8   and protectable federal trademark registration for FAILARMY for “Entertainment
                                                                                             9   services, namely, providing a web site featuring photographic, audio, video and
                                                                                            10   prose presentations featuring comedy.” Jukin’s FAILARMY trademark
                                                                                            11   prominently appears in its “Ultimate Parkour Fails Compilation || FailArmy” video.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         154. On February 25, 2015, Defendants posted a video entitled “Ouchhh:
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Ultimate Parkour Fails Compilation!” at
                                                                             310-229-9900




                                                                                            14   http://www.worldstarhiphop.com/videos/video.php?v=wshhpr7C64b8TjvyXF7j
                                                                                            15   and incorporated by reference herein. “Ouchhh: Ultimate Parkour Fails
                                                                                            16   Compilation!” copies significant portions of the “Ultimate Parkour Fails
                                                                                            17   Compilation || FailArmy” video.
                                                                                            18         155. Defendants also reproduced Jukin’s FAILARMY trademark for use in
                                                                                            19   “Ouchhh: Ultimate Parkour Fails Compilation!” as shown in the following
                                                                                            20   comparison:
                                                                                            21   ///
                                                                                            22   ///
                                                                                            23   ///
                                                                                            24   ///
                                                                                            25   ///
                                                                                            26   ///
                                                                                            27   ///
                                                                                            28   ///
                                                                                             1                                             31
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 33 of 94 Page ID #:166



                                                                                             1

                                                                                             2   Ultimate Parkour Fails Compilation Ouchhh: Ultimate Parkour Fails
                                                                                             3   || FailArmy                                Compilation!
                                                                                             4

                                                                                             5

                                                                                             6

                                                                                             7

                                                                                             8

                                                                                             9
                                                                                            10

                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13            156. Defendants’ use of an identical FAILARMY trademark, in connection
                                                                             310-229-9900




                                                                                            14   with an identical video, is likely to confuse consumers and make them believe
                                                                                            15   there is an affiliation, connection, or association, of Defendants with Jukin, or as to
                                                                                            16   the origin, sponsorship, or approval of Defendants’ websites and/or videos by
                                                                                            17   Jukin.
                                                                                            18            157. Defendants do not have any license, authorization, permission, or
                                                                                            19   consent from Jukin to use any of the Original Videos.
                                                                                            20            158. Defendants do not have any license, authorization, permission, or
                                                                                            21   consent from Jukin to use any of Jukin’s trademarks.
                                                                                            22            159. On information and belief, Defendants did not obtain any license,
                                                                                            23   authorization, permission, or consent from the individual video creators to use the
                                                                                            24   Original Videos. Even if Defendants had obtained authorization from the
                                                                                            25   individual video creators, this authorization is invalid if it was obtained after Jukin
                                                                                            26   acquired the rights to the videos.
                                                                                            27            160. Defendants directly violated Jukin’s exclusive rights under the
                                                                                            28   Copyright Act.
                                                                                             1                                             32
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 34 of 94 Page ID #:167



                                                                                             1          161. Defendants enjoy no “safe harbor” protection under the DMCA
                                                                                             2    because upon information and belief (a) the transmission of the videos to
                                                                                             3    Worldstarhiphop.com and the Worldstar Social Media Accounts was initiated by or
                                                                                             4    at the direction of Defendants and/or Defendants’ agents and (b) the transmission
                                                                                             5    of the videos to Worldstarhiphop.com and the Worldstar Social Media Accounts is
                                                                                             6    carried out through Defendants’ or Defendants’ agents’ selection of the material.
                                                                                             7                                 Other Infringing Videos
                                                                                             8          162. In addition to Defendants’ infringement of the Original Videos
                                                                                             9    described above, Defendants also used the following Jukin Original Videos
                                                                                            10    without Jukin’s authorization. Upon information and belief, Defendants also did
                                                                                            11    not obtain permission from the video creator to post any of the videos prior to their
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12    acquisition by Jukin.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          163. In each of the following cases, Defendants’ Infringing Videos copy a
                                                                             310-229-9900




                                                                                            14    significant portion or the entirety of the Original Video. Jukin reserves the right to
                                                                                            15    file copyright applications with respect to these videos and to amend this
                                                                                            16    Complaint to bring claims based on these videos.
                                                                                            17          JUKIN ORIGINAL VIDEO                     DEFENDANTS’ INFRINGING
                                                                                            18          AND ACQUISITION DATE                     VIDEO AND POST DATE
                                                                                            19   1.     “White Shirt Guy Falls Off Fence” “Vine Comp Of The Week Part 165!”
                                                                                            20          (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                            21          v=F_pXnd7Ln4A) – acquired                deos/video.php?v=wshh8vACgQnS9
                                                                                            22          Nov. 1, 2012                             5YxWa5y) – posted May 13, 2016
                                                                                            23   2.     “Baby Shark Bites Guy's                  “Fail: Holding A Baby Shark Goes
                                                                                            24          Shoulder”                                Wrong!”
                                                                                            25          (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                            26          v=7KODixXXnSQ) – acquired                deos/video.php?v=wshhM1dsMuhBT
                                                                                            27          Nov. 4, 2012                             9gidF36) – posted May 27, 2015
                                                                                            28   3.     “Puddle Jump Gone Wrong”                 “Vine Comp Of The Week Part 151!”
                                                                                             1                                              33
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 35 of 94 Page ID #:168



                                                                                             1        (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             2        v=0mVQ5fu6q8M) – acquired             deos/video.php?v=wshhVOvai6B1Ikj
                                                                                             3        Mar. 12, 2013                         er6mp) – posted Feb. 5, 2016
                                                                                             4   4.   “Guy Runs and Slides down             “Vine Comp Of The Week Part 122!”
                                                                                             5        Upwards Escalator”                    (http://www.worldstarhiphop.com/vi
                                                                                             6        (https://www.youtube.com/watch?       deos/video.php?v=wshhay3DWBLin
                                                                                             7        v=jK3OyXOMQYc) – acquired             Z7Q0pv9) – posted Jul. 10, 2015
                                                                                             8        Aug. 2, 2013
                                                                                             9   5.   “Man Falls Through Golf Shop          “Hey Ron”
                                                                                            10        Roof”                                 (https://www.instagram.com/p/-P-
                                                                                            11        (https://www.youtube.com/watch?       9pShZl4/?taken-by=realwshh) –
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12        v=vKdfnsXiO94) – acquired Jan.        posted Nov. 18, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13        7, 2014
                                                                             310-229-9900




                                                                                            14   6.   “Little Girl Maestro Conducts         “If Young Metro Dont Trust You”
                                                                                            15        Choir”                                (https://twitter.com/WORLDSTAR/st
                                                                                            16        (https://www.youtube.com/watch?       atus/703950589949042688) – posted
                                                                                            17        v=i7W3ICpONVs) – acquired             Feb. 28, 2016;
                                                                                            18        Mar. 6, 2014
                                                                                            19                                              (https://www.instagram.com/p/BCV
                                                                                            20                                              VdrsBZvi/) – posted Feb. 28, 2016
                                                                                            21   7.   “Drunk Woman Falls in Kebab           “Her ankles just said nah…”
                                                                                            22        Shop”                                 (https://www.instagram.com/p/BHbP
                                                                                            23        (https://www.youtube.com/watch?       9pnAgU_) – posted Jul. 3, 2016
                                                                                            24        v=JfUxxp0Cnjw) – acquired May
                                                                                            25        6, 2014
                                                                                            26   8.   “Bench Press Safety Bars Fail”        (https://www.instagram.com/p/BBps
                                                                                            27        (https://www.youtube.com/watch?       EFkhZsU) – posted Feb. 11, 2016;
                                                                                            28        v=y1zB-Bu6V44) – acquired Mar.
                                                                                             1                                         34
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 36 of 94 Page ID #:169



                                                                                             1         29, 2014                               “Vine Comp Of The Week Part 152!”
                                                                                             2                                                (http://www.worldstarhiphop.com/vi
                                                                                             3                                                deos/video.php?v=wshhPBk89aRzS6
                                                                                             4                                                H2GhrP) – posted Feb. 12, 2016
                                                                                             5   9.    “Little Girl Freaks Out Getting Flu “LOL: Little Girls Reaction to
                                                                                             6         Shot”                                  Getting a Doctors Shot!”
                                                                                             7         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             8         v=MZIBz-9J1o4) – acquired Jul.         deos/video.php?v=wshh15QLwRc2J
                                                                                             9         16, 2014                               WqXcf9P) – posted Feb. 18, 2015
                                                                                            10   10.   “Shirtless Man Jumps on Cactus”        “Vine Comp Of The Week Part 142!”
                                                                                            11         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=PHSJCMkUa9Y) – acquired              deos/video.php?v=wshhk0Gm52617p
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         Feb. 18, 2013                          eH0820) – posted Dec. 4, 2015
                                                                             310-229-9900




                                                                                            14   11.   “Alzheimer's Patient Mom               (https://www.instagram.com/p/BBP8
                                                                                            15         Recognizes Her Daughter”               cZvhZrV) – posted Feb. 1, 2016
                                                                                            16         (https://www.youtube.com/watch?
                                                                                            17         v=IxDo0j6l2s8) – acquired Sept.
                                                                                            18         2, 2014
                                                                                            19   12.   “Bulldogs Use Teamwork to Get          “Vine Comp Of The Week Part 120!”
                                                                                            20         Tire Out of Pool”                      (http://www.worldstarhiphop.com/vi
                                                                                            21         (https://www.youtube.com/watch?        deos/video.php?v=wshh6yO5X57AD
                                                                                            22         v=4gqfl8Rr10Y) – acquired Sept.        XBo5IGA) – posted Jun. 25, 2015
                                                                                            23         2, 2014
                                                                                            24   13.   “Shotgun Goes off inside House         “Vine Comp Of The Week Part 155!”
                                                                                            25         Accident”                              (http://www.worldstarhiphop.com/vi
                                                                                            26         (https://www.youtube.com/watch?        deos/video.php?v=wshhJN326MX08
                                                                                            27         v=rpeb4sqDu0k) – acquired Jun.         rpgVgKh) – posted Mar. 4, 2016
                                                                                            28         29, 2013
                                                                                             1                                           35
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 37 of 94 Page ID #:170



                                                                                             1   14.   “Student Puts Metal Compass in          “Vine Comp Of The Week Part 166!”
                                                                                             2         Light Socket”                           (http://www.worldstarhiphop.com/vi
                                                                                             3         (https://www.jukinmedia.com/lice        deos/video.php?v=wshh7Vsv5V1nkE
                                                                                             4         nsing/view/15099) – acquired Dec. TAR37v) – posted May 20, 2016;
                                                                                             5         5, 2014
                                                                                             6                                                 (https://www.instagram.com/p/BFxD
                                                                                             7                                                 UBpBZt0/) – posted May 23, 2016
                                                                                             8   15.   “Kid Makes People                       “Lol” How To Make People
                                                                                             9         Uncomfortable with Public Phone         Uncomfortable!”
                                                                                            10         Calls”                                  (http://www.worldstarhiphop.com/vi
                                                                                            11         (https://www.youtube.com/watch?         deos/video.php?v=wshh1PCa939b2F
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=49p0snQwo0M) – acquired               OAJ41J) – posted Dec. 6, 2014
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         Dec. 7, 2014
                                                                             310-229-9900




                                                                                            14   16.   “The Grinch Steals Spotlight in         “School tomorrow”
                                                                                            15         Yoga Class”                             (https://instagram.com/p/6yj5iFhZhi/
                                                                                            16         (https://www.youtube.com/watch?         ?taken-by=realwshh) – posted Aug.
                                                                                            17         v=HsvyjePPFRs) – acquired Dec.          24, 2015
                                                                                            18         9, 2014
                                                                                            19   17.   “Megatron Street Performer Calls        “Megatron Goes In On A Chick
                                                                                            20         Out Selfie Seeker”                      Taking A Selfie!”
                                                                                            21         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            22         v=M5rpbCQlo6Q) – acquired Dec. deos/video.php?v=wshhbwERe3l3V
                                                                                            23         17, 2014                                UMiDhq3) – posted Dec. 16, 2014
                                                                                            24   18.   “Woman Drives Police Boot off           “No F*cks Given: Woman Gets Her
                                                                                            25         Car at Bad Girls Club Audition”         BMW Booted At A Bad Girls Club
                                                                                            26         (https://www.youtube.com/watch?         Audition And Drives Off Anyway”
                                                                                            27         v=fC4uhOxHqk8) – acquired Dec. (http://www.worldstarhiphop.com/vi
                                                                                            28         21, 2014                                deos/video.php?v=wshhdaiZvdb51E
                                                                                             1                                            36
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 38 of 94 Page ID #:171



                                                                                             1                                               A33F4c) – posted on or before April
                                                                                             2                                               1, 2015.
                                                                                             3   19.   “Dad Reminds Daughter that She's “Good Parenting: Father Tells His
                                                                                             4         a Princess”                           Daughter How A Good Man Should
                                                                                             5         (https://www.youtube.com/watch?       Treat Her!”
                                                                                             6         v=lNpwinrIeYU) – acquired Jan.        (http://www.worldstarhiphop.com/vi
                                                                                             7         3, 2015                               deos/video.php?v=wshhNAb7MmR0
                                                                                             8                                               1e7f0tCt) – posted Dec. 29, 2014
                                                                                             9   20.   “Dog Gets Groomed in Hair             “Bruh: Dog Sits On Salon Chair Like
                                                                                            10         Salon”                                A Human As Hairstylist Cuts His
                                                                                            11         (https://www.youtube.com/watch?       Hair!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=dZE1IyNg75o) – acquired Jan.        (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         12, 2015                              deos/video.php?v=wshhZ9qBY70CR
                                                                             310-229-9900




                                                                                            14                                               e58Yd34) – posted Jan. 12, 2015
                                                                                            15   21.   “Elephants on the Road in             “Hope Their Policies Cover This:
                                                                                            16         Thailand National Park”               Troll Elephant Sits On Cars In
                                                                                            17         (https://www.youtube.com/watch?       Traffic!”
                                                                                            18         v=GTmRfsob5z8) – acquired Jan.        (http://www.worldstarhiphop.com/vi
                                                                                            19         15, 2015                              deos/video.php?v=wshh01H89fa7ltlz
                                                                                            20                                               026d) – posted Jan. 13, 2015
                                                                                            21   22.   “Squatter Steals Weight from          “Thug Life: No F*cks Given At the
                                                                                            22         Fellow Lifter”                        Gym!”
                                                                                            23         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            24         v=tZuIm8tdtzA) – acquired Jan.        deos/video.php?v=wshhd2G3Ct50Uh
                                                                                            25         19, 2015                              63Avpx) – posted Jan. 17, 2015
                                                                                            26   23.   “Guy Gets Stuck on Pole”              “Lol: Guy Stuck on Pole Trick!”
                                                                                            27         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            28         v=sZC1Op7eKqg) – acquired Jan.        deos/video.php?v=wshh71rjEZd82zD
                                                                                             1                                          37
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 39 of 94 Page ID #:172



                                                                                             1         26, 2015                                1F9Qr) – posted Jan. 31, 2015
                                                                                             2   24.   “Guy Pops Champagne Bottle              “Who Needs A Bottle Opener When
                                                                                             3         with Butt”                              You Can Do This!”
                                                                                             4         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             5         v=m1PnDWyAxRM) – acquired               deos/video.php?v=wshh1wfwvHaq2
                                                                                             6         Jan. 26, 2015                           wbM13EF) – posted Jan. 25, 2015
                                                                                             7   25.   “Overloaded Truck Topples Over” “Vine Comp Of The Week Part 108!”
                                                                                             8         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             9         v=VHqHI4wHuQk) – acquired               deos/video.php?v=wshhnuG5kZpOH
                                                                                            10         Jan. 29, 2015                           k6j8N2I) – posted Mar. 24, 2015
                                                                                            11   26.   “Man Plays Jenga with Mouse             “When Boredom Strikes: 2 Drunk
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Trap, Loses”                            Men Playing Mousetrap Jenga!”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                             310-229-9900




                                                                                            14         v=EA5Z1761ImI) – acquired Feb.          deos/video.php?v=wshhSI5kn4x6Mp
                                                                                            15         2, 2015                                 uvf81k) – posted Feb. 1, 2015
                                                                                            16   27.   “Cat Knocks Stuff off Table and         “Thug Life: This Cat Don’t Give A
                                                                                            17         Doesn't Care”                           F*ck!”
                                                                                            18         (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                            19         nsing/view/16268) – acquired Feb. deos/video.php?v=wshh0BOjRyT1Q
                                                                                            20         11, 2015                                Sky72K4) – posted Feb. 11, 2015
                                                                                            21   28.   “Man Gets Gun Pulled on Him on          “Black Man Records White Man
                                                                                            22         Neighborhood Street”                    Pulling A Gun On Him Because He
                                                                                            23         (https://www.youtube.com/watch?         Presumed He Was A Drug Dealer!”
                                                                                            24         v=9b1fa93clLI) – acquired Feb.          (http://www.worldstarhiphop.com/vi
                                                                                            25         14, 2015                                deos/video.php?v=wshhOS5y02z5IT
                                                                                            26                                                 d2r0nE) – posted Feb. 13, 2015
                                                                                            27   29.   “Ping Pong Player Throws Paddle         “growing up with siblings in 6
                                                                                            28         at Opponent”                            seconds” (https://instagram.com/p/7-
                                                                                             1                                            38
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 40 of 94 Page ID #:173



                                                                                             1         (https://www.youtube.com/watch?         m23kBZlp/?taken-by=realwshh) –
                                                                                             2         v=ApgrBSXnK5A) – acquired               posted Sept. 23, 2015
                                                                                             3         Feb. 17, 2015
                                                                                             4   30.   “Gymnastics Backbend Faceplant” “Vine Comp Of The Week Part 110!”
                                                                                             5         (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                             6         nsing/view/16359) – acquired Feb. deos/video.php?v=wshhS0N8A009X
                                                                                             7         17, 2015                                5f30nDI) – posted Apr. 9, 2015
                                                                                             8   31.   “Man Hangs onto Back of Car             “Parking Lot Altercation Quickly
                                                                                             9         after Fight”                            Escalates to Attempted Murder!”
                                                                                            10         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            11         v=W1D3SnPM3J0) – acquired               deos/video.php?v=wshh2i4Ul08w3O
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Feb. 20, 2015                           S4tz4O) – posted Feb. 22, 2015;
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13
                                                                             310-229-9900




                                                                                            14                                                 “Vine Comp Of The Week Part 137!”
                                                                                            15                                                 (http://www.worldstarhiphop.com/vi
                                                                                            16                                                 deos/video.php?v=wshhB7UnpqX4l9
                                                                                            17                                                 xE6255) – posted Oct. 23, 2015
                                                                                            18   32.   “Skateboard Jumps over Wall and         “Vine Comp Of The Week Part 114!”
                                                                                            19         Takes out Other Guy”                    (http://www.worldstarhiphop.com/vi
                                                                                            20         (https://www.youtube.com/watch?         deos/video.php?v=wshh0Ak5OSJL6
                                                                                            21         v=2N3zllI8USQ) – acquired Mar.          U47TYrR) – posted May 13, 2015
                                                                                            22         2, 2015
                                                                                            23   33.   “Dad Launches Kid from Airbed           “Vine Comp Of The Week Part 118!”
                                                                                            24         into Wall”                              (http://www.worldstarhiphop.com/vi
                                                                                            25         (https://www.youtube.com/watch?         deos/video.php?v=wshh8oulrc65s7ux
                                                                                            26         v=nM_WiiGqT74) – acquired               mR3q) – posted Jun. 10, 2015
                                                                                            27         Mar. 3, 2015
                                                                                            28   34.   “Girl Sliding Down Escalator            “Vine Comp Of The Week Part 108!”
                                                                                             1                                            39
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 41 of 94 Page ID #:174



                                                                                             1         Smashes Face in Glass”                  (http://www.worldstarhiphop.com/vi
                                                                                             2         (https://www.youtube.com/watch?         deos/video.php?v=wshhnuG5kZpOH
                                                                                             3         v=NLPc_5_96GY) – acquired               k6j8N2I) – posted Mar. 24, 2015
                                                                                             4         Mar. 5, 2015
                                                                                             5   35.   “Amazing Moment When Father             “The Moment A Father Of Four
                                                                                             6         of Four Hears Silence for First         Hears Silence For The First Time”
                                                                                             7         Time”                                   (http://www.worldstarhiphop.com/vi
                                                                                             8         (https://www.youtube.com/watch?         deos/video.php?v=wshhvJ752ugY1u
                                                                                             9         v=18kqcczy6MQ) – acquired Mar. 0iM0x1) – posted Mar. 7, 2015
                                                                                            10         6, 2015
                                                                                            11   36.   “Funny Dog Sticks out Tongue”           “when bae bout to sit on yo face”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?         (https://twitter.com/WORLDSTAR/st
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=vuTQKwcKyrQ) – acquired               atus/708711158480371712) – posted
                                                                             310-229-9900




                                                                                            14         Mar. 7, 2015                            Mar. 12, 2015;
                                                                                            15

                                                                                            16                                                 “when bae bout to sit on yo face”
                                                                                            17                                                 (https://www.instagram.com/p/BC3K
                                                                                            18                                                 HsUhZh4/) – posted Mar. 12, 2015
                                                                                            19   37.   “Cat Hides to Sneak Attack other        “Vine Comp Of The Week Part 149!”
                                                                                            20         Cat”                                    (http://www.worldstarhiphop.com/vi
                                                                                            21         (https://www.youtube.com/watch?         deos/video.php?v=wshhNr5J5pBUH
                                                                                            22         v=cvJ2BDkcLjE) – acquired Mar.          4Q4zJWF) – posted Jan. 22, 2016;
                                                                                            23         14, 2015
                                                                                            24                                                 “Thug Life”
                                                                                            25                                                 (https://twitter.com/WORLDSTAR/st
                                                                                            26                                                 atus/705166996304961536) – posted
                                                                                            27                                                 Mar. 2, 2016;
                                                                                            28

                                                                                             1                                            40
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 42 of 94 Page ID #:175



                                                                                             1                                               (https://www.instagram.com/p/BCd-
                                                                                             2                                               m-1hZh8) – posted Mar. 2, 2016
                                                                                             3   38.   “Cop Stun Guns Naked Man in the “R.I.P. To His Love Life: Cop Tasers
                                                                                             4         Junk”                                 Naked Lunatic On His Penis!”
                                                                                             5         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             6         v=TgQiTPkAwNQ) – acquired             deos/video.php?v=wshhG483pR443a
                                                                                             7         Mar. 16, 2015                         F9e1f7) – posted Mar. 17, 2015
                                                                                             8   39.   “Guy Serenades Ladies in              “Vine Comp Of The Week Part 109!”
                                                                                             9         Unconventional Way”                   (http://www.worldstarhiphop.com/vi
                                                                                            10         (https://www.youtube.com/watch?       deos/video.php?v=wshh5Z4dV3N9y
                                                                                            11         v=-Bc_y3g0Un4) – acquired Mar.        1Hb1ZcV) – posted Apr. 3, 2015;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         22, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                               “Singing to bae on #ValentinesDay”
                                                                             310-229-9900




                                                                                            14                                               (https://twitter.com/WORLDSTAR/st
                                                                                            15                                               atus/695666130266886150) – posted
                                                                                            16                                               Feb. 5, 2016;
                                                                                            17

                                                                                            18                                               “Singing to bae on #ValentinesDay”
                                                                                            19                                               (https://www.instagram.com/p/BBae
                                                                                            20                                               BnWhZkS/) – posted Feb. 5, 2016
                                                                                            21   40.   “Girl Falls out of Golf Cart”         “She wasn’t ready”
                                                                                            22         (https://www.youtube.com/watch?       (https://twitter.com/WORLDSTAR/st
                                                                                            23         v=0kmUpTMIUd8) – acquired             atus/690010979741097984) – posted
                                                                                            24         Oct. 8, 2015                          Jan 20, 2016;
                                                                                            25

                                                                                            26                                               (https://www.instagram.com/p/BAyS
                                                                                            27                                               Y1JhZmf/) – posted Jan 20, 2016;
                                                                                            28

                                                                                             1                                          41
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 43 of 94 Page ID #:176



                                                                                             1                                                 “Vine Comp Of The Week Part 149!”
                                                                                             2                                                 (http://www.worldstarhiphop.com/vi
                                                                                             3                                                 deos/video.php?v=wshhNr5J5pBUH
                                                                                             4                                                 4Q4zJWF) – posted Jan 22, 2016
                                                                                             5   41.   “Drunk Guy Gets Hurt Trying to          “Drunk Russian Tries To Fight A
                                                                                             6         Attack Woman at Bus Stop”               Woman At The Bus Stop But Knocks
                                                                                             7         (https://www.youtube.com/watch?         Himself Out!”
                                                                                             8         v=yMN38q5AYR4) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                             9         Aug. 12, 2015                           deos/video.php?v=wshhSO54GXAdr
                                                                                            10                                                 4543sgP) – posted Sept. 3, 2015;
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 “Vine Comp Of The Week Part 130!”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                 (http://www.worldstarhiphop.com/vi
                                                                             310-229-9900




                                                                                            14                                                 deos/video.php?v=wshh1xn2gw1Wy
                                                                                            15                                                 X5904C4) – posted Sept. 10, 2015
                                                                                            16   42.   “Guy Sticks Head out of Plane”          “Vine Comp Of The Week Part 112!”
                                                                                            17         (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            18         v=NEjFnAuBwDU) – acquired               deos/video.php?v=wshhMluVI72q9m
                                                                                            19         Apr. 1, 2015                            kIsbV4) – posted Apr. 23, 2015
                                                                                            20   43.   “Guy Falls Attempting to Swing          “Vine Comp Of The Week Part 115!”
                                                                                            21         on Stairwell”                           (http://www.worldstarhiphop.com/vi
                                                                                            22         (https://www.youtube.com/watch?         deos/video.php?v=wshhb42W2SAvzl
                                                                                            23         v=1bFoUXdwuMo) – acquired               LdtXlb) – posted May 19, 2015
                                                                                            24         May 11, 2015
                                                                                            25   44.   “Guy Flips off Crowd, Falls off         “Lol: When Acting Tough Goes
                                                                                            26         Truck”                                  Wrong!”
                                                                                            27         (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                            28         nsing/view/893187) – acquired           deos/video.php?v=wshh02NdgJlT3T
                                                                                             1                                            42
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 44 of 94 Page ID #:177



                                                                                             1         Mar. 26, 2015                          6AA1f0) – posted Mar. 26, 2015;
                                                                                             2

                                                                                             3                                                “Vine Comp Of The Week Part 109!”
                                                                                             4                                                (http://www.worldstarhiphop.com/vi
                                                                                             5                                                deos/video.php?v=wshh5Z4dV3N9y
                                                                                             6                                                1Hb1ZcV) – posted Apr. 3, 2015
                                                                                             7   45.   “Woman Asks For Cigarette”             “Vine Comp Of The Week Part 109!”
                                                                                             8         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             9         v=h6oCNJ_AVGs) – acquired              deos/video.php?v=wshh5Z4dV3N9y
                                                                                            10         Mar. 30, 2015                          1Hb1ZcV) – posted Apr. 3, 2015;
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                “ronda rousey 10years after getting
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                knocked out by holly holm”
                                                                             310-229-9900




                                                                                            14                                                (https://www.instagram.com/p/-
                                                                                            15                                                KPW46BZlQ/?taken-by=realwshh) –
                                                                                            16                                                posted Nov. 16, 2015
                                                                                            17   46.   “Kid Shoots Screen with Airsoft        “Kid Accidentally Shoots His Airsoft
                                                                                            18         Gun”                                   Gun At His Computer Monitor!”
                                                                                            19         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            20         v=GXTLVQ1eiik) – acquired              deos/video.php?v=wshh3q4qY7Mfnn
                                                                                            21         Mar. 30, 2015                          601wvM) – posted Mar. 30, 2015
                                                                                            22   47.   “Elmo and Cookie Monster Share         “WTF: This Elmo And Cookie
                                                                                            23         Some Adult Fun”                        Monster Toy Is Just So Wrong!”
                                                                                            24         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            25         v=-_49VS4nuao) – acquired Apr.         deos/video.php?v=wshhgrdoN78K65
                                                                                            26         6, 2015                                FT4wVI) – posted Jun. 27, 2015
                                                                                            27   48.   “School Fight Ends in Patty Cake” “Vine Comp Of The Week Part 110!”
                                                                                            28         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             1                                           43
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 45 of 94 Page ID #:178



                                                                                             1         v=ioTiEZCGekA) – acquired Apr.        deos/video.php?v=wshhS0N8A009X
                                                                                             2         4, 2015                               5f30nDI) – posted Apr. 9, 2015
                                                                                             3   49.   “Pool Jumper Trips on Spiked          “Fail: Guy Jumps Over A Spoked
                                                                                             4         Fence”                                Fence And Fails Miserably!”
                                                                                             5         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             6         v=h-Uyl3aPsGQ) – acquired Apr.        deos/video.php?v=wshhs2epgEyhWx
                                                                                             7         10, 2015                              yCP7J3) – posted Apr. 6, 2015
                                                                                             8   50.   “Kids Body Slamming Cars Get          “Teenagers Get Chased Down And
                                                                                             9         Arrested”                             Arrested For Doing ‘Put Em In A
                                                                                            10         (https://www.youtube.com/watch?       Coffin’ On People’s Cars!”
                                                                                            11         v=udBtfZMQkJU) – acquired Apr. (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         6, 2015                               deos/video.php?v=wshh1F2a2bjEnC
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                               gUotJs) – posted Apr. 5, 2015
                                                                             310-229-9900




                                                                                            14   51.   “Teacher Performs Liquid              “Vine Comp Of The Week Part 109!”
                                                                                            15         Methane Demo”                         (http://www.worldstarhiphop.com/vi
                                                                                            16         (https://www.youtube.com/watch?       deos/video.php?v=wshh5Z4dV3N9y
                                                                                            17         v=W_5m71oyNys) – acquired             1Hb1ZcV) – posted Apr. 3, 2015
                                                                                            18         Apr. 7, 2015
                                                                                            19   52.   “Two Girls Freak out on Slingshot     “Two Girls Freak Out On The
                                                                                            20         Ride”                                 Slingshot”
                                                                                            21         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            22         v=ACOJbRV_k-k) – acquired             deos/video.php?v=wshh2UNS1Fj6D
                                                                                            23         Apr. 9, 2015                          47V7iAs) – posted Apr. 8, 2015;
                                                                                            24

                                                                                            25                                               (https://www.instagram.com/p/-
                                                                                            26                                               18wzHhZvl/?taken-by=realwshh) –
                                                                                            27                                               posted Dec. 3, 2015
                                                                                            28   53.   “Girl Terrified of Manatee”           “Girl Freaks Out When Manatee
                                                                                             1                                          44
                                                                                             2                                                              AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 46 of 94 Page ID #:179



                                                                                             1         (https://www.youtube.com/watch?         Comes Close To Her!”
                                                                                             2         v=yLmfgK8adXk) – acquired Apr. (http://www.worldstarhiphop.com/vi
                                                                                             3         10, 2015                                deos/video.php?v=wshhsU91tIETmG
                                                                                             4                                                 09eh79) – posted Apr. 10, 2015;
                                                                                             5

                                                                                             6                                                 “Vine Comp Of The Week Part 123!”
                                                                                             7                                                 (http://www.worldstarhiphop.com/vi
                                                                                             8                                                 deos/video.php?v=wshhX63TvSF4y8
                                                                                             9                                                 f5PwFS) – posted Jul. 17, 2015
                                                                                            10   54.   “Man Makes Himself Appear and           “Vine Comp Of The Week Part 111!”
                                                                                            11         Disappear in the Dark”                  (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?         deos/video.php?v=wshh1G9Cr7rzVtb
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=yb_PFwwlfS8) – acquired Apr.          9FXuL) – posted Apr. 15, 2015
                                                                             310-229-9900




                                                                                            14         12, 2015
                                                                                            15   55.   “Taco Mascot Skateboards into           “Vine Comp Of The Week Part 112!”
                                                                                            16         Car”                                    (http://www.worldstarhiphop.com/vi
                                                                                            17         (https://www.youtube.com/watch?         deos/video.php?v=wshhMluVI72q9m
                                                                                            18         v=r0XegA8eDvQ) – acquired Apr. kIsbV4) – posted Apr. 23, 2015
                                                                                            19         13, 2015
                                                                                            20   56.   “Drunk Guy at Festival Passes Out “Vine Comp Of The Week Part 117!”
                                                                                            21         after Wake Up Call”                     (http://www.worldstarhiphop.com/vi
                                                                                            22         (https://www.youtube.com/watch?         deos/video.php?v=wshhA8SuwSYJw
                                                                                            23         v=Wwy45984MB8) – acquired               07O7TBk) – posted Jun. 4, 2015
                                                                                            24         Apr. 20, 2015
                                                                                            25   57.   “Principal Refuses To Give Man's        “WTF Kinda Rule Is This: Principal
                                                                                            26         Daughter's iPhone Back”                 Refuses To Give Back His
                                                                                            27         (https://www.youtube.com/watch?         Daughter’s Iphone 6 & Offers Him A
                                                                                            28         v=tsTEV2AJ_Gg) – acquired Apr.          Flip Phone Instead!”
                                                                                             1                                            45
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 47 of 94 Page ID #:180



                                                                                             1         16, 2015                               (http://www.worldstarhiphop.com/vi
                                                                                             2                                                deos/video.php?v=wshhUp2BJ545fhr
                                                                                             3                                                3dbm2) – posted Apr. 15, 2015
                                                                                             4   58.   “Kid Makes a Gaffe Asking to Pet       “Toddler Problem: Can I Pet Your
                                                                                             5         Neighbor's Kitty”                      Titties?”
                                                                                             6         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             7         v=Ndm0uXQX_Rk) – acquired              deos/video.php?v=wshha6A4655dst9
                                                                                             8         Apr. 18, 2015                          7022q) – posted Apr. 18, 2015
                                                                                             9   59.   “Domesticated Bear Walks               “Bear Walks Around Like A
                                                                                            10         Upright like Humans”                   Human!”
                                                                                            11         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=9GBpeFJtka8) – acquired May          deos/video.php?v=wshhwAs15r541V
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         6, 2015                                6rhLKl) – posted May 8, 2015
                                                                             310-229-9900




                                                                                            14   60.   “Nurse Technician Moved to             “Touching: Patient Who Was
                                                                                            15         Tears Seeing Paraplegic Walk”          Paralyzed For 11 Days Surprises Her
                                                                                            16         (https://www.youtube.com/watch?        Favorite Nurse By Walking!”
                                                                                            17         v=75odu9sxwEA) – acquired Apr.         (http://www.worldstarhiphop.com/vi
                                                                                            18         24, 2015                               deos/video.php?v=wshh9WdxmHCP
                                                                                            19                                                Hr6585SU) – posted Apr. 22, 2015
                                                                                            20   61.   “Guy Solves 8 Rubik's Cubes            “Touching: Patient Who Was
                                                                                            21         Underwater for Guinness World          Paralyzed For 11 Days Surprises Her
                                                                                            22         Record”                                Favorite Nurse By Walking!”
                                                                                            23         (https://www.youtube.com/watch?        (https://www.instagram.com/p/BJaax
                                                                                            24         v=ianENTXpVmM) – acquired              nqgvK_/) – posted Aug. 22, 2016
                                                                                            25         Apr. 30, 2015
                                                                                            26   62.   “Alligator Bites Handler during        “Close Call: Man Almost Loses Arm
                                                                                            27         Demonstration”                         By Alligator Bite At Spring Crawfish
                                                                                            28         (https://www.youtube.com/watch?        Festival!”
                                                                                             1                                           46
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 48 of 94 Page ID #:181



                                                                                             1         v=JnTFvKt_7lI) – acquired Jun.        (http://www.worldstarhiphop.com/vi
                                                                                             2         22, 2015                              deos/video.php?v=wshhl4PxLu1AW
                                                                                             3                                               31375HX) – posted Apr. 28, 2015
                                                                                             4   63.   “Puppy Tries to Bark Away the         “Too Cute: Puppy Doesn’t
                                                                                             5         Hiccups”                              Understand Hiccups!”
                                                                                             6         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             7         v=WoCbrq3VHVw) – acquired             deos/video.php?v=wshhSXV5OkXvu
                                                                                             8         Apr. 29, 2015                         M2R6xvI) – posted Apr. 30, 2015
                                                                                             9   64.   “Girl Falls off Toy Bike While        “Vine Comp Of The Week Part 114!”
                                                                                            10         Singing”                              (http://www.worldstarhiphop.com/vi
                                                                                            11         (https://www.youtube.com/watch?       deos/video.php?v=wshh0Ak5OSJL6
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=YK2SJ2gLrcM) – acquired Apr. U47TYrR) – posted May 13, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         30, 2015
                                                                             310-229-9900




                                                                                            14   65.   “Guy Chases down Camel on Abu         “Vine Comp Of The Week Part 114!”
                                                                                            15         Dhabi Highway”                        (http://www.worldstarhiphop.com/vi
                                                                                            16         (https://www.youtube.com/watch?       deos/video.php?v=wshh0Ak5OSJL6
                                                                                            17         v=ZeQruJ0jz4o) – acquired Apr.        U47TYrR) – posted May 13, 2015
                                                                                            18         28, 2015
                                                                                            19   66.   “Worker Pranks Man on Slingshot       “Vine Comp Of The Week Part 113!”
                                                                                            20         Ride”                                 (http://www.worldstarhiphop.com/vi
                                                                                            21         (https://www.youtube.com/watch?       deos/video.php?v=wshh6TRwUe2VI
                                                                                            22         v=Wn8UqJCcV5w) – acquired             fkpUY1V) – posted May 8, 2015
                                                                                            23         May 1, 2015
                                                                                            24   67.   “Guy Falls Trying to Jump Over        “Vine Comp Of The Week Part 116!”
                                                                                            25         Roller Rink Wall”                     (http://www.worldstarhiphop.com/vi
                                                                                            26         (https://www.youtube.com/watch?       deos/video.php?v=wshh8UTEtmD3i
                                                                                            27         v=gU_aa9OG9jA) – acquired May Q4Spr8X) – posted May 28, 2015
                                                                                            28         4, 2015
                                                                                             1                                          47
                                                                                             2                                                              AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 49 of 94 Page ID #:182



                                                                                             1   68.   “Girl Tries The Kylie Jenner Lip        “Vine Comp Of The Week Part 113!”
                                                                                             2         Challenge”                              (http://www.worldstarhiphop.com/vi
                                                                                             3         (https://www.youtube.com/watch?         deos/video.php?v=wshh6TRwUe2VI
                                                                                             4         v=yMOex0oIkWk) – acquired               fkpUY1V) – posted May 8, 2015
                                                                                             5         May 6, 2015
                                                                                             6   69.   “Man Jumps Across Window                “Vine Comp Of The Week Part 114!”
                                                                                             7         Ledges 40 Stories High”                 (http://www.worldstarhiphop.com/vi
                                                                                             8         (https://www.youtube.com/watch?         deos/video.php?v=wshh0Ak5OSJL6
                                                                                             9         v=8AHgBX4VO_M) – acquired               U47TYrR) – posted May 13, 2015
                                                                                            10         May 7, 2015
                                                                                            11   70.   “Fish Tries to Eat Woman's Hand” (https://instagram.com/p/4FvuPfhZk6
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?         /?taken-by=realwshh) – posted Jun.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=36SD8ERdBts) – acquired May           18, 2015
                                                                             310-229-9900




                                                                                            14         14, 2015
                                                                                            15   71.   “Coal Burning Stove Explodes in         “Experiments In Stupidity: German
                                                                                            16         Garage”                                 Guy Puts A Silicon Spray Can In An
                                                                                            17         (https://www.youtube.com/watch?         Oven!”
                                                                                            18         v=_bzv2Mm91HE) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                            19         May 13, 2015                            deos/video.php?v=wshh5doVhXE0C
                                                                                            20                                                 L1HcD2f) – posted May 29, 2015
                                                                                            21   72.   “Little Boy Tells off Monkey on         “Vine Comp Of The Week Part 119!”
                                                                                            22         Car”                                    (http://www.worldstarhiphop.com/vi
                                                                                            23         (https://www.youtube.com/watch?         deos/video.php?v=wshhHO1bw3edn
                                                                                            24         v=_RW_fIWuG2c) – acquired               653FC4V) – posted Jun. 18, 2015
                                                                                            25         May 18, 2015
                                                                                            26   73.   “Cat Demonstrates Impressive            “Vine Comp Of The Week Part 115!”
                                                                                            27         Evasive Maneuver”                       (http://www.worldstarhiphop.com/vi
                                                                                            28         (https://www.youtube.com/watch?         deos/video.php?v=wshhb42W2SAvzl
                                                                                             1                                            48
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 50 of 94 Page ID #:183



                                                                                             1         v=01Ue7Dbf424) – acquired May         LdtXlb) – posted May 19, 2015
                                                                                             2         18, 2015
                                                                                             3   74.   “Gator Rips Off Car Bumper”           “Redneck Experiments: Gator Vs
                                                                                             4         (https://www.youtube.com/watch?       Pickup Truck!”
                                                                                             5         v=ynhumAumc8Q) – acquired             (http://www.worldstarhiphop.com/vi
                                                                                             6         May 22, 2015                          deos/video.php?v=wshhN1o6748sT2
                                                                                             7                                               8nxo4Y) – posted May 21, 2015;
                                                                                             8

                                                                                             9                                               “Vine Comp Of The Week Part 116!”
                                                                                            10                                               (http://www.worldstarhiphop.com/vi
                                                                                            11                                               deos/video.php?v=wshh8UTEtmD3i
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                               Q4Spr8X) – posted May 28, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   75.   “Drunk Uncle Faceplants Trying        “Vine Comp Of The Week Part 127!”
                                                                             310-229-9900




                                                                                            14         to Jump Rope”                         (http://www.worldstarhiphop.com/vi
                                                                                            15         (https://www.youtube.com/watch?       deos/video.php?v=wshh97dS71DR0J
                                                                                            16         v=P4pAf3jUeUE) – acquired Aug. cZ4ML2) – posted Aug. 13, 2015,
                                                                                            17         3, 2015                               2015
                                                                                            18   76.   “Brand New Corvette Speeds off        “What A Waste: Guy Crashes His
                                                                                            19         Road”                                 Brand New $80K Corvette C7 Z06!”
                                                                                            20         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            21         v=Wqtl7fXDKu4) – acquired May deos/video.php?v=wshhCFtL58byfiV
                                                                                            22         24, 2015                              E4pI0) – posted May 24, 2015
                                                                                            23   77.   “Man Shows off Animal                 “Skills: This Guy Can Make Any
                                                                                            24         Impressions”                          Animal Sound!”
                                                                                            25         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            26         v=2Qa9YDgtcaM) – acquired May deos/video.php?v=wshhvYk9CFj6vE
                                                                                            27         26, 2015                              yY9vRS) – posted May 26, 2015
                                                                                            28   78.   “Guy Jumps from Bunk Bed into         “Vine Comp Of The Week Part 118!”
                                                                                             1                                          49
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 51 of 94 Page ID #:184



                                                                                             1         Pants”                                (http://www.worldstarhiphop.com/vi
                                                                                             2         (https://www.youtube.com/watch?       deos/video.php?v=wshh8oulrc65s7ux
                                                                                             3         v=0s_kn8FiYFo) – acquired Jun.        mR3q) – posted Jun. 10, 2015
                                                                                             4         2, 2015
                                                                                             5   79.   “Chicago Kids Have Roman              “4TH OF JULY IN CHICAGO”
                                                                                             6         Candle Fight”                         (https://www.instagram.com/p/BHdy
                                                                                             7         (https://www.youtube.com/watch?       uvpAu3N/) – posted Jul. 4, 2016
                                                                                             8         v=biAVdBLbZJM) – acquired
                                                                                             9         Jun. 3, 2015
                                                                                            10   80.   “Kid Gets Emotional About New         “Vine Comp Of The Week Part 118!”
                                                                                            11         Arm Cast”                             (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?       deos/video.php?v=wshh8oulrc65s7ux
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=5-NXguyFFko) – acquired Jun.        mR3q) – posted Jun. 10, 2015
                                                                             310-229-9900




                                                                                            14         5, 2015
                                                                                            15   81.   “Bear Piggyback Ride”                 “Vine Comp Of The Week Part 119!”
                                                                                            16         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            17         v=uU5-zxDrhd0) – acquired Jun.        deos/video.php?v=wshhHO1bw3edn
                                                                                            18         11, 2015                              653FC4V) – posted Jun. 18, 2015
                                                                                            19   82.   “Looney Tunes Mascots Do the          “Bugs Bunny Can Whip: Different
                                                                                            20         Whip and Nae Nae”                     Side Of Looney Tunes!”
                                                                                            21         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            22         v=cG5GY3hC-d8) – acquired             deos/video.php?v=wshhcFIZxW4VS
                                                                                            23         Jun.10, 2015                          25Gc71S) – posted Jun. 10, 2015;
                                                                                            24

                                                                                            25                                               (https://instagram.com/p/3_xs8VhZr5
                                                                                            26                                               /?taken-by=realwshh) – posted Jun.
                                                                                            27                                               16, 2015
                                                                                            28   83.   “Man Demolishes Backyard Fence “Vine Comp Of The Week Part 137!”
                                                                                             1                                          50
                                                                                             2                                                              AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 52 of 94 Page ID #:185



                                                                                             1         with Diving Header”                    (http://www.worldstarhiphop.com/vi
                                                                                             2         (https://www.youtube.com/watch?        deos/video.php?v=wshhB7UnpqX4l9
                                                                                             3         v=1NzK1YOsw0U) – acquired              xE6255) – posted Oct. 23, 2015
                                                                                             4         Jun.11, 2015
                                                                                             5   84.   “Prankster Hides Hot Sauce in          “Got EM: Mcdonalds Hot Sauce
                                                                                             6         Friend's Drink”                        Prank!”
                                                                                             7         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             8         v=1OS16VDypkc) – acquired Jun. deos/video.php?v=wshh1ibJoiT50d8
                                                                                             9         12, 2015                               FWCtz) – posted Jun. 13, 2015
                                                                                            10   85.   “Crowd-Walking Singer Catches
                                                                                            11         Beer and Then Drinks It”               (https://www.instagram.com/p/BBVc
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?        yvFhZlX/) – posted Feb. 3, 2016
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=MTlFk-chSh4) – acquired Jun.
                                                                             310-229-9900




                                                                                            14         22, 2015
                                                                                            15   86.   “Queen's Guard Push Tourist Out        “Vine Comp Of The Week Part 120!”
                                                                                            16         of Their Way”                          (http://www.worldstarhiphop.com/vi
                                                                                            17         (https://www.youtube.com/watch?        deos/video.php?v=wshh6yO5X57AD
                                                                                            18         v=NTr50aHGDnI) – acquired Jun.         XBo5IGA) – posted Jun. 25, 2015
                                                                                            19         16, 2015
                                                                                            20   87.   “19-Month-Old Boy Can Read”            “Impressive: Smart 19 Month Old
                                                                                            21         (https://youtu.be/5GrbxLa4CH4) – Boy Can Read Many Words!”
                                                                                            22         acquired Nov. 18, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                            23                                                deos/video.php?v=wshhAn0JMXRiK
                                                                                            24                                                7QqTtxj) – posted Nov. 19, 2015
                                                                                            25   88.   “Guy Slices Nose of Friend with        “Drunk Fail: Man Chops Friends
                                                                                            26         Sword”                                 Nose Off While Attempting Sword
                                                                                            27         (https://youtu.be/5GrbxLa4CH4) – Trick!”
                                                                                            28         acquired Jun. 21, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                             1                                           51
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 53 of 94 Page ID #:186



                                                                                             1                                               deos/video.php?v=wshhftKc6yWns3
                                                                                             2                                               Dcwn5N) – posted Jun. 22, 2015
                                                                                             3   89.   “Gym Goer Uses Machine                “Vine Comp Of The Week Part 120!”
                                                                                             4         Incorrectly for Neck Exercise”        (http://www.worldstarhiphop.com/vi
                                                                                             5         (https://www.youtube.com/watch?       deos/video.php?v=wshh6yO5X57AD
                                                                                             6         v=W7RkFZMk_LE) – acquired             XBo5IGA) – posted Jun. 25, 2015
                                                                                             7         Jun. 23, 2015
                                                                                             8   90.   “Bear Goes for Swim in Pool”          “Bruiser Bear Cools Off In A
                                                                                             9         (https://www.youtube.com/watch?       Swimming Pool!”
                                                                                            10         v=I-yqvT8vKZc) – acquired Jun.        (http://www.worldstarhiphop.com/vi
                                                                                            11         26, 2015                              deos/video.php?v=wshhNpRTH3QdF
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                               2SRz8W6) – Jun. 24, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   91.   “Two Guys Collide While Trying        “Vine Comp Of The Week Part 122!”
                                                                             310-229-9900




                                                                                            14         to Jump Over Bonfire”                 (http://www.worldstarhiphop.com/vi
                                                                                            15         (https://www.youtube.com/watch?       deos/video.php?v=wshhay3DWBLin
                                                                                            16         v=rOBB5KDn60w) – acquired             Z7Q0pv9) – posted Jul. 10, 2015
                                                                                            17         Jun. 29, 2015
                                                                                            18   92.   “Guy Shatters Glass Table with        “Fail: Why Cutting A Watermelon
                                                                                            19         Sword”                                On A Glass Table Is A Bad Idea!”
                                                                                            20         (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            21         v=upb1XMwKTSI) – acquired             deos/video.php?v=wshhTf7AOF0671
                                                                                            22         Jun. 28, 2015                         wj2Kw2) – posted Jun. 30, 2015
                                                                                            23   93.   “Little Girl and Pregnant Mom         “Pregnant Mother & Her Daughter
                                                                                            24         Dance Together”                       Dance To “Watch Me (Whip / Nae
                                                                                            25         (www.youtube.com/watch?v=EG8 Nae)”
                                                                                            26         LD9-HdYs) – acquired Jul. 20,         (http://www.worldstarhiphop.com/vi
                                                                                            27         2015                                  deos/video.php?v=wshhSAtC26OE4a
                                                                                            28                                               S0pgV7) – posted Jul. 1, 2015
                                                                                             1                                          52
                                                                                             2                                                              AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 54 of 94 Page ID #:187



                                                                                             1   94.   “Great White Sharks Attacks            “Scary Ish: Great White Shark
                                                                                             2         Metal Cage”                            Attacks Diving Cage With Divers
                                                                                             3         (https://www.youtube.com/watch?        Inside!”
                                                                                             4         v=bLGQPvRIA78) – acquired Jul.         (http://www.worldstarhiphop.com/vi
                                                                                             5         1, 2015                                deos/video.php?v=wshhgG3BhyELJz
                                                                                             6                                                t1Pi64) – posted Jul. 2, 2015
                                                                                             7   95.   “Girl Backflops off Waterslide”        “Vine Comp Of The Week Part 122!”
                                                                                             8         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             9         v=_QkT9SftSko) – acquired Sept.        deos/video.php?v=wshhay3DWBLin
                                                                                            10         16, 2015                               Z7Q0pv9) – posted Jul. 10, 2015
                                                                                            11   96.   “Little Girl Fails at Hula Hooping” “Vine Comp Of The Week Part 123!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=IvjENIw_hCk) – acquired Jul.         deos/video.php?v=wshhX63TvSF4y8
                                                                             310-229-9900




                                                                                            14         10, 2015                               f5PwFS) – posted Jul. 17, 2015;
                                                                                            15

                                                                                            16                                                “Me dealing with my life right now”
                                                                                            17                                                (https://instagram.com/p/6D4VN6hZ
                                                                                            18                                                mZ/?taken-by=realwshh) – posted
                                                                                            19                                                Aug. 6, 2015
                                                                                            20   97.   “Parkour Daredevils Hang off           “Vine Comp Of The Week Part 125!”
                                                                                            21         Skyscraper”                            (http://www.worldstarhiphop.com/vi
                                                                                            22         (https://www.youtube.com/watch?        deos/video.php?v=wshhj0aaiPDUjU
                                                                                            23         v=xv-rdyCByaE) – acquired Jul.         w9Lc5I) – posted Jul. 30, 2015;
                                                                                            24         15, 2015
                                                                                            25                                                “21 No F*CKS Given”
                                                                                            26                                                (https://www.facebook.com/worldsta
                                                                                            27                                                rhiphop/videos/vb.253968658003230
                                                                                            28                                                /899882516745171/?type=2&theater)
                                                                                             1                                           53
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 55 of 94 Page ID #:188



                                                                                             1                                                – posted Aug. 6, 2015
                                                                                             2   98.    “Firework Sparks Spray Man in
                                                                                             3          the Face”                             (https://www.instagram.com/p/BHdN
                                                                                             4          (https://www.youtube.com/watch?       dZnAv1e/) – posted Jul. 4, 2016
                                                                                             5          v=yPYYhXIFJiY) – acquired Jul.
                                                                                             6          20, 2015
                                                                                             7   99.    “Road Rage Against Motoryclist        “Road Rage: Man Gets Slammed On
                                                                                             8          Turns Physical”                       The Ground After Punching
                                                                                             9          (https://www.youtube.com/watch?       Morocylist In The Face!”
                                                                                            10          v=_ZueHaDP4hU) – acquired Jul.        (http://www.worldstarhiphop.com/vi
                                                                                            11          14, 2015                              deos/video.php?v=wshh58a8eJ6gCrU
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                95I12) – posted Apr. 1, 2016
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   100.   “Mom Gives Birth to 10lb Baby in “Vine Comp Of The Week Part 159!”
                                                                             310-229-9900




                                                                                            14          Car”                                  (http://www.worldstarhiphop.com/vi
                                                                                            15          (https://www.youtube.com/watch?       deos/video.php?v=wshh0AW5WLxl9
                                                                                            16          v=WXEZ6g2WLoM) – acquired             I8g9tI7) – posted Apr. 1, 2016;
                                                                                            17          Jul. 17, 2015
                                                                                            18                                                (https://twitter.com/WORLDSTAR/st
                                                                                            19                                                atus/714622335190327296) – Mar.
                                                                                            20                                                28, 2019;
                                                                                            21

                                                                                            22                                                (https://www.instagram.com/p/BDhK
                                                                                            23                                                KGNBZhE/) – Mar. 28, 2016
                                                                                            24   101.   “Man Shows Off Epic Roman             “Guy Builds Dual Roman Candle
                                                                                            25          Candle Guns”                          Machine Guns!”
                                                                                            26          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            27          v=RzZefx6dE8M) – acquired Aug. deos/video.php?v=wshhlNr4bcFlnkur
                                                                                            28          14, 2015                              Vt8Y) – posted Aug. 17, 2015
                                                                                             1                                           54
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 56 of 94 Page ID #:189



                                                                                             1   102.   “Deer Screams like Human in           “how your girl act when u wanna
                                                                                             2          Japan”                                have a guys night”
                                                                                             3          (https://www.youtube.com/watch?       (https://instagram.com/p/52SvgThZm
                                                                                             4          v=qAVt1iRpvlc) – acquired Jul.        V/?taken-by=realwshh) – posted
                                                                                             5          23, 2015                              Aug. 1, 2015
                                                                                             6   103.   “Residents Receive Complaints         “SMH: Florida Man Gets Harassed
                                                                                             7          About BBQ Smoke”                      By A City Council Officer For
                                                                                             8          (www.youtube.com/watch?v=RlR- Allowing BBQ Smells To Leave His
                                                                                             9          81Ds-AM) – acquired Jul. 28,          Property!”
                                                                                            10          2015                                  (http://www.worldstarhiphop.com/vi
                                                                                            11                                                deos/video.php?v=wshh0Th0Aj4T35
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                QCO0Gc) – posted Jul. 25, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   104.   “Ear Stretch Rips Earlobe”            “Ouch: Girl Tries To Stretch Her Ear
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?       But It Doesn’t Go As Planned!”
                                                                                            15          v=YH7UQgDiwX8) – acquired             (http://www.worldstarhiphop.com/vi
                                                                                            16          Sept. 2, 2015                         deos/video.php?v=wshhy2mfc8fo6r4
                                                                                            17                                                7n1lk) – posted Sept. 4, 2015
                                                                                            18   105.   “Man Crashes Porsche 918 Spyder “Epic Fail: Guy Crashes His Million
                                                                                            19          in Resort Parking Lot”                Dollar Porsche 918 Showing Off!”
                                                                                            20          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            21          v=2-U6sxmzjnw) – acquired Aug.        deos/video.php?v=wshhY2Mhf3s54J
                                                                                            22          1, 2015                               aqoV32) – posted Jul. 29, 2015
                                                                                            23   106.   “Twin Ghost Prank Ends in Hit         “Ghost Sisters Prank Goes Wrong!
                                                                                            24          and Run”                              (Gets Run Over)”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            26          v=S3WQzB692wY) – acquired             deos/video.php?v=wshhWSXuqq79p
                                                                                            27          Aug. 1, 2015                          6jk97MK) – posted Aug. 3, 2015
                                                                                            28   107.   “Racist Lady Tells Hispanic           “Crazy Racist Old Lady Insults A
                                                                                             1                                           55
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 57 of 94 Page ID #:190



                                                                                             1          Woman to Speak English”                 Woman For Speaking Spanish!”
                                                                                             2          (www.youtube.com/watch?v=LRJ            (http://www.worldstarhiphop.com/vi
                                                                                             3          Awwti_8k) – acquired Aug. 4,            deos/video.php?v=wshhqs2gIyOB7S
                                                                                             4          2015                                    01z4Sc) – posted Aug. 2, 2015
                                                                                             5   108.   “Dog Dressed as Shark Attacks           “Vine Comp Of The Week Part 127!”
                                                                                             6          Owner in Pool”                          (http://www.worldstarhiphop.com/vi
                                                                                             7          (https://www.youtube.com/watch?         deos/video.php?v=wshh97dS71DR0J
                                                                                             8          v=LtFHLdluyzM) – acquired Aug. cZ4ML2) – posted Aug. 13, 2015
                                                                                             9          5, 2015
                                                                                            10   109.   “Octopus Captures and Eats              “Octopus Catches A Seagull &
                                                                                            11          Seagull”                                Drown It!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          v=2p2RR3g8UOM) – acquired               deos/video.php?v=wshhTEvIO04FIl0
                                                                             310-229-9900




                                                                                            14          Mar. 11, 2016                           lBwNZ) – posted Mar. 11, 201
                                                                                            15   110.   “Dog Poses for Selfie”                  “Vine Comp Of The Week Part 127!”
                                                                                            16          (www.youtube.com/watch?v=F09            (http://www.worldstarhiphop.com/vi
                                                                                            17          4wVN4sGs) – acquired Aug. 7,            deos/video.php?v=wshh97dS71DR0J
                                                                                            18          2015                                    cZ4ML2) – posted Aug. 13, 2015
                                                                                            19   111.   “3-Year-Old Tries to Break Board        “Little Boy Trying To Break In
                                                                                            20          in Taekwondo”                           Takwondo!”
                                                                                            21          (www.youtube.com/watch?v=lQbl (http://www.worldstarhiphop.com/vi
                                                                                            22          z-6u3MI) – acquired Aug. 9, 2015        deos/video.php?v=wshhl3p6Lw9UU
                                                                                            23                                                  74KC5aH) – posted Aug. 10, 2015
                                                                                            24   112.   “Kid Flips and Lands Head-First         “Never Give Up: Guy Recovers From
                                                                                            25          off Pole”                               An Epic Backflip Fail! (Rewind
                                                                                            26          (https://www.youtube.com/watch?         Clip)”
                                                                                            27          v=fRJgeWeHpHo) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                            28          Aug. 13, 2015                           deos/video.php?v=wshhOnJl66eLh0I
                                                                                             1                                             56
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 58 of 94 Page ID #:191



                                                                                             1                                                25l4z) – posted Jul. 28, 2015
                                                                                             2   113.   “Baby Scowls at Parents Trying to     “P*ssed Off: That’s One Angry
                                                                                             3          Make Him Smile”                       Baby!”
                                                                                             4          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             5          v=JIJ7b9YUduE) – acquired Aug.        deos/video.php?v=wshhuq2J3YwUu
                                                                                             6          17, 2015                              S7XyQPT) – posted Aug. 16, 2015;
                                                                                             7

                                                                                             8                                                “Vine Comp Of The Week Part 128!”
                                                                                             9                                                (http://www.worldstarhiphop.com/vi
                                                                                            10                                                deos/video.php?v=wshh1OXeP2Yg1
                                                                                            11                                                5W9mpGv) – posted Aug. 21, 2015;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                “Vine Comp Of The Week Part 128!”
                                                                             310-229-9900




                                                                                            14                                                (https://www.facebook.com/worldsta
                                                                                            15                                                rhiphop/videos/vb.253968658003230
                                                                                            16                                                /916513141748775/?type=2&theater)
                                                                                            17                                                - posted Aug. 24, 2015
                                                                                            18   114.   “Cat Pole Dances with Man”            “Vine Comp Of The Week Part 133!”
                                                                                            19          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                            20          v=GN4_ctWUGMI) – acquired             deos/video.php?v=wshhodXful8cYb
                                                                                            21          Aug. 17, 2015                         H3nxaG) – posted Sept. 25, 2015
                                                                                            22   115.   “Waitress Verbally Massacres          “Customers Go To A Chicago
                                                                                            23          Family Ordering at Restaurant”        Restaurant Where The Waitresses
                                                                                            24          (http://www.youtube.com/watch?v Are Purposely Rude!”
                                                                                            25          =NX-bsg4QmTo) – acquired Aug.         (http://www.worldstarhiphop.com/vi
                                                                                            26          19, 2015                              deos/video.php?v=wshho9qs8p12pY
                                                                                            27                                                729vQT) – posted Dec. 8, 2015
                                                                                            28   116.   “Good Samaritan Pulls Over            “Ohio Man Hailed A Hero After
                                                                                             1                                           57
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 59 of 94 Page ID #:192



                                                                                             1          Intoxicated Driver”                      Stopping Reckless Female Driver
                                                                                             2          (www.youtube.com/watch?v=ErG             Swerving Across Several Lanes!”
                                                                                             3          dNh7R8-w) – acquired Aug. 23,            (http://www.worldstarhiphop.com/vi
                                                                                             4          2015                                     deos/video.php?v=wshhuCXXU7AN
                                                                                             5                                                   Q15m4sYc) – posted Aug. 23, 2015
                                                                                             6   117.   “Girl Passes Out Twice on                “Vine Comp Of The Week Part 165!”
                                                                                             7          Slingshot Ride”                          (http://www.worldstarhiphop.com/vi
                                                                                             8          (https://www.youtube.com/watch?          deos/video.php?v=wshh8vACgQnS9
                                                                                             9          v=URSj-Lk3vo4) – acquired Aug.           5YxWa5y) – posted May 13, 2016
                                                                                            10          31, 2015
                                                                                            11   118.   “Crocodile Bites Foot off Another        “Hungry Crocodile Rips Off & Eats
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Crocodile”                               Other Crocodiles Arm During
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.youtube.com/watch?          Feeding Time”
                                                                             310-229-9900




                                                                                            14          v=JLy-Iiy_Zp4) – acquired Aug.           (http://www.worldstarhiphop.com/vi
                                                                                            15          26, 2015                                 deos/video.php?v=wshh0U0sSdk82G
                                                                                            16                                                   PqH8TL) – posted Aug. 29, 2015
                                                                                            17   119.   “Toddler Grooves to Music in             “Vine Comp Of The Week Part 130!”
                                                                                            18          Car”                                     (http://www.worldstarhiphop.com/vi
                                                                                            19          (www.youtube.com/watch?v=v5-             deos/video.php?v=wshh1xn2gw1Wy
                                                                                            20          6jtkeRoA) – acquired Aug. 28,            X5904C4) – posted Sept. 10, 2015
                                                                                            21          2015
                                                                                            22   120.   “Girl Performs Breathtaking              “On Another Level: This Lady Bike
                                                                                            23          Bicycle Tricks”                          Skills Are On Point!”
                                                                                            24          (www.youtube.com/watch?v=48z             (http://www.worldstarhiphop.com/vi
                                                                                            25          C6jIT5aQ) – acquired Sept. 2,            deos/video.php?v=wshh0ZKkLbM6
                                                                                            26          2015                                     m3xIMpTQ) – posted Aug. 31, 2015
                                                                                            27   121.   “Crow Goes for Ride on                   “Vine Comp Of The Week Part 137!”
                                                                                            28          Windshield Wipers”                       (http://www.worldstarhiphop.com/vi
                                                                                             1                                              58
                                                                                             2                                                                   AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 60 of 94 Page ID #:193



                                                                                             1          (https://www.youtube.com/watch?       deos/video.php?v=wshhB7UnpqX4l9
                                                                                             2          v=pLJegq01S6A) – acquired Sept.       xE6255) – posted Oct. 23, 2015
                                                                                             3          2, 2015
                                                                                             4   122.   “Student Records Professor            “Vine Comp Of The Week Part 130!”
                                                                                             5          Walking into Class Every Day”         (http://www.worldstarhiphop.com/vi
                                                                                             6          (www.youtube.com/watch?v=Qfp          deos/video.php?v=wshh1xn2gw1Wy
                                                                                             7          7qWuJ4JY) – acquired Sept. 3,         X5904C4) – posted Sept. 10, 2015
                                                                                             8          2015
                                                                                             9   123.   “Guy Freaks Out as Boat               (https://www.instagram.com/p/BCBn
                                                                                            10          Approaches Edge”                      WWABZuK/) – posted Feb. 20,
                                                                                            11          (https://www.youtube.com/watch?       2016;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=DYzT-Pk6Ogw) – acquired
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Sept. 8, 2015                         (https://instagram.com/p/7JDvdKBZs
                                                                             310-229-9900




                                                                                            14                                                R/?taken-by=realwshh) – posted
                                                                                            15                                                Sept. 2, 2015
                                                                                            16   124.   “Guy Picks Up Car and Moves It        “Strength On 100: Man’s Car Is
                                                                                            17          Out of Parking Spot”                  Blocked So He Picks It Up &
                                                                                            18          (https://www.youtube.com/watch?       Moves”
                                                                                            19          v=SyItdXnYvFQ) – acquired Sept. (http://www.worldstarhiphop.com/vi
                                                                                            20          4, 2015                               deos/video.php?v=wshhL6o36bW7z8
                                                                                            21                                                3f14kY) – posted Sept. 4, 2015;
                                                                                            22

                                                                                            23                                                (https://instagram.com/p/7dwYQeBZ
                                                                                            24                                                kY/?taken-by=realwshh) – posted
                                                                                            25                                                Sept. 10, 2015
                                                                                            26   125.   “Man Waits for Wife with Flowers (https://instagram.com/p/7bYzmrhZk
                                                                                            27          and Chocolates”                       p/?taken-by=realwshh) – posted Sept.
                                                                                            28          (https://www.youtube.com/watch?       9, 2015
                                                                                             1                                           59
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 61 of 94 Page ID #:194



                                                                                             1          v=5sw_qUHx9vE) – acquired
                                                                                             2          Sept. 9, 2015
                                                                                             3   126.   “Baby Tries to Scare Dad When          “Too Cute: Baby Fake Cries Every
                                                                                             4          Cutting Her Nails”                     Time His Dad Tries To Cut His
                                                                                             5          (https://www.youtube.com/watch?        Fingernails!”
                                                                                             6          v=JZmSzXJvAs8) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                             7          Sept. 16, 2015                         deos/video.php?v=wshh7TP5UQ1Fx
                                                                                             8                                                 GHay3YW) – posted Sept. 14, 2015;
                                                                                             9
                                                                                            10                                                 (https://instagram.com/p/7vRj1rhZm
                                                                                            11                                                 k/?taken-by=realwshh) – posted Sept.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 17, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   127.   “Man Catches Thief Stealing from       “Caught Red Handed: Woman
                                                                             310-229-9900




                                                                                            14          Car” (youtu.be/kjA0WPTwHeM)            Caught Stealing From A Man’s Car
                                                                                            15          – acquired Sept. 14, 2015              And She Had No Idea He Was
                                                                                            16                                                 Behind Her Recording The Whole
                                                                                            17                                                 Thing!”
                                                                                            18                                                 (http://www.worldstarhiphop.com/vi
                                                                                            19                                                 deos/video.php?v=wshh5Jb04yk924k
                                                                                            20                                                 MJadS) – posted Sept. 12, 2015
                                                                                            21   128.   “Dog Covers Sleeping Baby with         “Vine Comp Of The Week 135!”
                                                                                            22          Blanket”                               (http://www.worldstarhiphop.com/vi
                                                                                            23          (https://www.youtube.com/watch?        deos/video.php?v=wshhM45qzuH6m
                                                                                            24          v=FGproEvedkI) – acquired Sept.        8V25LIC) – posted Oct. 9, 2015
                                                                                            25          26, 2015
                                                                                            26   129.   “Dog Doesn't Care if Owner             “Vine Comp Of The Week 138!”
                                                                                            27          Passes Out”                            (http://www.worldstarhiphop.com/vi
                                                                                            28          (www.youtube.com/watch?v=2za           deos/video.php?v=wshh3em459G5XI
                                                                                             1                                            60
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 62 of 94 Page ID #:195



                                                                                             1          HZzqe32c) – acquired Sept. 21,        j2d8GO) – posted Oct. 30, 2015
                                                                                             2          2015
                                                                                             3   130.   “Skateboarder Wipes Out Hard on       “Vine Comp Of The Week 133!”
                                                                                             4          Half-Pipe”                            (http://www.worldstarhiphop.com/vi
                                                                                             5          (www.youtube.com/watch?v=vzW deos/video.php?v=wshhodXful8cYb
                                                                                             6          DQnYnH1I) – acquired Sept. 22,        H3nxaG) – posted Sept. 25, 2015;
                                                                                             7          2015
                                                                                             8                                                “Dog Knocks Out Skateboarder By
                                                                                             9                                                Snagging His Board During A
                                                                                            10                                                Trick!”
                                                                                            11                                                (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                deos/video.php?v=wshhZ1rxgWqN1
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                065Eyuv) – posted Sept. 26, 2015
                                                                             310-229-9900




                                                                                            14   131.   “Dog Begs to Have Strawberry”         “Vine Comp Of The Week 132!”
                                                                                            15          (https://youtu.be/NoVHmEsWuLw (http://www.worldstarhiphop.com/vi
                                                                                            16          ) – acquired Sept. 20, 2015           deos/video.php?v=wshhgYyGiky15V
                                                                                            17                                                Dy2067) – posted Sept. 22, 2015
                                                                                            18   132.   “Man Sings to Dying Wife”             (https://instagram.com/p/8G3OQkhZ
                                                                                            19          (https://www.youtube.com/watch?       nq/?taken-by=realwshh) – posted
                                                                                            20          v=wWPOG_hxkTE) – acquired             Sept. 26, 2015
                                                                                            21          Sept. 21, 2015
                                                                                            22   133.   “Rat Takes Pizza Home On The          “Rat Tries To Carry An Entire Slice
                                                                                            23          Subway”                               Of Pizza Down NYC Subway
                                                                                            24          (https://www.youtube.com/watch?       Stairs!”
                                                                                            25          v=UPXUG8q4jKU) – acquired             (http://www.worldstarhiphop.com/vi
                                                                                            26          Sept. 21, 2015                        deos/video.php?v=wshhAs4t8K4rcTo
                                                                                            27                                                i8NHt) – posted Sept. 21, 2015;
                                                                                            28

                                                                                             1                                           61
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 63 of 94 Page ID #:196



                                                                                             1                                                 (https://instagram.com/p/76IS97hZjU
                                                                                             2                                                 /?taken-by=realwshh) – posted Sept.
                                                                                             3                                                 21, 2015;
                                                                                             4

                                                                                             5                                                 (https://www.instagram.com/p/BEjEJ
                                                                                             6                                                 bMBZms/) – posted Apr. 23, 2016
                                                                                             7   134.   “Angry Jogger Yells at Man with        “Enraged White Guy Who Claims He
                                                                                             8          Stroller”                              ‘Settled’ Downtown Brooklyn
                                                                                             9          (https://www.youtube.com/watch?        Accuses Stroller Pusher Of ‘White
                                                                                            10          v=KdkW577cCCI) – acquired              Privilege’!”
                                                                                            11          Sept. 22, 2015                         (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 deos/video.php?v=wshhlJ4z0Dk202u
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                 STt7W) – posted Sept. 24, 2015
                                                                             310-229-9900




                                                                                            14   135.   “Young Jamaican Boy also               “When they are born serious”
                                                                                            15          Motivational Trainer”                  (https://instagram.com/p/78sndUBZl
                                                                                            16          (https://www.youtube.com/watch?        X/?taken-by=realwshh) – posted
                                                                                            17          v=xADR05UfhGQ) – acquired              Sept. 22, 2015
                                                                                            18          Sept. 25, 2015
                                                                                            19   136.   “How to Ruin a Beautiful Car”          “Show-off Fail: Man Ruins His
                                                                                            20          (https://www.youtube.com/watch?        $400K Lamborghini By Over
                                                                                            21          v=KNsjvZk8nT0) – acquired Oct.         Revving His Engine & It Catches On
                                                                                            22          5, 2015                                Fire!”
                                                                                            23                                                 (http://www.worldstarhiphop.com/vi
                                                                                            24                                                 deos/video.php?v=wshhJK0yUO51fl
                                                                                            25                                                 6ka72g) – posted Oct. 6, 2015
                                                                                            26   137.   “Guilty Dogs Won't Admit To            “Proof That Dogs Understand Our
                                                                                            27          Tearing Up Sweatpants”                 Language!”
                                                                                            28          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                             1                                            62
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 64 of 94 Page ID #:197



                                                                                             1          v=SGdbPXR97lY) – acquired                deos/video.php?v=wshhMsNO0L0Q
                                                                                             2          Sept. 30, 2015                           pbGNo9ko) – posted Sept. 30, 2015
                                                                                             3   138.   “Wheel Gets Launched by Airbags “Vine Comp Of The Week 134!”
                                                                                             4          and Smashes Car Window”                  (http://www.worldstarhiphop.com/vi
                                                                                             5          (https://www.youtube.com/watch?          deos/video.php?v=wshh3TNVw6Zp7
                                                                                             6          v=hfgxAL3t2Tw) – acquired Sept. PIqbMMf) – posted Oct. 2, 2015;
                                                                                             7          28, 2015;
                                                                                             8                                                   (https://www.instagram.com/p/BIUN
                                                                                             9                                                   BP5Atfd/) – posted Jul. 26, 2016
                                                                                            10   139.   “Black Bear Chews On Girl's              “He Gives 0 F*cks: Woman Starts
                                                                                            11          Kayak”                                   Crying After Bear Starts Destroying
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?          Her Kayak Right In Front Of Her!”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          v=nU5cMZymSr0) – acquired                (http://www.worldstarhiphop.com/vi
                                                                             310-229-9900




                                                                                            14          Sept. 30, 2015                           deos/video.php?v=wshh78868BJ94Ig
                                                                                            15                                                   z6Dm8) – posted Sept. 30, 2015
                                                                                            16   140.   “Dog Takes Care of Passed Out            “Vine Comp Of The Week Part 125!”
                                                                                            17          Friend”                                  (http://www.worldstarhiphop.com/vi
                                                                                            18          (https://www.youtube.com/watch?          deos/video.php?v=wshhj0aaiPDUjU
                                                                                            19          v=rj13_j3-tsk) – acquired Oct. 5,        w9Lc5I) – posted Jul. 30, 2015
                                                                                            20          2015
                                                                                            21   141.   “Semi Truck Drives through               “This Truck Driver Gives 0 F*cks
                                                                                            22          Flooded Highway”                         About A Flooded Road!”
                                                                                            23          (https://www.youtube.com/watch?          (http://www.worldstarhiphop.com/vi
                                                                                            24          v=Xl2rCWGgyog) – acquired Oct. deos/video.php?v=wshhuF519D4FJ6
                                                                                            25          5, 2015                                  704f0I) – posted Oct. 5, 2015
                                                                                            26   142.   “Little Thug Does a Magic Trick”         “Thug Life: Little Girl Performs A
                                                                                            27          (https://www.youtube.com/watch?          Magic Trick!”
                                                                                            28          v=6Xw--nJ1c7k) – acquired Oct.           (http://www.worldstarhiphop.com/vi
                                                                                             1                                              63
                                                                                             2                                                                   AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 65 of 94 Page ID #:198



                                                                                             1          10, 2015                                 deos/video.php?v=wshh94YLdoA3L
                                                                                             2                                                   Nw5YKJI) – posted Oct. 9, 2015;
                                                                                             3

                                                                                             4                                                   (https://instagram.com/p/8qmiHqBZt
                                                                                             5                                                   U/?taken-by=realwshh) – posted Oct.
                                                                                             6                                                   10, 2015
                                                                                             7   143.   “Two Rats Fight Over Pizza”              “Two Rats Fight Over A Slice Of
                                                                                             8          (https://youtu.be/ggrHnYd_S30) –         Pizza In The NYC Subway!”
                                                                                             9          acquired Oct. 9, 2015                    (http://www.worldstarhiphop.com/vi
                                                                                            10                                                   deos/video.php?v=wshhtfi7TZE2oe8
                                                                                            11                                                   dvLd8) – posted Oct. 10, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   144.   “Kid Tries to Buy Mom Maxi               “Lol: Little Boy Holding A Pack Of
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Pads”                                    Maxi Pads Asks His Mother “Don’t
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?          You Use These For Your Butt”
                                                                                            15          v=imZ_3tbxNpE) – acquired Oct.           (http://www.worldstarhiphop.com/vi
                                                                                            16          15, 2015                                 deos/video.php?v=wshhv223rd69sIC
                                                                                            17                                                   8HW8R);
                                                                                            18

                                                                                            19                                                   (https://www.instagram.com/p/9mIo
                                                                                            20                                                   Q9hZrP/?taken-by=realwshh) –
                                                                                            21                                                   posted Nov. 2, 2015
                                                                                            22   145.   “Jaguar Dives into River to Catch        “Vine Comp Of The Week Part 137!”
                                                                                            23          Alligator”                               (http://www.worldstarhiphop.com/vi
                                                                                            24          (https://www.youtube.com/watch?          deos/video.php?v=wshhB7UnpqX4l9
                                                                                            25          v=7ExKqRuO-hs) – acquired Oct.           xE6255) – posted Oct. 23, 2015;
                                                                                            26          14, 2015
                                                                                            27                                                   “Jaguar Dives Into A River To Catch
                                                                                            28                                                   A Caiman!
                                                                                             1                                              64
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 66 of 94 Page ID #:199



                                                                                             1                                                 (http://www.worldstarhiphop.com/vi
                                                                                             2                                                 deos/video.php?v=wshhu0JqP23I5W
                                                                                             3                                                 K35pSV) – posted Oct. 15, 2015
                                                                                             4   146.   “Woman Gives Birth on Airplane” “Chinese Woman Gives Birth On
                                                                                             5          (https://www.youtube.com/watch?        Airplane!”
                                                                                             6          v=nP4hr1pxFNM) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                             7          Oct.14, 2015                           deos/video.php?v=wshhVF0RAJJ93s
                                                                                             8                                                 LS1EzZ) – posted Oct. 13, 2015
                                                                                             9   147.   “Gun Safety 101”                       “Vine Comp Of The Week Part 137!”
                                                                                            10          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            11          v=X7iQalpsAVU) – acquired Oct.         deos/video.php?v=wshhB7UnpqX4l9
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          18, 2015                               xE6255) – posted Oct. 23, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   148.   “Man with Machete Gets Hit by          “Wild Scene: Crazy Guy Swinging
                                                                             310-229-9900




                                                                                            14          Car”                                   His Machete At Cars Gets Taken
                                                                                            15          (https://www.youtube.com/watch?        Out!”
                                                                                            16          v=6WwD8gXQ-4Y) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                            17          Oct.19, 2015                           deos/video.php?v=wshh5V35I9KrSe
                                                                                            18                                                 MPm1Ge) – posted Oct. 20, 2015
                                                                                            19   149.   “Baby Motorboats Mom”                  “Vine Comp Of The Week Part 138!”
                                                                                            20          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            21          v=rFsiFj10iiM) – acquired Oct.         deos/video.php?v=wshh3em459G5XI
                                                                                            22          23, 2015                               j2d8GO) – posted Oct. 30, 2015
                                                                                            23

                                                                                            24   150.   “Deer Scores Goal during Soccer        “Vine Comp Of The Week Part 138!”
                                                                                            25          Game”                                  (http://www.worldstarhiphop.com/vi
                                                                                            26          (https://www.youtube.com/watch?        deos/video.php?v=wshh3em459G5XI
                                                                                            27          v=MWWkN6MScKI) – acquired              j2d8GO) – posted Oct. 30, 2015
                                                                                            28          Oct. 24, 2015
                                                                                             1                                            65
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 67 of 94 Page ID #:200



                                                                                             1   151.   “Kid in T-Rex Costume Running          (https://instagram.com/p/9R0geoBZj
                                                                                             2          Around”                                N/?taken-by=realwshh) – posted Oct.
                                                                                             3          (www.youtube.com/watch?v=m3rr 25, 2015
                                                                                             4          LCFEXZM) – acquired Oct. 26,
                                                                                             5          2015
                                                                                             6   152.   “Police Arrest Chewbacca”              “Man Dressed Up As Chewbacca
                                                                                             7          (https://www.youtube.com/watch?        Arrested While Campaigning For
                                                                                             8          v=bi-qVKFZ1vM) – acquired Oct. Darth Vader!”
                                                                                             9          27, 2015                               (http://www.worldstarhiphop.com/vi
                                                                                            10                                                 deos/video.php?v=wshh1q6ba99d48F
                                                                                            11                                                 q20Im) – posted Oct. 27, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   153.   “Grandma Advises Grandson              “Grandma Freaks Out Because She
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Against Smirnoff Ice”                  Thinks Grandson’s ‘Smirnoff Ice’
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        Has Crystal Meth In It!”
                                                                                            15          v=2Qh7LSb1h_I) – acquired Oct.         (http://www.worldstarhiphop.com/vi
                                                                                            16          29, 2015                               deos/video.php?v=wshh8mMZzpjYk
                                                                                            17                                                 aoVh96S) – posted Oct. 28, 2015
                                                                                            18   154.   “2nd Story Beer Pong Dunk Fail”        “Fail: Dude Attempts A Second Story
                                                                                            19          (https://www.youtube.com/watch?        Beer Pong Dunk!”
                                                                                            20          v=vvfq4EgwJBc) – acquired Oct.         (http://www.worldstarhiphop.com/vi
                                                                                            21          27, 2015                               deos/video.php?v=wshh6K1ixfRfXH
                                                                                            22                                                 n52d5k) – posted Oct. 27, 2015
                                                                                            23   155.   “Guy Charges into Phone Booth”         “Fail: When Headbutting Your Best
                                                                                            24          (https://www.youtube.com/watch?        Friend Goes Wrong!”
                                                                                            25          v=rGr__7j6eJQ) – acquired Oct.         (http://www.worldstarhiphop.com/vi
                                                                                            26          29, 2015                               deos/video.php?v=wshh49fs84M0o0
                                                                                            27                                                 L7scw9) – posted Oct. 29, 2015
                                                                                            28   156.   “Darth Vader Crashes on Segway” “Vine Comp Of The Week Part 139!”
                                                                                             1                                            66
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 68 of 94 Page ID #:201



                                                                                             1          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             2          v=0IQy2SRfgKM) – acquired Oct. deos/video.php?v=wshhaX1RtNtBsB
                                                                                             3          29, 2015                                heQcqT) – posted Nov. 11, 2015
                                                                                             4   157.   “Instant Life Jacket Using              “Marine Shows A Creative Way On
                                                                                             5          Trousers”                               How To Survive From Drowning!”
                                                                                             6          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             7          v=dyfLHD3mRVY) – acquired               deos/video.php?v=wshhaX1RtNtBsB
                                                                                             8          Nov. 11, 2015                           heQcqT) – posted Nov. 1, 2015
                                                                                             9   158.   “Kitten Rides Box Down Stairs”          (https://www.instagram.com/p/9ogN
                                                                                            10          (https://www.youtube.com/watch?         kxBZnh/?taken-by=realwshh) –
                                                                                            11          v=nTZQ9Ntq71c) – acquired Oct.          posted Nov. 3, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          31, 2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   159.   “Subway Station Singer Belts Out        “Subway Singer Moves People To
                                                                             310-229-9900




                                                                                            14          Soulful Tune”                           Tears With his Incredible Platform
                                                                                            15          (https://youtu.be/fc7PZWY30Ko)          Performance!”
                                                                                            16          – acquired Nov. 2, 2015                 (http://www.worldstarhiphop.com/vi
                                                                                            17                                                  deos/video.php?v=wshhh49s99g5w0
                                                                                            18                                                  TbfivS) – posted Nov. 7, 2015
                                                                                            19   160.   “Don't Wheelie Inside the House”        “Vince Comp Of The Week Part
                                                                                            20          (https://www.youtube.com/watch?         150!”
                                                                                            21          v=YUN5q9vVIqY) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                            22          Nov. 2, 2015                            deos/video.php?v=wshhsh6yF1e97f6
                                                                                            23                                                  7gf46) – posted Jan. 29, 2016;
                                                                                            24

                                                                                            25                                                  “Vince Comp Of The Week Part
                                                                                            26                                                  150!”
                                                                                            27                                                  (https://www.facebook.com/worldsta
                                                                                            28                                                  rhiphop/videos/1001631216570300/)
                                                                                             1                                             67
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 69 of 94 Page ID #:202



                                                                                             1                                                  – posted Jan. 29, 2016
                                                                                             2   161.   “Big Brother Knocks Younger             “Vine Comp Of The Week Part 159!”
                                                                                             3          Brother Down”                           (http://www.worldstarhiphop.com/vi
                                                                                             4          (https://www.facebook.com/ronda. deos/video.php?v=wshh0AW5WLxl9
                                                                                             5          foxverret/videos/10153374636439         I8g9tI7) – posted Apr. 1, 2016
                                                                                             6          615/) – acquired Nov. 11, 2015
                                                                                             7   162.   “Cat and Owner Vibe Out to              “Feeling It: Hotline Bling Cat!”
                                                                                             8          Music”                                  (http://www.worldstarhiphop.com/vi
                                                                                             9          (www.youtube.com/watch?v=ShR            deos/video.php?v=wshhR73upg9oE
                                                                                            10          yNfse29c) – acquired Nov. 7, 2015 mu5R2l9) – posted Nov.7, 2015
                                                                                            11   163.   “Kid Gets Hit by Bowling Ball in        “Vine Comp Of The Week Part 161!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Class”                                  (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.youtube.com/watch?         deos/video.php?v=wshhyBKZ789440
                                                                             310-229-9900




                                                                                            14          v=5QNlrBtuszE) – acquired Mar.          qUQmXD) – posted Apr.15, 2016
                                                                                            15          11, 2016
                                                                                            16   164.   “Cockatiel Sings Addam's Family         “Vine Comp Of The Week Part 140!”
                                                                                            17          Theme Song”                             (http://www.worldstarhiphop.com/vi
                                                                                            18          (www.youtube.com/watch?v=bQ1            deos/video.php?v=wshhzLl73cSUrN
                                                                                            19          JUzcNLTM) – acquired Nov. 6,            BEjCRS) – posted Nov. 20, 2015
                                                                                            20          2015
                                                                                            21   165.   “Little Boy Responds to Adele's         “Vine Comp Of The Week Part 139!”
                                                                                            22          "Hello"”                                (http://www.worldstarhiphop.com/vi
                                                                                            23          (https://www.youtube.com/watch?         deos/video.php?v=wshh9gl0AHLBv8
                                                                                            24          v=pasDRF4VW4s) – acquired               Qwsvwf) – posted Nov. 11, 2015
                                                                                            25          Nov. 6, 2015
                                                                                            26                                                  (https://www.instagram.com/p/BBoK
                                                                                            27                                                  MpxhZjB/) – posted Feb. 10, 2016
                                                                                            28   166.   “Jet Skier Performs Amazing             “Skills: Freestyle Jet Ski World
                                                                                             1                                             68
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 70 of 94 Page ID #:203



                                                                                             1          Freestyle Tricks”                       Champion “Ant Burgess” Shows Off
                                                                                             2          (https://www.jukinmedia.com/lice        his Incredible Moves!”
                                                                                             3          nsing/view/914908) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                             4          Nov. 17, 2015                           deos/video.php?v=wshh6WH90tMB1
                                                                                             5                                                  4A7J0Rx) – posted May 31, 2015
                                                                                             6   167.   “Man Plays with Toy Snowmen”            “Vine Comp Of The Week Part 140!”
                                                                                             7          (https://youtu.be/gC1FAcP5TU4)          (http://www.worldstarhiphop.com/vi
                                                                                             8          – acquired Nov. 19, 2015                deos/video.php?v=wshhzLl73cSUrN
                                                                                             9                                                  BEjCRS) – posted Nov. 20, 2015
                                                                                            10   168.   “Guy Drops Condom Filled with           “LMFAO ASIANS ARE LIT”
                                                                                            11          Water on Friend's Head”                 (https://www.instagram.com/p/-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://youtu.be/XsEZ-f47VG0) – Kz58xhZjI/?taken-by=realwshh) –
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          acquired Dec. 2, 2015                   posted Nov. 16, 2015;
                                                                             310-229-9900




                                                                                            14

                                                                                            15                                                  “The Condom Challenge!”
                                                                                            16                                                  (http://www.worldstarhiphop.com/vi
                                                                                            17                                                  deos/video.php?v=wshhGCztGZ0uy
                                                                                            18                                                  X3fJ0Gy) – posted Nov. 28, 2015
                                                                                            19
                                                                                            20   169.   “Raven Talks like a Human”              “Ravens Can Talk Just Like People!”
                                                                                            21          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            22          v=AfsnHVaScjg) – acquired Nov.          deos/video.php?v=wshh9K0ZCEhM5
                                                                                            23          25, 2015                                6M78MwH) – posted Nov. 22, 2015
                                                                                            24

                                                                                            25   170.   “Little Man Slips and Falls”            “Little Man Has Hops”
                                                                                            26          (https://www.jukinmedia.com/lice        (https://www.instagram.com/p/-
                                                                                            27          nsing/view/915877) – acquired           uAw_KBZkS/?taken-by=realwshh) –
                                                                                            28          Nov. 30, 2015                           posted Nov. 30, 2015
                                                                                             1                                             69
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 71 of 94 Page ID #:204



                                                                                             1   171.   “Father Goes Crazy when Song            (https://www.instagram.com/p/-
                                                                                             2          Comes On”                               w6tD7BZqS/?taken-by=realwshh) –
                                                                                             3          (https://www.youtube.com/watch?         posted Dec. 1, 2015
                                                                                             4          v=SW9dHOhqCJc) – acquired
                                                                                             5          Dec. 5, 2015
                                                                                             6   172.   “Man Slaps Dog's Butt”                  (https://www.instagram.com/p/_DCq
                                                                                             7          (https://youtu.be/JhX_aib-mkA) –        X7hZlH/?taken-by=realwshh) –
                                                                                             8          acquired Dec. 10, 2015                  posted Dec. 8, 2015;
                                                                                             9
                                                                                            10                                                  “Vine Comp Of The Week Part 143!”
                                                                                            11                                                  (http://www.worldstarhiphop.com/vi
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                  deos/video.php?v=wshhx84Kxo1hx2
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                  cvFunT) – posted Dec. 11, 2015;
                                                                             310-229-9900




                                                                                            14

                                                                                            15                                                  “Vine Comp Of The Week”
                                                                                            16                                                  (https://www.facebook.com/worldsta
                                                                                            17                                                  rhiphop/videos/974006909332731/) –
                                                                                            18                                                  posted Dec. 11, 2015
                                                                                            19   173.   “Groom Cries When He Sees               “True Love: Groom Has A Priceless
                                                                                            20          Bride”                                  Reaction When Seeing His Bride
                                                                                            21          (https://youtu.be/vbzbMPOW7y0)          Walk Down The Aisle!”
                                                                                            22          – acquired Dec. 10, 2015                (http://www.worldstarhiphop.com/vi
                                                                                            23                                                  deos/video.php?v=wshhr8516pjWcX
                                                                                            24                                                  O291b5) – posted Dec. 11, 2015
                                                                                            25

                                                                                            26   174.   “Muscular Man Plays Game with           (https://www.instagram.com/p/_r59
                                                                                            27          Other Men”                              WFhZh0/) – posted Dec. 24, 2015;
                                                                                            28          (https://youtu.be/i5jiHKibktg) –
                                                                                             1                                             70
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 72 of 94 Page ID #:205



                                                                                             1          acquired Dec. 15, 2015                “Vine Comp Of The Week Pt. 145!”
                                                                                             2                                                (http://www.worldstarhiphop.com/vi
                                                                                             3                                                deos/video.php?v=wshh5BR7d6k2lH
                                                                                             4                                                58vhgV) – posted Dec. 26, 2015
                                                                                             5   175.   “Little Boy Smirks at Woman”          (https://www.instagram.com/p/_VlK
                                                                                             6          (https://www.youtube.com/watch?       RtBZpD/) – posted Dec. 15, 2015;
                                                                                             7          v=WKMg528DMh4) – acquired
                                                                                             8          Dec. 17, 2015                         “Vine Comp Of The Week Part 144!”
                                                                                             9                                                (http://www.worldstarhiphop.com/vi
                                                                                            10                                                deos/video.php?v=wshhVIRIZHw2X
                                                                                            11                                                pQJzs77) – posted Dec. 18, 2015;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                “Vine Comp Of The Week #144”
                                                                             310-229-9900




                                                                                            14                                                (https://www.facebook.com/worldsta
                                                                                            15                                                rhiphop/videos/978692075530881/) –
                                                                                            16                                                posted Dec. 20, 2015
                                                                                            17

                                                                                            18   176.   “Dad Walks Around House in            “Vine Comp Of The Week Pt. 145!”
                                                                                            19          Gnome Costume”                        (http://www.worldstarhiphop.com/vi
                                                                                            20          (https://youtu.be/oLUvEe-VRWI)        deos/video.php?v=wshh5BR7d6k2lH
                                                                                            21          – acquired Dec. 22, 2015              58vhgV) – posted Dec. 26, 2015
                                                                                            22

                                                                                            23   177.   “Dog Puts Zero Effort into            (https://www.instagram.com/p/BDB6
                                                                                            24          Workout”                              OtbhZq_/) – posted Mar. 16, 2016;
                                                                                            25          (https://www.facebook.com/valork
                                                                                            26          9academy/videos/6591494608534         “Vine Comp Of The Week Part
                                                                                            27          24/) – acquired Dec. 22, 2015         157!”
                                                                                            28                                                (http://www.worldstarhiphop.com/vi
                                                                                             1                                           71
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 73 of 94 Page ID #:206



                                                                                             1                                                  deos/video.php?v=wshhCfV4dAiMb
                                                                                             2                                                  o8eRU40) – posted Mar. 23, 2016
                                                                                             3

                                                                                             4   178.   “Girl Crashes into Christmas            “Vine Comp Of The Week Pt. 145!”
                                                                                             5          Tree”                                   (http://www.worldstarhiphop.com/vi
                                                                                             6          (https://youtu.be/IHtl9b5la6s) –        deos/video.php?v=wshh5BR7d6k2lH
                                                                                             7          acquired Dec. 27, 2015                  58vhgV) – posted Dec. 26, 2015
                                                                                             8

                                                                                             9                                                  (https://www.instagram.com/p/_w7y
                                                                                            10                                                  3ehZhV/) – posted Dec. 26, 2015
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   179.   “Couple Falls into Wall at Movie        (https://www.instagram.com/p/_0qRy
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Theater”                                DBZij/) – posted Dec. 27, 2015
                                                                             310-229-9900




                                                                                            14          (https://youtu.be/ashRbzuB0JU) –
                                                                                            15          acquired Jan. 8, 2016
                                                                                            16   180.   “Segway Explodes on Sidewalk”           “Man Calls Fire Department After
                                                                                            17          (https://www.youtube.com/watch?         His Hoverboard Bursts Into Flames!
                                                                                            18          v=9bAZfe7b9uw) – acquired Jan.          ‘$600 Down the Drain’”
                                                                                            19          3, 2016                                 (http://www.worldstarhiphop.com/vi
                                                                                            20                                                  deos/video.php?v=wshhW5jJ86M7pk
                                                                                            21                                                  ApRl1q) – posted Dec. 31, 2015
                                                                                            22   181.   “Man Meets Plastic Chair”               “Fail: Old Guy Tries To Stand On An
                                                                                            23          (www.youtube.com/watch?v=yxB            Egg & It Doesn’t Go Well!”
                                                                                            24          4iID9XaY) – acquired Jan. 12,           (http://www.worldstarhiphop.com/vi
                                                                                            25          2016                                    deos/video.php?v=wshh0Mo0k7s9gK
                                                                                            26                                                  7p9J8d) – posted Jan. 8, 2016;
                                                                                            27

                                                                                            28                                                  “vine comp part 147”
                                                                                             1                                             72
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 74 of 94 Page ID #:207



                                                                                             1                                                  (https://www.facebook.com/worldsta
                                                                                             2                                                  rhiphop/videos/989415437791878/) –
                                                                                             3                                                  posted Jan. 8, 2016
                                                                                             4   182.   “Raccoons Invade Restaurant”            “Chinese Restaurant Worker Tries To
                                                                                             5          (https://youtu.be/lrIXoXrS5RU) –        Get Rid Of 2 Huge Raccoons!”
                                                                                             6          acquired Jan. 8, 2016                   (http://www.worldstarhiphop.com/vi
                                                                                             7                                                  deos/video.php?v=wshhbqenYn55XT
                                                                                             8                                                  4A11cs) – posted Jan. 8, 2016
                                                                                             9   183.   “Dog Chases after Darts on TV”          “Vine Comp Of The Week Part 148!”
                                                                                            10          (www.youtube.com/watch?v=A45            (http://www.worldstarhiphop.com/vi
                                                                                            11          dPHHtlC8) – acquired Jan. 9, 2016 deos/video.php?v=wshhfQ9gWHVBt
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                  27h5RsW) – posted Jan. 15, 2016;
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13
                                                                             310-229-9900




                                                                                            14                                                  “Vine Comp Part 148”
                                                                                            15                                                  (https://www.facebook.com/worldsta
                                                                                            16                                                  rhiphop/videos/993274664072622/) –
                                                                                            17                                                  posted Jan. 16, 2016
                                                                                            18   184.   “Man on Subway Gives Homeless           “Act Of Kindness: Guy Gives His
                                                                                            19          Man Shirt Off his Back”                 Clothes To A Homeless Man On A
                                                                                            20          (https://youtu.be/ubBIyTz8bf0) –        NYC Train!”
                                                                                            21          acquired Jan.10, 2016                   (http://www.worldstarhiphop.com/vi
                                                                                            22                                                  deos/video.php?v=wshhN4h3QZ3szz
                                                                                            23                                                  9882Sg) – posted Jan. 9, 2016;
                                                                                            24

                                                                                            25                                                  (https://www.instagram.com/p/BAaH
                                                                                            26                                                  8YxBZuC/) – posted Jan. 11, 2016
                                                                                            27   185.   “Construction Worker Breaks             “Lol: These Construction Workers
                                                                                            28          through Wall”                           Acting A Fool!”
                                                                                             1                                             73
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 75 of 94 Page ID #:208



                                                                                             1          (https://www.youtube.com/watch?       (http://www.worldstarhiphop.com/vi
                                                                                             2          v=XE1XE6Thp9E) – acquired             deos/video.php?v=wshhD39QYLx51
                                                                                             3          Mar. 4, 2016                          5M640J6) – posted Mar. 7, 2016
                                                                                             4

                                                                                             5                                                “Vine Comp Of The Week Part 162!”
                                                                                             6                                                (http://www.worldstarhiphop.com/vi
                                                                                             7                                                deos/video.php?v=wshh3723DhdYNI
                                                                                             8                                                df0x8N) – posted Apr. 22, 2016
                                                                                             9
                                                                                            10   186.   “Train Passenger Aggressively         “Act Of Kindness: Guy Gives His
                                                                                            11          Pokes Phone”                          Clothes To A Homeless Man On A
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?       NYC Train!”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          v=s_Ulutv65eg) – acquired Jan.        (https://www.instagram.com/p/BBc9
                                                                             310-229-9900




                                                                                            14          13, 2016                              FinhZtD/) – posted Feb. 6, 2016;
                                                                                            15

                                                                                            16                                                (https://www.facebook.com/worldsta
                                                                                            17                                                rhiphop/videos/1005781209488634/)
                                                                                            18                                                – posted Feb. 6, 2016
                                                                                            19
                                                                                            20                                                “Vine Comp Of The Week Episode
                                                                                            21                                                152!”
                                                                                            22                                                (http://www.worldstarhiphop.com/vi
                                                                                            23                                                deos/video.php?v=wshhPBk89aRzS6
                                                                                            24                                                H2GhrP) – posted Feb. 12, 2016
                                                                                            25   187.   “Little Boy Jumps on Top of           “Vine Comp Of The Week Part 151!”
                                                                                            26          Weights”                              (http://www.worldstarhiphop.com/vi
                                                                                            27          (www.youtube.com/watch?v=Nie          deos/video.php?v=wshhVOvai6B1Ikj
                                                                                            28          SK_cF0vo) – acquired Jan. 13,         er6mp) – posted Feb. 5, 2016
                                                                                             1                                           74
                                                                                             2                                                               AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 76 of 94 Page ID #:209



                                                                                             1          2016
                                                                                             2   188.   “Little Girl Demonstrates How to        “Vine Comp Of The Week Part 166!”
                                                                                             3          Cut Hair”                               (http://www.worldstarhiphop.com/vi
                                                                                             4          (https://www.youtube.com/watch?         deos/video.php?v=wshh7Vsv5V1nkE
                                                                                             5          v=MlW8Z1Sc7po) – acquired Jan. TAR37v) – posted May 20, 2016
                                                                                             6          20, 2016
                                                                                             7   189.   “Man Dances and Performs Tricks “Dope: Indoor Skydiving Dance!”
                                                                                             8          in Wind Tunnel”                         (http://www.worldstarhiphop.com/vi
                                                                                             9          (https://www.youtube.com/watch?         deos/video.php?v=wshhdvt70B2W61
                                                                                            10          v=lI0unfK7FPo&feature=youtu.be cw3hwj) – posted Jan. 25, 2016
                                                                                            11          ) – acquired Jan. 27, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   190.   “Austin Road Rage”                      “Road Rage: Two Drivers Attack
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.youtube.com/watch?         Each Other With A Bat & Stick!”
                                                                             310-229-9900




                                                                                            14          v=oytNiLHwljg) – acquired Jan.          (http://www.worldstarhiphop.com/vi
                                                                                            15          26, 2016                                deos/video.php?v=wshhbqenYn55XT
                                                                                            16                                                  4A11cs) – posted Jan. 26, 2016
                                                                                            17   191.   “Garbage Truck Explodes in              “Vine Comp Of The Week Part 151!”
                                                                                            18          Neighborhood”                           (http://www.worldstarhiphop.com/vi
                                                                                            19          (https://youtu.be/y7gmJwHkfvg) – deos/video.php?v=wshhVOvai6B1Ikj
                                                                                            20          acquired Jan. 27, 2016                  er6mp) – posted Feb. 5, 2016
                                                                                            21   192.   “Kid Whacks Balancing iPad with         (https://www.facebook.com/worldsta
                                                                                            22          Hockey Stick”                           rhiphop/videos/1007149286018493/)
                                                                                            23          (https://www.youtube.com/watch?         – posted Feb. 8, 2016;
                                                                                            24          v=bOacuYsMTB8) – acquired
                                                                                            25          Feb. 5, 2016                            “This baby is a straight savage”
                                                                                            26                                                  (https://twitter.com/WORLDSTAR/st
                                                                                            27                                                  atus/703697784394932228) – posted
                                                                                            28                                                  Feb. 27, 2016
                                                                                             1                                             75
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 77 of 94 Page ID #:210



                                                                                             1   193.   “Weightlifting Vomit Incident”          (https://www.facebook.com/worldsta
                                                                                             2          (https://www.facebook.com/jordan rhiphop/videos/1008913709175384/)
                                                                                             3          .wong.1420/videos/101547016370 – posted Feb. 11, 2016
                                                                                             4          53438/) – acquired Feb. 11, 2016
                                                                                             5   194.   “Woman Crushes Watermelon               (https://www.instagram.com/p/BBlu9
                                                                                             6          with Legs”                              xqhZtp/) – posted Feb. 9, 2016
                                                                                             7          (https://www.facebook.com/Konfi
                                                                                             8          denceByKortney/videos/11135849
                                                                                             9          75341230/) – acquired Feb. 10,
                                                                                            10          2016
                                                                                            11   195.   “Driver with Road Rage Gets             “Idiot of the day!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Instant Karma”                          (https://www.instagram.com/p/BI-0v-
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.youtube.com/watch?         DgO0N/) – posted Aug. 11, 2016
                                                                             310-229-9900




                                                                                            14          v=nA2I86GHPiU) – acquired Feb.
                                                                                            15          11, 2016
                                                                                            16   196.   “Baby Flips off Mom Asking for          “When someone tries to eat your
                                                                                            17          Cake”                                   food”
                                                                                            18          (https://www.youtube.com/watch?         (https://www.instagram.com/p/BB4Q
                                                                                            19          v=uMaI1QrvjFs) – acquired Feb.          aWtBZli/) – posted Feb. 16, 2016
                                                                                            20          16, 2016
                                                                                            21   197.   “Guy Fails at Parkour”                  “Vine Comp Of The Week Part 111!”
                                                                                            22          (https://www.jukinmedia.com/lice        (http://www.worldstarhiphop.com/vi
                                                                                            23          nsing/view/927495) – acquired           deos/video.php?v=wshh1G9Cr7rzVtb
                                                                                            24          Mar. 5, 2016                            9FXuL) – posted Apr. 15, 2016
                                                                                            25

                                                                                            26   198.   “Basking Shark Sighting off             “Vine Comp Of The Week Part 156!”
                                                                                            27          Panama City Beach Pier”                 (http://www.worldstarhiphop.com/vi
                                                                                            28          (https://www.youtube.com/watch?         deos/video.php?v=wshhM4mK9US8
                                                                                             1                                             76
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 78 of 94 Page ID #:211



                                                                                             1          v=6POpa3r_KA8) – acquired Feb.          e01VIqnv) – posted Mar. 11, 2016
                                                                                             2          19, 2016
                                                                                             3   199.   “Rat Tirelessly Tries to Get Inside     “It’s So Cold In Chicago A Rat
                                                                                             4          Building”                               Refuses To Stay Outside!”
                                                                                             5          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             6          v=bhQjX6oIVOM) – acquired               deos/video.php?v=wshh2p54y9RoB
                                                                                             7          Mar. 2, 2016                            Q1ac4CF)– posted Mar. 8, 2016
                                                                                             8   200.   “Son Pretends to Cut Mom's Hair” “did her dirty”
                                                                                             9          (https://youtu.be/JKpj4z-ddJs) –        (https://www.facebook.com/worldsta
                                                                                            10          acquired Mar. 4, 2016                   rhiphop/videos/1015850651815023/)
                                                                                            11                                                  – posted Feb. 22, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   201.   “Guy Rides Skateboard in                “Slide in Shorty DM’s Like…”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Trashcan”                               (https://www.instagram.com/p/BC8z
                                                                             310-229-9900




                                                                                            14          (https://instagram.com/p/BCguMG TKjBZgV/) – posted Mar. 14, 2016
                                                                                            15          PtZ67/) – acquired Mar. 9, 2016
                                                                                            16   202.   “Baby Balances on Side of Crib”         “Real Or Fake? Baby Balancing On
                                                                                            17          (https://www.youtube.com/watch?         the Railing Of His Crib!”
                                                                                            18          v=AHwj2oGxdL4) – acquired               (http://www.worldstarhiphop.com/vi
                                                                                            19          Apr. 5, 2016                            deos/video.php?v=wshh7BrBEFY0y
                                                                                            20                                                  H5a2WG7) – posted Apr. 3, 2016
                                                                                            21   203.   “Dad Scares Daughter with               “Father Pranks His Daughter Into
                                                                                            22          Chucky Doll”                            Thinking Chucky Killed Him!”
                                                                                            23          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            24          v=mVn4lGO_3rw) – acquired               deos/video.php?v=wshh9m72mgCy7
                                                                                            25          Mar. 18, 2016                           28Amc54) – posted Mar. 19, 2016
                                                                                            26   204.   “Woman Receives Cochlear                “Deaf Woman Hears For the First
                                                                                            27          Implant and Marriage Proposal”          Time & Her Boyfriends Proposes To
                                                                                            28          (https://www.youtube.com/watch?         Her!”
                                                                                             1                                             77
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 79 of 94 Page ID #:212



                                                                                             1          v=M9z5O5RP2SU) – acquired              (http://www.worldstarhiphop.com/vi
                                                                                             2          Mar. 17, 2016                          deos/video.php?v=wshh3TrDDDJaE
                                                                                             3                                                 VrHzJrp) – posted Mar. 18, 2016
                                                                                             4   205.   “Girl Has Rough Start on Track”        (https://www.instagram.com/p/BDM
                                                                                             5          (https://www.youtube.com/watch?        zeEkhZvS/) – posted Mar. 20, 2016;
                                                                                             6          v=UdyiU4nPw_I) – acquired Mar.
                                                                                             7          21, 2016                               “Vine Comp of the Week Part 157!”
                                                                                             8                                                 (http://www.worldstarhiphop.com/vi
                                                                                             9                                                 deos/video.php?v=wshhCfV4dAiMb
                                                                                            10                                                 o8eRU40) – posted Mar. 23, 2016;
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 (https://twitter.com/WORLDSTAR/st
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                 atus/711757732680863744) – posted
                                                                             310-229-9900




                                                                                            14                                                 Mar. 20, 2016;
                                                                                            15

                                                                                            16                                                 “Are You Okay, Honey?”
                                                                                            17                                                 (https://www.facebook.com/worldsta
                                                                                            18                                                 rhiphop/videos/1034095246657230/)
                                                                                            19                                                 – posted Mar. 21, 2016
                                                                                            20   206.   “Guy Slips on Banana Peel”             “Vine Comp Of The Week 159!”
                                                                                            21          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            22          v=8MZs28-AAOU) – acquired              deos/video.php?v=wshh0AW5WLxl9
                                                                                            23          Mar. 28, 2016                          I8g9tI7) – posted Apr. 1, 2016;
                                                                                            24

                                                                                            25                                                 (https://twitter.com/WORLDSTAR/st
                                                                                            26                                                 atus/716492525599588355) – posted
                                                                                            27                                                 Apr. 3, 2016;
                                                                                            28

                                                                                             1                                            78
                                                                                             2                                                                  AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 80 of 94 Page ID #:213



                                                                                             1                                                  (https://www.instagram.com/p/BDucI
                                                                                             2                                                  gABZlN/) – posted Apr. 2, 2016
                                                                                             3   207.   “Guy Suplexes Friend’s Face into        “Vine Comp Of The Week Part 160!”
                                                                                             4          Pool Deck”                              (http://www.worldstarhiphop.com/vi
                                                                                             5          (https://www.youtube.com/watch?         deos/video.php?v=wshhH545B2C2e6
                                                                                             6          v=6BWY-nMU8hk) – acquired               UOZD1c) – posted Apr. 8, 2016
                                                                                             7          Apr. 8, 2016
                                                                                             8   208.   “Southern Mom Shoots Kids’ Cell         “Took It To Another Level: Southern
                                                                                             9          Phones”                                 Mother Sick of Social Media!”
                                                                                            10          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            11          v=6BWY-nMU8hk) – acquired               deos/video.php?v=wshhPf2tJYurB5w
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Apr. 9, 2016                            L91ZK) – posted Apr. 9, 2016
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   209.   “Guy Sings while Cooking Steak          “This Guy Makes A Parody Of A
                                                                             310-229-9900




                                                                                            14          and Eggs”                               Disney Song About Steak & Eggs!”
                                                                                            15          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            16          v=Wpjk0oGjiME) – acquired Apr. deos/video.php?v=wshhcLXtWR5Ty
                                                                                            17          13, 2016                                VsZfBaN) – posted Apr. 13, 2016
                                                                                            18   210.   “Pregnant Woman’s Baby Moves            “Vine Comp Of The Week Part 176!”
                                                                                            19          in Stomach”                             (http://www.worldstarhiphop.com/vi
                                                                                            20          (https://www.youtube.com/watch?         deos/video.php?v=wshh8o2zxG2d26
                                                                                            21          v=urx8kA2YGDA) – acquired               NE2qz4) – posted Jul. 29, 2016
                                                                                            22          Apr. 28, 2016
                                                                                            23   211.   “Baby Dances Along to Dad’s             “Cute: Little Girl Jams To Her Dad
                                                                                            24          Rapping”                                Rapping!”
                                                                                            25          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            26          v=x1cXM7ftl-0) – acquired               deos/video.php?v=wshhSR9UP87524
                                                                                            27          Apr.18, 2016                            6uNuPA) – posted Apr. 20, 2016
                                                                                            28   212.   “Daredevil Rides Swegway on             (https://www.instagram.com/p/BEy1s
                                                                                             1                                             79
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 81 of 94 Page ID #:214



                                                                                             1          Edge of Rooftop”                   N0hZv6/?taken-by=worldstar) –
                                                                                             2          (https://www.youtube.com/watch?    posted Apr. 29, 2016;
                                                                                             3          v=mzoymq_Wx0Q) – acquired
                                                                                             4          Apr. 18, 2016                      “Fearless: Man Rides His
                                                                                             5                                             Hoverboard On The Edge Of A
                                                                                             6                                             Skyscraper!”
                                                                                             7                                             (http://www.worldstarhiphop.com/vi
                                                                                             8                                             deos/video.php?v=wshh7q9keFkiuu7
                                                                                             9                                             XedSg) – posted Apr. 19, 2016;
                                                                                            10

                                                                                            11                                             “Vine Comp Of The Week Part 162!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                             (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                             deos/video.php?v=wshh3723DhdYNI
                                                                             310-229-9900




                                                                                            14                                             df0x8N) – posted Apr. 22, 2016;
                                                                                            15

                                                                                            16                                             “Vine Comp Of The Week Part 163”
                                                                                            17                                             (http://www.worldstarhiphop.com/vi
                                                                                            18                                             deos/video.php?v=wshh8Y71z3UcUJ
                                                                                            19                                             1BcWG1) – posted Apr. 29, 2016;
                                                                                            20

                                                                                            21                                             (https://www.instagram.com/p/BEbt
                                                                                            22                                             RfJhZoN/) – posted Apr. 20, 2016;
                                                                                            23

                                                                                            24                                             (https://www.instagram.com/p/BIgj5-
                                                                                            25                                             mA4Rt/) – posted Jul. 30, 2016
                                                                                            26
                                                                                            27   213.   “Woman Can't Read ‘Hotel           “Woman Can’t Read ‘Hotel
                                                                                            28          Receptionist’”                     Receptionist’!”(http://www.worldstar
                                                                                             1                                        80
                                                                                             2                                                            AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 82 of 94 Page ID #:215



                                                                                             1          https://www.youtube.com/watch?v hiphop.com/videos/video.php?v=wsh
                                                                                             2          =Q2XJoa4OvOk – acquired Apr.            hVQ9qrv57mYr8fFwr) – posted Apr.
                                                                                             3          27, 2016                                30, 2016
                                                                                             4   214.   “Biking Cliffside in Moab”              “Fearless: Dudes Ride Their Bikes At
                                                                                             5          (https://www.jukinmedia.com/lice        The Edge Of A Cliff!”
                                                                                             6          nsing/view/933157) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                             7          May 10, 2016                            deos/video.php?v=wshhr575RzX49S
                                                                                             8                                                  9nLR8t) – posted May 7, 2016
                                                                                             9   215.   “Dildo Airport                          “Bachelor Party Surprise: Guys
                                                                                            10          Prank”(https://twitter.com/WillBur Humiliate Their Friend During His
                                                                                            11          ge/status/728314719249915904) – First Time Flying”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          acquired May 11, 2016                   (http://www.worldstarhiphop.com/vi
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                  deos/video.php?v=wshh02sz8Gs5cE
                                                                             310-229-9900




                                                                                            14                                                  VI6a0x) – posted May 11, 2016
                                                                                            15   216.   “Teen Gets Hit with Basketball”         “Vine Comp Of The Week Part 166!”
                                                                                            16          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            17          v=84cqW5RmEXs) – acquired               deos/video.php?v=wshh7Vsv5V1nkE
                                                                                            18          May 18, 2016                            TAR37v) – posted May 20, 2016
                                                                                            19   217.   “Guy Eats Pizza with Brawl in           “Vine Comp Of The Week Part 166!”
                                                                                            20          Front of Him”                           (http://www.worldstarhiphop.com/vi
                                                                                            21          (https://www.youtube.com/watch?         deos/video.php?v=wshh7Vsv5V1nkE
                                                                                            22          v=Ts-d3gP39ws) – acquired May           TAR37v) – posted May 20, 2016
                                                                                            23          18, 2016
                                                                                            24   218.   “Car Crushes Guy's Skateboard”          “Vine Comp Of The Week Part 166!”
                                                                                            25          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            26          v=UcC5ulNDxaE) – acquired May deos/video.php?v=wshh7Vsv5V1nkE
                                                                                            27          19, 2016                                TAR37v) – posted May 20, 2016;
                                                                                            28

                                                                                             1                                             81
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 83 of 94 Page ID #:216



                                                                                             1                                                  https://www.instagram.com/p/BFkH3
                                                                                             2                                                  SuhZiP/-) – posted May 18, 2016
                                                                                             3   219.   “Fridge Falls on Top of Thief”          (https://www.instagram.com/p/BFuQ
                                                                                             4          (https://www.youtube.com/watch?         nUOhZkl/) – posted May 22, 2016
                                                                                             5          v=Vd708evWsIE) – acquired May
                                                                                             6          30, 2016
                                                                                             7   220.   “Little Boy Freaks out on Roller        “Lol: Kid Freaks Out On A Roller
                                                                                             8          Coaster”                                Coaster!”
                                                                                             9          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            10          v=SsFkBFKtunM) – acquired Jun.          deos/video.php?v=wshh2rxk9Z6Qa3
                                                                                            11          1, 2016                                 4ja46k) – posted Jun. 2, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   221.   “Driver Sleeps in Car while in          “Man Gets Caught Sleeping At The
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          Traffic”                                Wheel While His Tesla Model S Is
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?         On Autopilot!”
                                                                                            15          v=ocK1IMiluM4) – acquired May           (http://www.worldstarhiphop.com/vi
                                                                                            16          25, 2016                                deos/video.php?v=wshh5oJ1K8T4L8
                                                                                            17                                                  ZWfAqO) – posted May 24, 2016
                                                                                            18   222.   “Hotel Gives Master Key to              “This Motel Has An Interesting Key
                                                                                            19          Patron”                                 Policy!”
                                                                                            20          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                            21          v=HbQauX2LOFI) – acquired Jun. deos/video.php?v=wshhrYcD83QW
                                                                                            22          4, 2016                                 N1n0665g) – posted Jun. 5, 2016
                                                                                            23   223.   “Search Results Differ Based on         (https://www.instagram.com/p/BGZu
                                                                                            24          Race”                                   8dzBZoW/) – posted Jun. 8, 2016;
                                                                                            25          (https://www.youtube.com/watch?
                                                                                            26          v=w4WZpkdbd3I) – acquired Jun.          “Messed Up: What Happens When
                                                                                            27          8, 2016                                 You Search ‘Three Black Teenagers’
                                                                                            28                                                  On Google!”
                                                                                             1                                             82
                                                                                             2                                                                   AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 84 of 94 Page ID #:217



                                                                                             1                                                (http://www.worldstarhiphop.com/vi
                                                                                             2                                                deos/video.php?v=wshhb6i5Vl4n4vn
                                                                                             3                                                2qCdW) – posted Jun. 8, 2016;
                                                                                             4

                                                                                             5                                                (https://www.facebook.com/worldsta
                                                                                             6                                                rhiphop/videos/1086765691390185/)
                                                                                             7                                                – posted Jun. 8, 2016
                                                                                             8   224.   “Swing Burpees Fail”                  (https://www.instagram.com/p/BI3o3
                                                                                             9          (https://www.youtube.com/watch?       CXAPgd/) – posted Aug. 8, 2016
                                                                                            10          v=gWFW-FNJLPk) – acquired
                                                                                            11          Jun. 20, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   225.   “Man Gets Overly Excited at           “Lol: Proud Father Falls Out The
                                                                             310-229-9900




                                                                                            14          Graduation Ceremony”                  Stands After Hearing His Son’s
                                                                                            15          (https://www.youtube.com/watch?       Name During Graduation!”
                                                                                            16          v=VY2IqVCG5pA) – acquired             (http://www.worldstarhiphop.com/vi
                                                                                            17          Jun. 19, 2016                         deos/video.php?v=wshhY657n0YaN
                                                                                            18                                                nH6A1zT) – posted Jun. 20, 2016;
                                                                                            19
                                                                                            20                                                (https://www.instagram.com/p/BG0D
                                                                                            21                                                NeNhZlL/) – posted Jun. 18, 2016
                                                                                            22   226.   “Finding an ATM Skimmer in            “Scammers Worldwide: Man Finds
                                                                                            23          Vienna”                               An ATM Skimmer While On
                                                                                            24          (https://www.youtube.com/watch?       Vacation in Vienna, Austria!”
                                                                                            25          v=ll4f0Wim4pM) – acquired Jun.        (http://www.worldstarhiphop.com/vi
                                                                                            26          24, 2016                              deos/video.php?v=wshhs512VJ3HuJ
                                                                                            27                                                x7G5Ck) – posted Jun. 24, 2016
                                                                                            28   227.   “Airplane Engine Bursts into          “Scary: Singapore Airlines Flight
                                                                                             1                                           83
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 85 of 94 Page ID #:218



                                                                                             1          Flames after Making Emergency           SQ368 Catches Fire After Emergency
                                                                                             2          Landing”                                Landing!”
                                                                                             3          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             4          v=YZyrEvxiccQ) – acquired Jun.          deos/video.php?v=wshh1E52i9uQ36
                                                                                             5          28, 2016                                WI2qu6) – posted Jun. 28, 2016
                                                                                             6   228.   “Iguanas Feed on Piece of Bread”        “Vine Comp Of The Week Part 173!”
                                                                                             7          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             8          v=Ls-EuSXYCdM) – acquired               deos/video.php?v=wshhrXulwBJeN8
                                                                                             9          Jun. 30, 2016                           0OtGxd) – posted Jul. 8, 2016
                                                                                            10   229.   “Girl Gets Attacked by Peacock          “Vine Comp Of The Week Part
                                                                                            11          during Selfie”                          173!”(http://www.worldstarhiphop.co
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?         m/videos/video.php?v=wshhrXulwBJ
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          v=YvHvZlvuGwI) – acquired Jun.          eN80OtGxd) – posted Jul. 8, 2016
                                                                             310-229-9900




                                                                                            14          30, 2016
                                                                                            15   230.   “Police Officer Participates in         (https://www.instagram.com/p/BHng
                                                                                            16          Dance Party”                            fHUgxVv/) – posted Jul. 8, 2016
                                                                                            17          (https://www.youtube.com/watch?
                                                                                            18          v=nJMS7DBQjvo) – acquired Jul.
                                                                                            19          4, 2016
                                                                                            20   231.   “Runner Smashes Nuts into Pole”         “Fail: Runner Smashes His Nuts Into
                                                                                            21          (https://www.jukinmedia.com/lice        A Pole!”
                                                                                            22          nsing/view/936984) – acquired           (http://www.worldstarhiphop.com/vi
                                                                                            23          Jul.17, 2016                            deos/video.php?v=wshh67mJF8VkzP
                                                                                            24                                                  kKaK8w) – posted Jul. 19, 2016
                                                                                            25   232.   “Guy Watches People Playing             “Guy Playing Pokemon GO Realizes
                                                                                            26          Popular App on their Phones”            Everyone In His Neighborhood Is
                                                                                            27          (https://www.youtube.com/watch?         Playing It Too!”
                                                                                            28          v=BN6Q9dynAcY) – acquired Jul. (http://www.worldstarhiphop.com/vi
                                                                                             1                                             84
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 86 of 94 Page ID #:219



                                                                                             1          14, 2016                               deos/video.php?v=wshhdH2xvTKT1
                                                                                             2                                                 H3BRDJ1) – posted Jul. 9, 2016
                                                                                             3   233.   “Two New Friends Won’t Stop            “Beautiful: White & Black Toddler
                                                                                             4          Hugging”                               Meet For The First Time & Don’t
                                                                                             5          (https://www.youtube.com/watch?        Want To Let Go Of Each Other!”
                                                                                             6          v=zcP-AWy6Db8) – acquired Jul.         (http://www.worldstarhiphop.com/vi
                                                                                             7          12, 2016                               deos/video.php?v=wshhFG4eCHG4
                                                                                             8                                                 U4g7PP56) – posted Jul. 9, 2016
                                                                                             9   234.   “French Bulldog Dances to              (https://www.instagram.com/p/BILh
                                                                                            10          Music”                                 HVgA1-M/) – posted Jul. 22, 2016
                                                                                            11          (https://www.youtube.com/watch?
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=heZjxGCDsWk) – acquired Jul.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          11, 2016
                                                                             310-229-9900




                                                                                            14   235.   “Lasergirl Performs Light Show”        “Girl In Lingerie Puts On An
                                                                                            15          (https://www.youtube.com/watch?        Amazing Laser Show!”
                                                                                            16          v=qOyGEJQyVEg) – acquired Jul. (http://www.worldstarhiphop.com/vi
                                                                                            17          16, 2016                               deos/video.php?v=wshhVcr6f7nJR5d
                                                                                            18                                                 KY315) – posted Jul. 13, 2016
                                                                                            19   236.   “Beachgoers Confronted by Wild         “A Wild Boar Emerges From The
                                                                                            20          Boar”                                  Sea On A Beach In Poland”
                                                                                            21          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            22          v=tlzFovpnrpg) – acquired Jul. 20, deos/video.php?v=wshh7q204QTq3P
                                                                                            23          2016                                   LPr7rG) – posted Jul. 27, 2016
                                                                                            24   237.   “Bridge Jump Bellyflop”                “Vine Comp Of The Week Part 175!”
                                                                                            25          (https://www.youtube.com/watch?        (http://www.worldstarhiphop.com/vi
                                                                                            26          v=ltPIOXHWHfQ) – acquired Jul.         deos/video.php?v=wshhS4S605zGeb
                                                                                            27          21, 2016                               gT6894) – posted Jul. 22, 2016
                                                                                            28   238.   “Skater Whacks McLaren's               “Different Angle Of The Kid
                                                                                             1                                            85
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 87 of 94 Page ID #:220



                                                                                             1          Windshield”                             Smashing The Windshield Of A
                                                                                             2          (https://www.youtube.com/watch?         McLaren With His Skateboard!”
                                                                                             3          v=9NLzlSaU4Qk) – acquired Jul.          (http://www.worldstarhiphop.com/vi
                                                                                             4          22, 2016                                deos/video.php?v=wshhtWbz4B67A
                                                                                             5                                                  R5moU74) – posted Jul. 23, 2016
                                                                                             6   239.   “Man Reunited with Mom after 10 “Emotional Moment: Dude Reunites
                                                                                             7          Years”                                  With His Mom After Not Seeing Her
                                                                                             8          (https://www.youtube.com/watch?         For 10 Years!”
                                                                                             9          v=JcBl4XIjwxc) – acquired Aug.          (http://www.worldstarhiphop.com/vi
                                                                                            10          1, 2016                                 deos/video.php?v=wshh68X77cqMe
                                                                                            11                                                  N4HotXk) – posted Aug. 3, 2016;
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                  (https://www.instagram.com/p/BIux1
                                                                             310-229-9900




                                                                                            14                                                  iKAkhU/) – posted Aug. 5, 2016
                                                                                            15   240.   “Passerby Witnesses Crazy Head-         “Vine Comp Of The Week Part 178!”
                                                                                            16          On Collision”                           (http://www.worldstarhiphop.com/vi
                                                                                            17          (https://www.youtube.com/watch?         deos/video.php?v=wshh78pQ2aeXU
                                                                                            18          v=y_Jqemj6hfA) – acquired Aug.          5Ytq9w3) – posted Aug. 12, 2016
                                                                                            19          8, 2016
                                                                                            20   241.   “Woman with Prosthetic Leg              (https://www.instagram.com/p/BJLG
                                                                                            21          Climbs Rock Wall”                       Oeigt1m/) – posted Aug. 16, 2016
                                                                                            22          (https://www.youtube.com/watch?
                                                                                            23          v=uWdo8lDVISg) – acquired
                                                                                            24          Aug. 18, 2016
                                                                                            25   242.   “Asian Dude Is Feeling Real Nice        “Asian Dude Is Feeling Real Nice
                                                                                            26          After Surgery & Busts Out The           After Surgery & Busts Out The
                                                                                            27          Dance Moves!”                           Dance Moves!”
                                                                                            28          (https://www.youtube.com/watch?         (http://www.worldstarhiphop.com/vi
                                                                                             1                                             86
                                                                                             2                                                                   AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 88 of 94 Page ID #:221



                                                                                             1          v=Pas39gThRBw) – acquired              deos/video.php?v=wshhTEb8Rp6f2O
                                                                                             2          Aug. 20, 2016                          3z2Dad) – posted Aug. 20, 2016;
                                                                                             3

                                                                                             4                                                 (https://www.instagram.com/p/BJVn
                                                                                             5                                                 q2JA4JJ/) – posted Aug. 20, 2016
                                                                                             6   243.   “Guilty Pitbull Puppy Hides His        (http://www.worldstarhiphop.com/vi
                                                                                             7          Face In Shame After Being              deos/video.php?v=wshhkzGCpe1506
                                                                                             8          Busted!”                               0if6j8) – posted Aug. 25, 2016
                                                                                             9          (https://www.youtube.com/watch?
                                                                                            10          v=xEbfFgAZ9H4) – acquired
                                                                                            11          Aug. 25, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   244.   “Dad Pulverizes Red Car”               “Angry Father Destroys His
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.youtube.com/watch?        Daughter's Customized Audi A4
                                                                             310-229-9900




                                                                                            14          v=2Eje6pJdWWo) – acquired              With A Digger After Catching Her
                                                                                            15          Aug. 26, 2016                          Fooling Around With A Boy Inside!”
                                                                                            16                                                 (http://www.worldstarhiphop.com/vi
                                                                                            17                                                 deos/video.php?v=wshhQ0DZcw99i
                                                                                            18                                                 C7253Co) – posted Aug. 29, 2016
                                                                                            19
                                                                                            20                           Harm Caused by the Infringement;
                                                                                            21                     Jukin’s Efforts to Stop Defendants’ Infringement
                                                                                            22          164. As described above, Defendants have engaged in at least 300
                                                                                            23   instances of infringement of Jukin’s Original Videos.
                                                                                            24          165. Both Jukin and the individual video creators are harmed by
                                                                                            25   Defendants’ infringement. For example, the infringement causes them to lose
                                                                                            26   license fees that Defendants should have paid for use of the videos, as well as
                                                                                            27   losing the ability to monetize the videos through ad placement and the revenue
                                                                                            28   derived from the network effects of viewers coming to Jukin-owned and managed
                                                                                             1                                            87
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 89 of 94 Page ID #:222



                                                                                             1   properties to view the Jukin content (e.g., repeated viewing within Jukin’s
                                                                                             2   channels, conversion of single-time viewers to long-term subscribers, etc.).
                                                                                             3         166. Since Defendants are either using the entire Jukin videos or are using
                                                                                             4   the most significant and valuable portions of Jukin’s videos, after viewers watch
                                                                                             5   the Infringing Videos on Worldstarhiphop.com, and the Worldstar Social Media
                                                                                             6   Accounts, they are unlikely to go to Jukin’s channels to watch the Original Videos.
                                                                                             7   As such, Jukin is losing views on its own channels and is missing out on capturing
                                                                                             8   potential new viewers who otherwise may have watched the videos on Jukin’s
                                                                                             9   channels and become repeat viewers. While Jukin derives significant market value
                                                                                            10   from its licenses, Defendants’ actions produce an adverse effect to the licensing
                                                                                            11   market by exposing the material to a significant number of viewers who no longer
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   have a need to view the video from Jukin or Jukin licensee.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         167. Jukin has undertaken various efforts to stop Defendants’ infringement,
                                                                             310-229-9900




                                                                                            14   such as takedown notices with Worldstarhiphop.com. Despite these efforts,
                                                                                            15   Defendants not only continue to regularly and willfully infringe Jukin’s videos, but
                                                                                            16   the instances of infringement have increased exponentially and require more action
                                                                                            17   by Jukin and involvement of the Court to adjudicate this dispute.
                                                                                            18                             FIRST CLAIM FOR RELIEF
                                                                                            19            COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106 and 501)
                                                                                            20         168. Jukin incorporates and references the allegations asserted in each of
                                                                                            21   the preceding paragraphs, as if fully set forth herein.
                                                                                            22         169. Defendants have infringed Jukin’s copyright in the Original Videos in
                                                                                            23   violation of at least Sections 106 and 501 of the Copyright Act, 17 U.S.C. by
                                                                                            24   copying videos owned or exclusively licensed by Jukin without a license or
                                                                                            25   permission.
                                                                                            26         170. Defendants’ acts of infringement are willful, intentional, continuous,
                                                                                            27   and purposeful, in disregard of and with indifference to Jukin’s rights.
                                                                                            28         171. As a direct and proximate result of said infringement by Defendants,
                                                                                             1                                             88
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 90 of 94 Page ID #:223



                                                                                             1   Jukin is entitled to damages in an amount to be proven at trial.
                                                                                             2         172. Jukin is also entitled to Defendants’ profits attributable to the
                                                                                             3   infringement, pursuant to 17 U.S.C. § 504 and otherwise according to law.
                                                                                             4         173. Jukin is also entitled to its costs and fees pursuant to 17 U.S.C. § 505
                                                                                             5   and otherwise according to law.
                                                                                             6         174. Jukin is entitled to injunctive relief and redress for Defendants’
                                                                                             7   willful, intentional, and purposeful use and exploitation of the Jukin Original
                                                                                             8   Videos for their own financial benefit with full knowledge that such use
                                                                                             9   constituted infringement of, and was in disregard of, Jukin’s rights. Defendants’
                                                                                            10   conduct is causing and, unless immediately enjoined, will continue to cause
                                                                                            11   enormous and irreparable harm to Jukin. Jukin is suffering lost revenue from loss
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   of licensing fees, decreased monetization because viewers are diverted to
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Defendants’ site, and reputational harm. Defendants may not continue to exploit
                                                                             310-229-9900




                                                                                            14   Jukin’s video compositions without authorization. Defendants’ conduct must
                                                                                            15   immediately be stopped and Jukin must be compensated for their willful acts of
                                                                                            16   infringement.
                                                                                            17         175. As a direct and proximate result of the foregoing acts and conduct,
                                                                                            18   Jukin has sustained and will continue to sustain substantial, immediate, and
                                                                                            19   irreparable injury, for which there is no adequate remedy at law. Jukin is informed
                                                                                            20   and believes, and on that basis avers, that unless enjoined and restrained by this
                                                                                            21   Court, Defendants will continue to infringe Jukin’s rights in Jukin’s videos. Jukin
                                                                                            22   Media is entitled to preliminary and permanent injunctive relief to restrain and
                                                                                            23   enjoin Defendants’ continuing infringing conduct.
                                                                                            24                            SECOND CLAIM FOR RELIEF
                                                                                            25          FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)
                                                                                            26         176. Jukin incorporates and references the allegations asserted in each of
                                                                                            27   the preceding paragraphs, as if fully set forth herein.
                                                                                            28         177. Jukin owns Registration No. 4,604,845, a valid and protectable federal
                                                                                             1                                             89
                                                                                             2                                                                AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 91 of 94 Page ID #:224



                                                                                             1   trademark registration for FAILARMY for “Entertainment services, namely,
                                                                                             2   providing a web site featuring photographic, audio, video and prose presentations
                                                                                             3   featuring comedy.”
                                                                                             4         178. Defendants used Jukin’s FAILARMY trademark on their website,
                                                                                             5   www.worldstarhiphop.com, including but not limited to Defendants’ wholesale
                                                                                             6   reproduction of Jukin’s FAILARMY trademark as part of Defendants reproduction
                                                                                             7   of “Ouchhh: Ultimate Parkour Fails Compilation!” at
                                                                                             8   http://www.worldstarhiphop.com/videos/video.php?v=wshhpr7C64b8TjvyXF7j.
                                                                                             9         179. Defendants’ use of Jukin’s FAILARMY trademark creates a
                                                                                            10   likelihood of confusion, mistake, or deception as to the affiliation, connection, or
                                                                                            11   association, of Defendants with Jukin, or as to the origin, sponsorship, or approval
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   of Defendants’ websites and/or videos by Jukin.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         180. Defendants’ conduct is likely to induce consumers to believe, contrary
                                                                             310-229-9900




                                                                                            14   to the fact, that its website or videos are approved, sponsored, endorsed, approved
                                                                                            15   by, or connected with Jukin.
                                                                                            16         181. Defendants’ conduct is without Jukin’s permission or authority. Upon
                                                                                            17   information and belief, Defendants willfully, deliberately and maliciously engaged
                                                                                            18   in the described act with an intent to injure Jukin and to deceive the public.
                                                                                            19         182. Defendants’ use of the FAILARMY trademark that is confusingly
                                                                                            20   similar, and in fact identical, to Plaintiff’s FAILARMY trademark constitutes
                                                                                            21   trademark infringement in violation of 15 U.S.C. § 1114. Upon information and
                                                                                            22   belief, Defendants has profited from this infringement.
                                                                                            23         183. This is an exceptional case under 15. U.S.C. § 1117(a).
                                                                                            24         184. Defendants’ conduct has caused damage to Jukin in an amount to be
                                                                                            25   determined at trial, and unless restrained, will continue to seriously and irreparably
                                                                                            26   impair further the value of the FAILARMY trademark, for which there is no
                                                                                            27   adequate remedy at law.
                                                                                            28         185. In light of the foregoing, Jukin is entitled to injunctive relief
                                                                                             1                                             90
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 92 of 94 Page ID #:225



                                                                                             1   prohibiting Defendants from using the FAILARMY trademark, or any mark
                                                                                             2   confusingly similar to the FAILARMY trademark for any purpose, and to recover
                                                                                             3   from Defendants all damages, including attorneys’ fees, that Jukin has sustained
                                                                                             4   and will sustain as a result thereof, in an amount not yet known, but which
                                                                                             5   circumstances warrant trebling pursuant to 15 U.S.C. § 1117(b), as well as the
                                                                                             6   costs of this action.
                                                                                             7                                 PRAYER FOR RELIEF
                                                                                             8            WHEREFORE, Jukin prays for judgment against Defendants as follows:
                                                                                             9            A.   For damages, or statutory damages, in amount to be determined at
                                                                                            10   trial;
                                                                                            11            B.   For an accounting of Defendants’ profits attributable to its
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   infringements of Jukin’s copyright in the Original Videos;
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13            C.   For a preliminary and permanent injunction prohibiting Defendants,
                                                                             310-229-9900




                                                                                            14   and their respective agents, servants, employees, officers, successors, licensees and
                                                                                            15   assigns, and all persons acting in concert or participation with them, from
                                                                                            16   continuing to infringe Jukin’s copyrights in the Original Videos;
                                                                                            17            D.   For prejudgment interest according to law;
                                                                                            18            E.   For Jukin’s reasonable attorneys’ fees and costs incurred in this
                                                                                            19   action; and
                                                                                            20            F.   For such other and further relief as the Court may deem just and
                                                                                            21   proper.
                                                                                            22
                                                                                                 Dated: September 23, 2016                 VENABLE LLP
                                                                                            23

                                                                                            24                                             By: /s/ Tamany Vinson Bentz
                                                                                                                                              Douglas C. Emhoff
                                                                                            25                                                Tamany Vinson Bentz
                                                                                            26                                                Matthew J. Busch
                                                                                                                                              Attorneys for Plaintiff Jukin Media,
                                                                                            27                                                Inc.
                                                                                            28

                                                                                             1                                             91
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 93 of 94 Page ID #:226



                                                                                             1                              DEMAND FOR JURY TRIAL
                                                                                             2          Plaintiff Jukin Media, Inc. hereby demands a trial by jury for all issues to
                                                                                             3   which it is so entitled.
                                                                                             4
                                                                                                 Dated: September 23, 2016                 VENABLE LLP
                                                                                             5

                                                                                             6                                             By: /s/ Tamany Vinson Bentz
                                                                                                                                              Douglas C. Emhoff
                                                                                             7
                                                                                                                                              Tamany Vinson Bentz
                                                                                             8                                                Matthew J. Busch
                                                                                             9
                                                                                                                                              Attorneys for Plaintiff Jukin Media,
                                                                                                                                              Inc.
                                                                                            10

                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13
                                                                             310-229-9900




                                                                                            14

                                                                                            15

                                                                                            16

                                                                                            17

                                                                                            18

                                                                                            19
                                                                                            20

                                                                                            21

                                                                                            22

                                                                                            23

                                                                                            24

                                                                                            25

                                                                                            26
                                                                                            27

                                                                                            28

                                                                                             1                                             92
                                                                                             2                                                                 AMENDED COMPLAINT
                                                                             Case 2:16-cv-06800-JFW-SS Document 14 Filed 09/23/16 Page 94 of 94 Page ID #:227



                                                                                             1                             CERTIFICATE OF SERVICE
                                                                                             2

                                                                                             3                I HEREBY CERTIFY that on this 23rd day of September, 2016, I
                                                                                             4   caused a true and correct copy of the foregoing document(s) described as:
                                                                                             5   AMENDED COMPLAINT FOR: 1) COPYRIGHT INFRINGEMENT; AND
                                                                                             6   2) FEDERAL TRADEMARK INFRINGEMENT to be served via U.S. Mail
                                                                                             7   and electronic mail on the interested parties in this action addressed as follows:
                                                                                             8

                                                                                             9
                                                                                                 VIA ELECTRONIC MAIL AND U.S. MAIL
                                                                                                 Neville Johnson
                                                                                            10   Jim Ryan
                                                                                            11
                                                                                                 Johnson & Johnson LLP
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                 439. N Canon Dr #200
                                                                                            12   Beverly Hills, CA 90210
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   njohnson@jjllplaw.com
                                                                             310-229-9900




                                                                                                 jryan@jjllplaw.com
                                                                                            14

                                                                                            15
                                                                                                 VIA U.S. MAIL
                                                                                            16   WSHH
                                                                                                 1880 Century Park East, Suite 200
                                                                                            17
                                                                                                 Los Angeles, CA 90067
                                                                                            18

                                                                                            19   Dated: September 23, 2016                 VENABLE LLP
                                                                                            20                                             By: /s/ Tamany Vinson Bentz
                                                                                            21                                                Douglas C. Emhoff
                                                                                                                                              Tamany Vinson Bentz
                                                                                            22
                                                                                                                                              Matthew J. Busch
                                                                                            23                                                Attorneys for Plaintiff Jukin Media,
                                                                                                                                              Inc.
                                                                                            24

                                                                                            25

                                                                                            26
                                                                                            27

                                                                                            28

                                                                                             1                                             93
                                                                                             2                                                                AMENDED COMPLAINT
